Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22922 Page 1 of 99




                            EXHIBIT 5
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22923 Page 2 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                 FROM/AUTHOR                             TO                                           CC                                               PRIVILEGE DESCRIPTION


                                                                                   vkewenvoyouma@rosettelaw.com                                                             Withheld copy of email regarding legal representations and advice to Pauma
                                                        Rob Rosette                <vkewenvoyouma@rosettelaw.com>; 'Rob                                                     regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000724      ROS-PAUMA-0000724   3/7/2007     <rosette@rosettelaw.com>   Rosette'; 'Brendan Ludwick'                                                              of California.
                                                                                                                                                                            Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                                                                                                            impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                                            gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000195      ROS-PAUMA-0000196   10/22/2008   Bonnie Cox                                                                                                          California.


                                                                                   Reavey, William <william.reavey@bipc.com>;
                                                                                   Temet Aguilar <temet@sctdv.net>;
                                                                                   thomasmcandrews@earthlink.net                 Verrin Kewenvoyouma                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Rob Rosette                <thomasmcandrews@earthlink.net>;              <vkewenvoyouma@rosettelaw.com>; cjackson   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000725      ROS-PAUMA-0000725   10/31/2008   <rosette@rosettelaw.com>   chipaguilar@gmail.com <chipaguilar@gmail.com> <cjackson@rosettelaw.com>                  issues, compact negotiations, and litigation with the State of California.


                                                                                   Reavey, William <william.reavey@bipc.com>;
                                                                                   Temet Aguilar <temet@sctdv.net>;                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   thomasmcandrews@earthlink.net                 Verrin Kewenvoyouma                        impressions regarding legal representations and advice to Pauma regarding
                                                        Rob Rosette                <thomasmcandrews@earthlink.net>;              <vkewenvoyouma@rosettelaw.com>; cjackson   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000726      ROS-PAUMA-0000728   10/31/2008   <rosette@rosettelaw.com>   chipaguilar@gmail.com <chipaguilar@gmail.com> <cjackson@rosettelaw.com>                  California.


                                                                                   Reavey, William <william.reavey@bipc.com>;
                                                                                   Temet Aguilar <temet@sctdv.net>;                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   thomasmcandrews@earthlink.net                 Verrin Kewenvoyouma                        impressions regarding legal representations and advice to Pauma regarding
                                                        Rob Rosette                <thomasmcandrews@earthlink.net>;              <vkewenvoyouma@rosettelaw.com>; cjackson   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000729      ROS-PAUMA-0000731   10/31/2008   <rosette@rosettelaw.com>   chipaguilar@gmail.com <chipaguilar@gmail.com> <cjackson@rosettelaw.com>                  California.


                                                                                   Reavey, William <william.reavey@bipc.com>;
                                                                                   Temet Aguilar <temet@sctdv.net>;                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   thomasmcandrews@earthlink.net                 Verrin Kewenvoyouma                        impressions regarding legal representations and advice to Pauma regarding
                                                        Rob Rosette                <thomasmcandrews@earthlink.net>;              <vkewenvoyouma@rosettelaw.com>; cjackson   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000732      ROS-PAUMA-0000740   10/31/2008   <rosette@rosettelaw.com>   chipaguilar@gmail.com <chipaguilar@gmail.com> <cjackson@rosettelaw.com>                  California.

                                                                                   Chris Love <clove@rosettelaw.com>;          doreen_hobson@yahoo.com                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Rob Rosette                cjackson@rosettelaw.com                     <doreen_hobson@yahoo.com>; 'Steve Bodmer'    regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000741      ROS-PAUMA-0000742   11/4/2008    <rosette@rosettelaw.com>   <cjackson@rosettelaw.com>                   <sbodmer@rosettelaw.com>                     issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                            Withheld copy of document reflecting legal advice or attorney mental
                                                                                   Chris Love <clove@rosettelaw.com>;          doreen_hobson@yahoo.com                      impressions regarding legal representations and advice to Pauma regarding
                                                        Rob Rosette                cjackson@rosettelaw.com                     <doreen_hobson@yahoo.com>; 'Steve Bodmer'    gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000743      ROS-PAUMA-0000747   11/4/2008    <rosette@rosettelaw.com>   <cjackson@rosettelaw.com>                   <sbodmer@rosettelaw.com>                     California.




ATTORNEYS' EYES ONLY                                                                                                1

                                                                                                                                                                                                                                                             Ex 5
                                                                                                                                                                                                                                                            P0050
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22924 Page 3 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                  FROM/AUTHOR                            TO                                          CC                                               PRIVILEGE DESCRIPTION

                                                                                                                                                                           Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                   Chris Love <clove@rosettelaw.com>;          doreen_hobson@yahoo.com                     impressions regarding legal representations and advice to Pauma regarding
                                                        Rob Rosette                cjackson@rosettelaw.com                     <doreen_hobson@yahoo.com>; 'Steve Bodmer'   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000748      ROS-PAUMA-0000756   11/4/2008    <rosette@rosettelaw.com>   <cjackson@rosettelaw.com>                   <sbodmer@rosettelaw.com>                    California.

                                                                                   paumachairman                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Rob Rosette                <paumachairman@att.blackberry.net>; Temet                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000816      ROS-PAUMA-0000816   11/11/2008   <rosette@rosettelaw.com>   Majel <temetm@msn.com>                                                                  issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                           Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                   paumachairman                                                                           impressions regarding legal representations and advice to Pauma regarding
                                                        Rob Rosette                <paumachairman@att.blackberry.net>; Temet                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000817      ROS-PAUMA-0000834   11/11/2008   <rosette@rosettelaw.com>   Majel <temetm@msn.com>                                                                  California.
                                                                                                                                                                           Withheld copy of draft memorandum reflecting legal advice or attorney
                                                                                                                                                                           mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                                           regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000095      ROS-PAUMA-0000102   1/12/2009    Bonnie Cox                                                                                                         of California.
                                                                                                                                                                           Withheld copy of draft memorandum reflecting legal advice or attorney
                                                                                                                                                                           mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                                           regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000103      ROS-PAUMA-0000110   1/12/2009    Bonnie Cox                                                                                                         of California.
                                                                                                                                                                           Withheld copy of presentation reflecting legal advice or attorney mental
                                                                                                                                                                           impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                                           gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000114      ROS-PAUMA-0000114   1/13/2009    Robert Rosette                                                                                                     California.
                                                                                                                                                                           Withheld copy of draft presentation reflecting legal advice or attorney
                                                                                                                                                                           mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                                           regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000719      ROS-PAUMA-0000719   1/13/2009    Robert Rosette                                                                                                     of California.
                                                                                                                                                                           Withheld copy of draft memorandum reflecting legal advice or attorney
                                                                                                                                                                           mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                                           regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000111      ROS-PAUMA-0000113   1/16/2009    Bonnie Cox                                                                                                         of California.
                                                                                                                                                                           Withheld copy of draft memorandum reflecting legal advice or attorney
                                                                                                                                                                           mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                                           regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000197      ROS-PAUMA-0000201   1/16/2009    Steve Bodmer                                                                                                       of California.

                                                                                                                                                                           Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000141      ROS-PAUMA-0000148   1/26/2009                                                                                                                       issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                2

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                                                                                                                                                                                                                                                            P0051
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22925 Page 4 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                               TO                                           CC                                     PRIVILEGE DESCRIPTION


                                                                                                                                                                   Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000115      ROS-PAUMA-0000115   3/27/2009                                                                                                               issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                   Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                                                   impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                                   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000116      ROS-PAUMA-0000116   3/31/2009   Bonnie Cox                                                                                                  California.

                                                                                                                                                                   Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000117      ROS-PAUMA-0000119   4/10/2009                                                                                                               issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                   Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000120      ROS-PAUMA-0000120   4/23/2009                                                                                                               issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Brendan Ludwick                                                                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000001      ROS-PAUMA-0000001   4/27/2009   <bludwick@rosettelaw.com>    'Kevin Cochrane' <KCochrane@rosettelaw.com>                                    issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Brendan Ludwick                                                                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000391      ROS-PAUMA-0000392   4/27/2009   <bludwick@rosettelaw.com>    'Kevin Cochrane' <KCochrane@rosettelaw.com>                                    issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                                                                                                 regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000565      ROS-PAUMA-0000565   4/28/2009   <rosette@rosettelaw.com>     'Kevin Cochrane' <kcochrane@rosettelaw.com>                                    issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                              regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000700      ROS-PAUMA-0000701   4/28/2009   <kcochrane@rosettelaw.com>   'Rob Rosette' <rosette@rosettelaw.com>                                         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                   Withheld copy of email regarding legal representations and advice to Pauma
                                                       Rob Rosette                  kcochrane@rosettelaw.com                      'Verrin Kewenvoyouma'            regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000462      ROS-PAUMA-0000462   5/11/2009   <rosette@rosettelaw.com>     <kcochrane@rosettelaw.com>                    <vkewenvoyouma@rosettelaw.com>   of California.

                                                                                                                                                                   Withheld copy of email regarding legal representations and advice to Pauma
                                                       James Pena <james@pauma-                                                                                    regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000569      ROS-PAUMA-0000569   5/13/2009   nsn.gov>                     Kevin Cochrane <kcochrane@rosettelaw.com>                                      of California.




ATTORNEYS' EYES ONLY                                                                                                 3

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                                                                                                                                                                                                                                                    P0052
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22926 Page 5 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                TO                                             CC                                                 PRIVILEGE DESCRIPTION

                                                                                                                                                                                  Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                                                                                                                  impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                                                  gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000121      ROS-PAUMA-0000125   5/14/2009                                                                                                                              California.


                                                                                                                                  cdevers@pauma-nsn.gov <cdevers@pauma-
                                                                                                                                  nsn.gov>; mbojorquez@pauma-nsn.gov
                                                                                                                                  <mbojorquez@pauma-nsn.gov>;
                                                                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                                                                  'TEMET MAJEL' <temetm@msn.com>; 'Wendy
                                                                                                                                  DeBell' <wdebell@pauma-nsn.gov>;
                                                                                                                                  rosette@rosettelaw.com
                                                                                                                                  <rosette@rosettelaw.com>; 'Brendan Ludwick'     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                paumachairman@att.blackberry.net            <bludwick@rosettelaw.com>; 'Kevin Cochrane'     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000463      ROS-PAUMA-0000463   5/14/2009   <cwilliams@rosettelaw.com>     <paumachairman@att.blackberry.net>          <kcochrane@rosettelaw.com>                      issues, compact negotiations, and litigation with the State of California.


                                                                                                                                  cdevers@pauma-nsn.gov <cdevers@pauma-
                                                                                                                                  nsn.gov>; mbojorquez@pauma-nsn.gov
                                                                                                                                  <mbojorquez@pauma-nsn.gov>;
                                                                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                                                                  'TEMET MAJEL' <temetm@msn.com>; 'Wendy
                                                                                                                                  DeBell' <wdebell@pauma-nsn.gov>;
                                                                                                                                  rosette@rosettelaw.com                          Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                                                                  <rosette@rosettelaw.com>; 'Brendan Ludwick'     impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl Williams                paumachairman@att.blackberry.net            <bludwick@rosettelaw.com>; 'Kevin Cochrane'     gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000464      ROS-PAUMA-0000468   5/14/2009   <cwilliams@rosettelaw.com>     <paumachairman@att.blackberry.net>          <kcochrane@rosettelaw.com>                      California.

                                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000460      ROS-PAUMA-0000461   5/29/2009   <kevin.m.cochrane@gmail.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                                   issues, compact negotiations, and litigation with the State of California.
                                                                                                                                  kcochrane@rosettelaw.com
                                                                                                                                  <kcochrane@rosettelaw.com>;                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com       rosette@rosettelaw.com                      cjackson@rosettelaw.com                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000482      ROS-PAUMA-0000482   6/9/2009    <cwilliams@rosettelaw.com>     <rosette@rosettelaw.com>                    <cjackson@rosettelaw.com>                       issues, compact negotiations, and litigation with the State of California.
                                                                                                                                  kcochrane@rosettelaw.com                        Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                                                                  <kcochrane@rosettelaw.com>;                     impressions regarding legal representations and advice to Pauma regarding
                                                       cwilliams@rosettelaw.com       rosette@rosettelaw.com                      cjackson@rosettelaw.com                         gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000483      ROS-PAUMA-0000483   6/9/2009    <cwilliams@rosettelaw.com>     <rosette@rosettelaw.com>                    <cjackson@rosettelaw.com>                       California.

                                                                                                                                  'cjackson' <cjackson@rosettelaw.com>; 'Verrin   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                 'rosette@rosettelaw.com'                    Kewenvoyouma'                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000644      ROS-PAUMA-0000644   6/16/2009   <kcochrane@rosettelaw.com>     <rosette@rosettelaw.com>                    <vkewenvoyouma@rosettelaw.com>                  issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                 4

                                                                                                                                                                                                                                                                   Ex 5
                                                                                                                                                                                                                                                                  P0053
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22927 Page 6 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                TO                                              CC                                                     PRIVILEGE DESCRIPTION


                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                                 regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000686      ROS-PAUMA-0000687   7/14/2009   <kcochrane@rosettelaw.com>   'TEMET MAJEL' <temetm@msn.com>                                                                    issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                                 regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000696      ROS-PAUMA-0000698   7/16/2009   <kcochrane@rosettelaw.com>   'Cheryl Williams' <cwilliams@rosettelaw.com>                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                   kcochrane@rosettelaw.com                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                  cwilliams@rosettelaw.com                       <kcochrane@rosettelaw.com>; 'Saba Bazzazieh'       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000481      ROS-PAUMA-0000481   7/28/2009   <rosette@rosettelaw.com>     <cwilliams@rosettelaw.com>                     <sbazzazieh@rosettelaw.com>                        issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       rosette@rosettelaw.com                                                      Kevin Cochrane <kcochrane@rosettelaw.com>; Saba regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000552      ROS-PAUMA-0000553   7/28/2009   <rosette@rosettelaw.com>     Cheryl Williams <cwilliams@rosettelaw.com>     Bazzazieh <sbazzazieh@rosettelaw.com>           issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane               'rosette@rosettelaw.com'                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000691      ROS-PAUMA-0000693   7/28/2009   <kcochrane@rosettelaw.com>   <rosette@rosettelaw.com>                                                                          issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane               'cwilliams@rosettelaw.com'                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000709      ROS-PAUMA-0000716   7/28/2009   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                                        issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of email regarding legal representations and advice to Pauma
                                                       Kevin Cochrane                                                                                                                 regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000699      ROS-PAUMA-0000699   7/29/2009   <kcochrane@rosettelaw.com>   'Saba Bazzazieh' <sbazzazieh@rosettelaw.com>                                                      of California.

                                                                                                                                                                                      Withheld copy of email prepared in anticipation of litigation regarding legal
                                                       Cheryl Williams                                                                                                                representations and advice to Pauma regarding gaming issues, compact
ROS-PAUMA-0000410      ROS-PAUMA-0000410   8/13/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>    'Saba Bazzazieh' <sbazzazieh@rosettelaw.com>       negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of draft document prepared in anticipation of litigation
                                                       Cheryl Williams                                                                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000411      ROS-PAUMA-0000432   8/13/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>    'Saba Bazzazieh' <sbazzazieh@rosettelaw.com>       issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                                 regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000619      ROS-PAUMA-0000619   8/14/2009   <kcochrane@rosettelaw.com>   'Jack Duran' <jduran@rosettelaw.com>                                                              issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                  5

                                                                                                                                                                                                                                                                       Ex 5
                                                                                                                                                                                                                                                                      P0054
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22928 Page 7 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                TO                                                 CC                                                 PRIVILEGE DESCRIPTION


                                                                                                                                                                                     Withheld copy of draft document prepared in anticipation of litigation
                                                       Kevin Cochrane                                                                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000620      ROS-PAUMA-0000641   8/14/2009   <kcochrane@rosettelaw.com>   'Jack Duran' <jduran@rosettelaw.com>                                                             issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000702      ROS-PAUMA-0000702   8/14/2009   <kcochrane@rosettelaw.com>   'Cheryl Williams' <cwilliams@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams              'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000323      ROS-PAUMA-0000324   8/20/2009   <cwilliams@rosettelaw.com>   Cochrane' <kcochrane@rosettelaw.com>              'Saba Bazzazieh' <sbazzazieh@rosettelaw.com>   issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000367      ROS-PAUMA-0000368   8/20/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000518      ROS-PAUMA-0000520   8/20/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000521      ROS-PAUMA-0000523   8/20/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                      issues, compact negotiations, and litigation with the State of California.
                                                                                    rosette@rosettelaw.com
                                                                                    <rosette@rosettelaw.com>; 'Kevin Cochrane'                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams            <kcochrane@rosettelaw.com>; 'Saba Bazzazieh'                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000405      ROS-PAUMA-0000406   8/27/2009   <cwilliams@rosettelaw.com>   <sbazzazieh@rosettelaw.com>                                                                      issues, compact negotiations, and litigation with the State of California.



                                                                                    'Cheryl A Williams' <cwilliams@rosettelaw.com>;                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                  'Kevin Cochrane' <kcochrane@rosettelaw.com>;                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000563      ROS-PAUMA-0000564   8/28/2009   <rosette@rosettelaw.com>     'Saba Bazzazieh' <sbazzazieh@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com     kcochrane@rosettelaw.com                                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000407      ROS-PAUMA-0000409   8/29/2009   <cwilliams@rosettelaw.com>   <kcochrane@rosettelaw.com>                                                                       issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams            kcochrane@rosettelaw.com                                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000554      ROS-PAUMA-0000557   8/30/2009   <cwilliams@rosettelaw.com>   <kcochrane@rosettelaw.com>                                                                       issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                  6

                                                                                                                                                                                                                                                                      Ex 5
                                                                                                                                                                                                                                                                     P0055
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22929 Page 8 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                   TO                                              CC                                                   PRIVILEGE DESCRIPTION


                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams               kcochrane@rosettelaw.com                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000558      ROS-PAUMA-0000562   8/30/2009   <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams               kcochrane@rosettelaw.com                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000393      ROS-PAUMA-0000394   8/31/2009   <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com        kcochrane@rosettelaw.com                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000395      ROS-PAUMA-0000395   8/31/2009   <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Jack Duran                                                                                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000488      ROS-PAUMA-0000488   8/31/2009   <jduran@rosettelaw.com>         'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of draft document prepared in anticipation of litigation
                                                       Jack Duran                                                                                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000489      ROS-PAUMA-0000513   8/31/2009   <jduran@rosettelaw.com>         'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams               kcochrane@rosettelaw.com                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000539      ROS-PAUMA-0000540   8/31/2009   <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000349      ROS-PAUMA-0000349   9/1/2009    <cwilliams@rosettelaw.com>      'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of memorandum prepared in anticipation of litigation
                                                       Cheryl A Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000350      ROS-PAUMA-0000351   9/1/2009    <cwilliams@rosettelaw.com>      'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.

                                                       Verrin Kewenvoyouma                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       <vkewenvoyouma@rosettelaw.com                                                  'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000352      ROS-PAUMA-0000352   9/1/2009    >                             'Cheryl A Williams' <cwilliams@rosettelaw.com>   Cochrane' <kcochrane@rosettelaw.com>             issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                       Verrin Kewenvoyouma                                                                                                             impressions regarding legal representations and advice to Pauma regarding
                                                       <vkewenvoyouma@rosettelaw.com                                                  'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000353      ROS-PAUMA-0000360   9/1/2009    >                             'Cheryl A Williams' <cwilliams@rosettelaw.com>   Cochrane' <kcochrane@rosettelaw.com>             California.




ATTORNEYS' EYES ONLY                                                                                                   7

                                                                                                                                                                                                                                                                        Ex 5
                                                                                                                                                                                                                                                                       P0056
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22930 Page 9 of 99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                   TO                                               CC                                                     PRIVILEGE DESCRIPTION

                                                                                                                                      'Verrin Kewenvoyouma'
                                                                                       'Rob Rosette' <rosette@rosettelaw.com>;        <vkewenvoyouma@rosettelaw.com>;                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams               kcochrane@rosettelaw.com                       zfletcher@rosettelaw.com                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000472      ROS-PAUMA-0000472   9/1/2009    <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                     <zfletcher@rosettelaw.com>                           issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams               'Verrin Kewenvoyouma'                          'Robert Rosette' <rosette@rosettelaw.com>; 'Kevin regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000579      ROS-PAUMA-0000579   9/2/2009    <cwilliams@rosettelaw.com>      <vkewenvoyouma@rosettelaw.com>                 Cochrane' <kcochrane@rosettelaw.com>              issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of draft document prepared in anticipation of litigation
                                                       Cheryl A Williams               'Verrin Kewenvoyouma'                          'Robert Rosette' <rosette@rosettelaw.com>; 'Kevin regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000580      ROS-PAUMA-0000606   9/2/2009    <cwilliams@rosettelaw.com>      <vkewenvoyouma@rosettelaw.com>                 Cochrane' <kcochrane@rosettelaw.com>              issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       rosette@rosettelaw.com          Cheryl Williams <cwilliams@rosettelaw.com>;                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000369      ROS-PAUMA-0000369   9/3/2009    <rosette@rosettelaw.com>        Kevin Cochrane <kcochrane@rosettelaw.com>                                                           issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                           Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                                           impressions regarding legal representations and advice to Pauma regarding
                                                       rosette@rosettelaw.com          Cheryl Williams <cwilliams@rosettelaw.com>;                                                         gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000370      ROS-PAUMA-0000373   9/3/2009    <rosette@rosettelaw.com>        Kevin Cochrane <kcochrane@rosettelaw.com>                                                           California.

                                                       Verrin Kewenvoyouma                                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       <vkewenvoyouma@rosettelaw.com                                                                                                       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000449      ROS-PAUMA-0000452   9/3/2009    >                             'Cheryl A Williams' <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>          issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                           Withheld copy of spreadsheet reflecting legal advice or attorney mental
                                                       Verrin Kewenvoyouma                                                                                                                 impressions regarding legal representations and advice to Pauma regarding
                                                       <vkewenvoyouma@rosettelaw.com                                                                                                       gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000453      ROS-PAUMA-0000453   9/3/2009    >                             'Cheryl A Williams' <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>          California.

                                                                                                                                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams               'kevin cochrane' <KCochrane@rosettelaw.com>;                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000388      ROS-PAUMA-0000390   9/4/2009    <cwilliams@rosettelaw.com>      'Mary Hastings' <mhastings@rosettelaw.com>                                                          issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams                                                                                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000447      ROS-PAUMA-0000448   9/4/2009    <cwilliams@rosettelaw.com>      'kevin cochrane' <KCochrane@rosettelaw.com>                                                         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com        kcochrane@rosettelaw.com                                                                            regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000536      ROS-PAUMA-0000538   9/4/2009    <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                                                                          issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                    8

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                                                                                                                                                                                                                                                                           P0057
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22931 Page 10 of
                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                TO                                                CC                                                  PRIVILEGE DESCRIPTION


                                                                                    paumachairman@att.blackberry.net
                                                                                    <paumachairman@att.blackberry.net>; 'Chris
                                                                                    Devers' <cdevers@pauma-nsn.gov>;
                                                                                    mbojorquez@pauma-nsn.gov
                                                                                    <mbojorquez@pauma-nsn.gov>; 'TEMET MAJEL'                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams              <temetm@msn.com>; bennaecalac@aol.com            'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000314      ROS-PAUMA-0000314   9/9/2009    <cwilliams@rosettelaw.com>   <bennaecalac@aol.com>                            Cochrane' <kcochrane@rosettelaw.com>             issues, compact negotiations, and litigation with the State of California.


                                                                                    paumachairman@att.blackberry.net
                                                                                    <paumachairman@att.blackberry.net>; 'Chris
                                                                                    Devers' <cdevers@pauma-nsn.gov>;
                                                                                    mbojorquez@pauma-nsn.gov
                                                                                    <mbojorquez@pauma-nsn.gov>; 'TEMET MAJEL'                                                         Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams              <temetm@msn.com>; bennaecalac@aol.com            'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000315      ROS-PAUMA-0000317   9/9/2009    <cwilliams@rosettelaw.com>   <bennaecalac@aol.com>                            Cochrane' <kcochrane@rosettelaw.com>             issues, compact negotiations, and litigation with the State of California.


                                                                                    paumachairman@att.blackberry.net
                                                                                    <paumachairman@att.blackberry.net>; 'Chris
                                                                                    Devers' <cdevers@pauma-nsn.gov>;
                                                                                    mbojorquez@pauma-nsn.gov
                                                                                    <mbojorquez@pauma-nsn.gov>; 'TEMET MAJEL'                                                         Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams              <temetm@msn.com>; bennaecalac@aol.com            'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000318      ROS-PAUMA-0000320   9/9/2009    <cwilliams@rosettelaw.com>   <bennaecalac@aol.com>                            Cochrane' <kcochrane@rosettelaw.com>             issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams              'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin                                                    regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000469      ROS-PAUMA-0000469   9/9/2009    <cwilliams@rosettelaw.com>   Cochrane' <kcochrane@rosettelaw.com>                                                              issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                      Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl Williams              'Rob Rosette' <rosette@rosettelaw.com>; 'Kevin                                                    gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000470      ROS-PAUMA-0000471   9/9/2009    <cwilliams@rosettelaw.com>   Cochrane' <kcochrane@rosettelaw.com>                                                              California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams              'Kevin Cochrane' <kcochrane@rosettelaw.com>;                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000526      ROS-PAUMA-0000527   9/9/2009    <cwilliams@rosettelaw.com>   'Rob Rosette' <rosette@rosettelaw.com>                                                            issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                      Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl Williams              'Kevin Cochrane' <kcochrane@rosettelaw.com>;                                                      gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000528      ROS-PAUMA-0000529   9/9/2009    <cwilliams@rosettelaw.com>   'Rob Rosette' <rosette@rosettelaw.com>                                                            California.




ATTORNEYS' EYES ONLY                                                                                                  9

                                                                                                                                                                                                                                                                        Ex 5
                                                                                                                                                                                                                                                                       P0058
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22932 Page 11 of
                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                   TO                                               CC                                                   PRIVILEGE DESCRIPTION


                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                                                                                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000530      ROS-PAUMA-0000531   9/9/2009    <cwilliams@rosettelaw.com>      'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                       issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                 'Kevin Cochrane' <kcochrane@rosettelaw.com>;                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000532      ROS-PAUMA-0000533   9/9/2009    <cwilliams@rosettelaw.com>      'Rob Rosette' <rosette@rosettelaw.com>                                                            issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl Williams                 kcochrane@rosettelaw.com                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000534      ROS-PAUMA-0000535   9/10/2009   <cwilliams@rosettelaw.com>      <kcochrane@rosettelaw.com>                                                                        issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000346      ROS-PAUMA-0000348   9/11/2009   <cwilliams@rosettelaw.com>      Kevin Cochrane <kcochrane@rosettelaw.com>                                                         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000396      ROS-PAUMA-0000397   9/11/2009   <cwilliams@rosettelaw.com>      Kevin Cochrane <kcochrane@rosettelaw.com>                                                         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000514      ROS-PAUMA-0000517   9/11/2009   <cwilliams@rosettelaw.com>      Kevin Cochrane <kcochrane@rosettelaw.com>                                                         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000541      ROS-PAUMA-0000542   9/11/2009   <cwilliams@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>           Kevin Cochrane <kcochrane@rosettelaw.com>          issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000543      ROS-PAUMA-0000544   9/11/2009   <cwilliams@rosettelaw.com>      Kevin Cochrane <kcochrane@rosettelaw.com>                                                         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000485      ROS-PAUMA-0000485   9/15/2009   <cwilliams@rosettelaw.com>      Kevin Cochrane <kcochrane@rosettelaw.com>                                                         issues, compact negotiations, and litigation with the State of California.

                                                       Verrin Kewenvoyouma                                                            'Flint Richardson' <frichardson@rosettelaw.com>;   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       <vkewenvoyouma@rosettelaw.com 'Kevin Cochrane' <kcochrane@rosettelaw.com>;     flint@whetstoneedge.biz                            regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000311      ROS-PAUMA-0000313   9/17/2009   >                             'Cheryl A Williams' <cwilliams@rosettelaw.com>   <flint@whetstoneedge.biz>                          issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                   10

                                                                                                                                                                                                                                                                          Ex 5
                                                                                                                                                                                                                                                                         P0059
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22933 Page 12 of
                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                 FROM/AUTHOR                                    TO                                               CC                                                  PRIVILEGE DESCRIPTION


                                                       Verrin Kewenvoyouma                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       <vkewenvoyouma@rosettelaw.com                                                    'Cheryl A Williams' <cwilliams@rosettelaw.com>;   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000454      ROS-PAUMA-0000458   9/18/2009   >                             'Dinwiddie, Al' <dinwa@casinopauma.com>            'Kevin Cochrane' <kcochrane@rosettelaw.com>       issues, compact negotiations, and litigation with the State of California.

                                                       Verrin Kewenvoyouma                                                                                                                Withheld copy of spreadsheet regarding legal representations and advice to
                                                       <vkewenvoyouma@rosettelaw.com                                                    'Cheryl A Williams' <cwilliams@rosettelaw.com>;   Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000459      ROS-PAUMA-0000459   9/18/2009   >                             'Dinwiddie, Al' <dinwa@casinopauma.com>            'Kevin Cochrane' <kcochrane@rosettelaw.com>       State of California.
                                                                                                                                        rosette@rosettelaw.com
                                                                                                                                        <rosette@rosettelaw.com>; 'Cheryl A Williams'
                                                                                                                                        <cwilliams@rosettelaw.com>;
                                                                                         'Dinwiddie, Al' <dinwa@casinopauma.com>;       kcochrane@rosettelaw.com                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Flint Richardson                  'Verrin Kewenvoyouma'                          <kcochrane@rosettelaw.com>; 'Edie Scruggs'        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000486      ROS-PAUMA-0000486   9/18/2009   <frichardson@rosettelaw.com>      <vkewenvoyouma@rosettelaw.com>                 <escruggs@pauma-nsn.gov>                          issues, compact negotiations, and litigation with the State of California.
                                                                                                                                        rosette@rosettelaw.com
                                                                                                                                        <rosette@rosettelaw.com>; 'Cheryl A Williams'
                                                                                                                                        <cwilliams@rosettelaw.com>;                       Withheld copy of spreadsheet reflecting legal advice or attorney mental
                                                                                         'Dinwiddie, Al' <dinwa@casinopauma.com>;       kcochrane@rosettelaw.com                          impressions regarding legal representations and advice to Pauma regarding
                                                       Flint Richardson                  'Verrin Kewenvoyouma'                          <kcochrane@rosettelaw.com>; 'Edie Scruggs'        gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000487      ROS-PAUMA-0000487   9/18/2009   <frichardson@rosettelaw.com>      <vkewenvoyouma@rosettelaw.com>                 <escruggs@pauma-nsn.gov>                          California.
                                                                                         Verrin Kewenvoyouma
                                                                                         <vkewenvoyouma@rosettelaw.com>; Kevin                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com          Cochrane <kcochrane@rosettelaw.com>; Flint                                                       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000570      ROS-PAUMA-0000573   9/18/2009   <cwilliams@rosettelaw.com>        Richardson <frichardson@rosettelaw.com>                                                          issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams                 kcochrane@rosettelaw.com                                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000361      ROS-PAUMA-0000361   9/22/2009   <cwilliams@rosettelaw.com>        <kcochrane@rosettelaw.com>                                                                       issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                          Withheld copy of spreadsheet reflecting legal advice or attorney mental
                                                                                                                                                                                          impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl A Williams                 kcochrane@rosettelaw.com                                                                         gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000362      ROS-PAUMA-0000362   9/22/2009   <cwilliams@rosettelaw.com>        <kcochrane@rosettelaw.com>                                                                       California.
                                                                                                                                                                                          Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                                          impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl A Williams                 kcochrane@rosettelaw.com                                                                         gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000363      ROS-PAUMA-0000363   9/22/2009   <cwilliams@rosettelaw.com>        <kcochrane@rosettelaw.com>                                                                       California.
                                                                                                                                   paumachairman@att.blackberry.net
                                                       Verrin Kewenvoyouma                                                         <paumachairman@att.blackberry.net>; 'Flint        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       <vkewenvoyouma@rosettelaw.com 'Dinwiddie, Al' <adinwiddie@casinopauma.com>; Richardson' <frichardson@rosettelaw.com>; 'Cheryl regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000574      ROS-PAUMA-0000574   9/24/2009   >                             'Edie Scruggs' <escruggs@pauma-nsn.gov>       Williams' <cwilliams@rosettelaw.com>              issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                      11

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                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22934 Page 13 of
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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000436      ROS-PAUMA-0000436   9/28/2009   <cwilliams@rosettelaw.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                  issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of draft document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       cwilliams@rosettelaw.com                                                                                gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000437      ROS-PAUMA-0000437   9/28/2009   <cwilliams@rosettelaw.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                  California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       cwilliams@rosettelaw.com                                                                                gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000438      ROS-PAUMA-0000438   9/28/2009   <cwilliams@rosettelaw.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                  California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       cwilliams@rosettelaw.com                                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000524      ROS-PAUMA-0000525   9/28/2009   <cwilliams@rosettelaw.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                  issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams            kcochrane@rosettelaw.com                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000433      ROS-PAUMA-0000433   9/29/2009   <cwilliams@rosettelaw.com>   <kcochrane@rosettelaw.com>                                                 issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl A Williams            kcochrane@rosettelaw.com                                                   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000434      ROS-PAUMA-0000434   9/29/2009   <cwilliams@rosettelaw.com>   <kcochrane@rosettelaw.com>                                                 California.
                                                                                                                                                               Withheld copy of draft email reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl A Williams            kcochrane@rosettelaw.com                                                   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000435      ROS-PAUMA-0000435   9/29/2009   <cwilliams@rosettelaw.com>   <kcochrane@rosettelaw.com>                                                 California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams                                                                                       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000443      ROS-PAUMA-0000443   9/29/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                               Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams                                                                                       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000444      ROS-PAUMA-0000446   9/29/2009   <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000706      ROS-PAUMA-0000708   9/29/2009   <kcochrane@rosettelaw.com>   'Cheryl A Williams' <cwilliams@rosettelaw.com>                             issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                 12

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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                                    Withheld copy of email regarding legal representations and advice to Pauma
                                                        rosette@rosettelaw.com       Cheryl Williams <cwilliams@rosettelaw.com>;                                    regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000332      ROS-PAUMA-0000333   10/5/2009    <rosette@rosettelaw.com>     Kevin Cochrane <kcochrane@rosettelaw.com>                                      of California.
                                                                                                                                                                    Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                    impressions regarding legal representations and advice to Pauma regarding
                                                        rosette@rosettelaw.com       Cheryl Williams <cwilliams@rosettelaw.com>;                                    gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000334      ROS-PAUMA-0000343   10/5/2009    <rosette@rosettelaw.com>     Kevin Cochrane <kcochrane@rosettelaw.com>                                      California.

                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl Williams                                                                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000398      ROS-PAUMA-0000399   10/8/2009    <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                    issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                    Withheld copy of draft spreadsheet reflecting legal advice or attorney mental
                                                                                                                                                                    impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl Williams                                                                                             gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000400      ROS-PAUMA-0000400   10/8/2009    <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                    California.
                                                                                                                                                                    Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                    impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl Williams                                                                                             gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000401      ROS-PAUMA-0000401   10/8/2009    <cwilliams@rosettelaw.com>   'Kevin Cochrane' <kcochrane@rosettelaw.com>                                    California.

                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Kevin Cochrane               'cwilliams@rosettelaw.com'                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000688      ROS-PAUMA-0000689   10/16/2009   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                     issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                    Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                    impressions regarding legal representations and advice to Pauma regarding
                                                        Kevin Cochrane               'cwilliams@rosettelaw.com'                                                     gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000690      ROS-PAUMA-0000690   10/16/2009   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                     California.

                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Flint Richardson CPA                                                       Verrin Kewenvoyouma              regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000545      ROS-PAUMA-0000546   10/17/2009   <flint@whetstoneedge.biz>    Kevin Cochrane <kcochrane@rosettelaw.com>     <vkewenvoyouma@rosettelaw.com>   issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                    Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                    impressions regarding legal representations and advice to Pauma regarding
                                                        Flint Richardson CPA                                                       Verrin Kewenvoyouma              gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000547      ROS-PAUMA-0000551   10/17/2009   <flint@whetstoneedge.biz>    Kevin Cochrane <kcochrane@rosettelaw.com>     <vkewenvoyouma@rosettelaw.com>   California.

                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams                                                                                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000484      ROS-PAUMA-0000484   10/18/2009   <cwilliams@rosettelaw.com>   'kevin cochrane' <KCochrane@rosettelaw.com>                                    issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                 13

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                                                                                                                                                                                                                                                    P0062
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22936 Page 15 of
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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                     'Verrin Kewenvoyouma'                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams            <vkewenvoyouma@rosettelaw.com>; 'Kevin                                                            regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000577      ROS-PAUMA-0000577   10/19/2009   <cwilliams@rosettelaw.com>   Cochrane' <KCochrane@rosettelaw.com>            'Flint Richardson' <frichardson@rosettelaw.com>   issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                                                     'Verrin Kewenvoyouma'                                                                             impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl A Williams            <vkewenvoyouma@rosettelaw.com>; 'Kevin                                                            gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000578      ROS-PAUMA-0000578   10/19/2009   <cwilliams@rosettelaw.com>   Cochrane' <KCochrane@rosettelaw.com>            'Flint Richardson' <frichardson@rosettelaw.com>   California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Kevin Cochrane               'cwilliams@rosettelaw.com'                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000607      ROS-PAUMA-0000608   10/19/2009   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                                        issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                                       impressions regarding legal representations and advice to Pauma regarding
                                                        Kevin Cochrane               'cwilliams@rosettelaw.com'                                                                        gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000609      ROS-PAUMA-0000609   10/19/2009   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                                        California.

                                                                                     vkewenvoyouma@rosettelaw.com
                                                                                     <vkewenvoyouma@rosettelaw.com>; 'Kevin                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl Williams              Cochrane' <kcochrane@rosettelaw.com>; 'Flint                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000575      ROS-PAUMA-0000575   10/20/2009   <cwilliams@rosettelaw.com>   Richardson' <frichardson@rosettelaw.com>                                                          issues, compact negotiations, and litigation with the State of California.

                                                                                     vkewenvoyouma@rosettelaw.com                                                                      Withheld copy of document reflecting legal advice or attorney mental
                                                                                     <vkewenvoyouma@rosettelaw.com>; 'Kevin                                                            impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl Williams              Cochrane' <kcochrane@rosettelaw.com>; 'Flint                                                      gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000576      ROS-PAUMA-0000576   10/20/2009   <cwilliams@rosettelaw.com>   Richardson' <frichardson@rosettelaw.com>                                                          California.


                                                                                     'Cheryl Williams' <cwilliams@rosettelaw.com>;
                                                                                     'Verrin Kewenvoyouma'
                                                                                     <vkewenvoyouma@rosettelaw.com>;
                                                                                     'flint@whetstoneedge.biz'                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Kevin Cochrane               <flint@whetstoneedge.biz>; 'Flint Richardson'                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000717      ROS-PAUMA-0000717   10/20/2009   <kcochrane@rosettelaw.com>   <frichardson@rosettelaw.com>                                                                      issues, compact negotiations, and litigation with the State of California.


                                                                                     'Cheryl Williams' <cwilliams@rosettelaw.com>;
                                                                                     'Verrin Kewenvoyouma'
                                                                                     <vkewenvoyouma@rosettelaw.com>;                                                                   Withheld copy of document reflecting legal advice or attorney mental
                                                                                     'flint@whetstoneedge.biz'                                                                         impressions regarding legal representations and advice to Pauma regarding
                                                        Kevin Cochrane               <flint@whetstoneedge.biz>; 'Flint Richardson'                                                     gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000718      ROS-PAUMA-0000718   10/20/2009   <kcochrane@rosettelaw.com>   <frichardson@rosettelaw.com>                                                                      California.




ATTORNEYS' EYES ONLY                                                                                                  14

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                                                                                                                                                                                                                                                                       P0063
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22937 Page 16 of
                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                    'Robert Rosette' <rosette@rosettelaw.com>; 'Kevin Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams            cdevers@pauma-nsn.gov <cdevers@pauma-          Cochrane' <kcochrane@rosettelaw.com>; 'Mary       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000402      ROS-PAUMA-0000402   10/30/2009   <cwilliams@rosettelaw.com>   nsn.gov>                                       Hastings' <mhastings@rosettelaw.com>              issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                      Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                    'Robert Rosette' <rosette@rosettelaw.com>; 'Kevin impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl A Williams            cdevers@pauma-nsn.gov <cdevers@pauma-          Cochrane' <kcochrane@rosettelaw.com>; 'Mary       gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000403      ROS-PAUMA-0000404   10/30/2009   <cwilliams@rosettelaw.com>   nsn.gov>                                       Hastings' <mhastings@rosettelaw.com>              California.

                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams            rosette@rosettelaw.com                                                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000385      ROS-PAUMA-0000385   10/31/2009   <cwilliams@rosettelaw.com>   <rosette@rosettelaw.com>                       'Kevin Cochrane' <KCochrane@rosettelaw.com>         issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams            rosette@rosettelaw.com                                                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000386      ROS-PAUMA-0000387   10/31/2009   <cwilliams@rosettelaw.com>   <rosette@rosettelaw.com>                       'Kevin Cochrane' <KCochrane@rosettelaw.com>         issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                        Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                                        impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                                                        gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000953      ROS-PAUMA-0000962   11/2/2009                                                                                                                                    California.




                                                                                     'Chairman Devers'
                                                                                     <paumachairman@att.blackberry.net>;
                                                                                     cdevers@pauma-nsn.gov <cdevers@pauma-
                                                                                     nsn.gov>; 'TEMET MAJEL' <temetm@msn.com>;
                                                                                     'Marlane' <mbojorquez@pauma-nsn.gov>;
                                                                                     bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                     cwilliams@rosettelaw.com
                                                                                     <cwilliams@rosettelaw.com>; 'Saba Bazzazieh'                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Rob Rosette                  <sbazzazieh@rosettelaw.com>; 'Kevin Cochrane'                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000439      ROS-PAUMA-0000440   11/3/2009    <rosette@rosettelaw.com>     <kcochrane@rosettelaw.com>                    'Flint Richardson' <frichardson@rosettelaw.com>      issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                 15

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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
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   BEGINNING BATES           END BATES     DATE                 FROM/AUTHOR                                  TO                                              CC                                                   PRIVILEGE DESCRIPTION




                                                                                       'Chairman Devers'
                                                                                       <paumachairman@att.blackberry.net>;
                                                                                       cdevers@pauma-nsn.gov <cdevers@pauma-
                                                                                       nsn.gov>; 'TEMET MAJEL' <temetm@msn.com>;
                                                                                       'Marlane' <mbojorquez@pauma-nsn.gov>;
                                                                                       bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                       cwilliams@rosettelaw.com
                                                                                       <cwilliams@rosettelaw.com>; 'Saba Bazzazieh'                                                     Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                        Rob Rosette                    <sbazzazieh@rosettelaw.com>; 'Kevin Cochrane'                                                    regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000441      ROS-PAUMA-0000442   11/3/2009    <rosette@rosettelaw.com>       <kcochrane@rosettelaw.com>                    'Flint Richardson' <frichardson@rosettelaw.com>    issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000567      ROS-PAUMA-0000568   11/3/2009    <cwilliams@rosettelaw.com>     'Rob Rosette' <rosette@rosettelaw.com>         'Kevin Cochrane' <KCochrane@rosettelaw.com>       issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000202      ROS-PAUMA-0000307   11/10/2009   cwilliams@rosettelaw.com       Rob Rosette                                                                                      issues, compact negotiations, and litigation with the State of California.

                                                                                       cdevers@pauma-nsn.gov <cdevers@pauma-          'Rob Rosette' <rosette@rosettelaw.com>; 'Marlaine
                                                                                       nsn.gov>; paumachairman@att.blackberry.net     Bojorquez' <mbojorquez@pauma-nsn.gov>; 'Temet Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams              <paumachairman@att.blackberry.net>;            Majel' <temetm@msn.com>; 'Bennae Calac'           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000322      ROS-PAUMA-0000322   11/10/2009   <cwilliams@rosettelaw.com>     'Dinwiddie, Al' <dinwa@casinopauma.com>        <bennaecalac@aol.com>                             issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Kevin Cochrane                 'cwilliams@rosettelaw.com'                                                                       regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000679      ROS-PAUMA-0000680   11/10/2009   <kcochrane@rosettelaw.com>     <cwilliams@rosettelaw.com>                                                                       issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000364      ROS-PAUMA-0000365   11/11/2009   <cwilliams@rosettelaw.com>     'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                      issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                        Withheld copy of spreadsheet reflecting legal advice or attorney mental
                                                                                                                                                                                        impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl A Williams                                                                                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000366      ROS-PAUMA-0000366   11/11/2009   <cwilliams@rosettelaw.com>     'Kevin Cochrane' <kcochrane@rosettelaw.com>                                                      California.
                                                                                       cwilliams@rosettelaw.com
                                                        Flint Richardson               <cwilliams@rosettelaw.com>; 'Kevin Cochrane'   'Verrin Kewenvoyouma'                             Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0005657            ROS-0005657         11/15/2009   <frichardson@rosettelaw.com>   <kcochrane@rosettelaw.com>                     <vkewenvoyouma@rosettelaw.com>                    regarding legal representations and advice to Pauma.




ATTORNEYS' EYES ONLY                                                                                                   16

                                                                                                                                                                                                                                                                          Ex 5
                                                                                                                                                                                                                                                                         P0065
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22939 Page 18 of
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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES     DATE                 FROM/AUTHOR                                  TO                                              CC                                                 PRIVILEGE DESCRIPTION

                                                                                       cwilliams@rosettelaw.com
                                                        Flint Richardson               <cwilliams@rosettelaw.com>; 'Kevin Cochrane'   'Verrin Kewenvoyouma'                           Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0005658            ROS-0005658         11/15/2009   <frichardson@rosettelaw.com>   <kcochrane@rosettelaw.com>                     <vkewenvoyouma@rosettelaw.com>                  impressions regarding legal representations and advice to Pauma.
                                                                                       cwilliams@rosettelaw.com
                                                        Flint Richardson               <cwilliams@rosettelaw.com>; 'Kevin Cochrane'   'Verrin Kewenvoyouma'                           Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0005659            ROS-0005659         11/15/2009   <frichardson@rosettelaw.com>   <kcochrane@rosettelaw.com>                     <vkewenvoyouma@rosettelaw.com>                  impressions regarding legal representations and advice to Pauma.
                                                                                                                                                                                      Withheld copy of document reflecting legal advice or attorney mental
                                                                                       cwilliams@rosettelaw.com                                                                       impressions regarding legal representations and advice to Pauma regarding
                                                        Flint Richardson               <cwilliams@rosettelaw.com>; 'Kevin Cochrane'   'Verrin Kewenvoyouma'                           gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000321      ROS-PAUMA-0000321   11/15/2009   <frichardson@rosettelaw.com>   <kcochrane@rosettelaw.com>                     <vkewenvoyouma@rosettelaw.com>                  California.
                                                                                       cwilliams@rosettelaw.com
                                                        Flint Richardson               <cwilliams@rosettelaw.com>; 'Kevin Cochrane'   'Verrin Kewenvoyouma'                           Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0005660            ROS-0005660         11/15/2009   <frichardson@rosettelaw.com>   <kcochrane@rosettelaw.com>                     <vkewenvoyouma@rosettelaw.com>                  impressions regarding legal representations and advice to Pauma.
                                                                                                                                                                                      Redaction copy of email reflecting legal advice or attorney mental
                                                        cwilliams@rosettelaw.com                                                                                                      impressions regarding Rosette clients or potential clients other than Quechan
ROS-0001863            ROS-0001865         12/10/2009   <cwilliams@rosettelaw.com>     Kevin Cochrane <kcochrane@rosettelaw.com>                                                      and Pauma.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Kevin Cochrane                                                                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000473      ROS-PAUMA-0000473   12/16/2009   <kevin.m.cochrane@gmail.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                                      issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                      Withheld copy of draft document reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding legal representations and advice to Pauma regarding
                                                        Kevin Cochrane                                                                                                                gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000474      ROS-PAUMA-0000480   12/16/2009   <kevin.m.cochrane@gmail.com>   Kevin Cochrane <kcochrane@rosettelaw.com>                                                      California.
                                                                                       paumachairman@att.blackberry.net
                                                                                       <paumachairman@att.blackberry.net>;
                                                                                       cdevers@pauma-nsn.gov <cdevers@pauma-
                                                                                       nsn.gov>; 'Temet Majel' <temetm@msn.com>;
                                                                                       'Bennae Calac' <bennaecalac@aol.com>;          'Rob Rosette' <rosette@rosettelaw.com>;         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams              'Marlaine Bojorquez' <mbojorquez@pauma-        kcochrane@rosettelaw.com                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000344      ROS-PAUMA-0000345   1/14/2010    <cwilliams@rosettelaw.com>     nsn.gov>                                       <kcochrane@rosettelaw.com>                      issues, compact negotiations, and litigation with the State of California.

                                                                                       cdevers@pauma-nsn.gov <cdevers@pauma-          'Temet Majel' <temetm@msn.com>; 'Rob Rosette'   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        Cheryl A Williams              nsn.gov>; paumachairman@att.blackberry.net     <rosette@rosettelaw.com>; 'Kevin Cochrane'      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000374      ROS-PAUMA-0000374   1/14/2010    <cwilliams@rosettelaw.com>     <paumachairman@att.blackberry.net>             <kcochrane@rosettelaw.com>                      issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                                      Withheld copy of draft document reflecting legal advice or attorney mental
                                                                                       cdevers@pauma-nsn.gov <cdevers@pauma-          'Temet Majel' <temetm@msn.com>; 'Rob Rosette'   impressions regarding legal representations and advice to Pauma regarding
                                                        Cheryl A Williams              nsn.gov>; paumachairman@att.blackberry.net     <rosette@rosettelaw.com>; 'Kevin Cochrane'      gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000375      ROS-PAUMA-0000384   1/14/2010    <cwilliams@rosettelaw.com>     <paumachairman@att.blackberry.net>             <kcochrane@rosettelaw.com>                      California.




ATTORNEYS' EYES ONLY                                                                                                   17

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                                                                                                                                                                                                                                                                      P0066
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                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000666      ROS-PAUMA-0000668   1/14/2010   <kcochrane@rosettelaw.com>     'Mary Hastings' <mhastings@rosettelaw.com>                               issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000669      ROS-PAUMA-0000670   1/14/2010   <kcochrane@rosettelaw.com>     'Mary Hastings' <mhastings@rosettelaw.com>                               issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                                                                                          gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000671      ROS-PAUMA-0000673   1/14/2010   <kcochrane@rosettelaw.com>     'Mary Hastings' <mhastings@rosettelaw.com>                               California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                                                                                          gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000674      ROS-PAUMA-0000675   1/14/2010   <kcochrane@rosettelaw.com>     'Mary Hastings' <mhastings@rosettelaw.com>                               California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000676      ROS-PAUMA-0000677   1/14/2010   <kcochrane@rosettelaw.com>     'Mary Hastings' <mhastings@rosettelaw.com>                               issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                                                                                          gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000678      ROS-PAUMA-0000678   1/14/2010   <kcochrane@rosettelaw.com>     'Mary Hastings' <mhastings@rosettelaw.com>                               California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                 'kevin.m.cochrane@gmail.com'                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000642      ROS-PAUMA-0000642   1/19/2010   <kcochrane@rosettelaw.com>     <kevin.m.cochrane@gmail.com>                                             issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                 'kevin.m.cochrane@gmail.com'                                             gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000643      ROS-PAUMA-0000643   1/19/2010   <kcochrane@rosettelaw.com>     <kevin.m.cochrane@gmail.com>                                             California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000703      ROS-PAUMA-0000705   1/21/2010   <kcochrane@rosettelaw.com>     'Cheryl A Williams' <cwilliams@rosettelaw.com>                           issues, compact negotiations, and litigation with the State of California.
                                                                                      rosette@rosettelaw.com
                                                                                      <rosette@rosettelaw.com>; 'Cheryl Williams'
                                                                                      <cwilliams@rosettelaw.com>; 'Kevin Cochrane'                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Flint Richardson               <kcochrane@rosettelaw.com>; 'Flint Richardson'                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000566      ROS-PAUMA-0000566   2/4/2010    <frichardson@rosettelaw.com>   <'Flint Richardson'>                                                     issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                   18

                                                                                                                                                                                                                                                Ex 5
                                                                                                                                                                                                                                               P0067
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                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                    cdevers@pauma-nsn.gov <cdevers@pauma-
                                                                                    nsn.gov>; paumachairman@att.blackberry.net                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Cheryl A Williams            <paumachairman@att.blackberry.net>; 'Dennis                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000325      ROS-PAUMA-0000325   2/12/2010   <cwilliams@rosettelaw.com>   Stewart' <dennis@hulettharper.com>               'Rob Rosette' <rosette@rosettelaw.com>   issues, compact negotiations, and litigation with the State of California.

                                                                                    cdevers@pauma-nsn.gov <cdevers@pauma-                                                     Withheld copy of document reflecting legal advice or attorney mental
                                                                                    nsn.gov>; paumachairman@att.blackberry.net                                                impressions regarding legal representations and advice to Pauma regarding
                                                       Cheryl A Williams            <paumachairman@att.blackberry.net>; 'Dennis                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000326      ROS-PAUMA-0000331   2/12/2010   <cwilliams@rosettelaw.com>   Stewart' <dennis@hulettharper.com>               'Rob Rosette' <rosette@rosettelaw.com>   California.

                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000645      ROS-PAUMA-0000645   2/12/2010   <kcochrane@rosettelaw.com>   'Sherry Bridges' <sherrybridges@sbcglobal.net>                                            issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                              Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                              impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                                                                                                         gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000646      ROS-PAUMA-0000655   2/12/2010   <kcochrane@rosettelaw.com>   'Sherry Bridges' <sherrybridges@sbcglobal.net>                                            California.
                                                                                                                                                                              Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                              impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                                                                                                         gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000656      ROS-PAUMA-0000665   2/12/2010   <kcochrane@rosettelaw.com>   'Sherry Bridges' <sherrybridges@sbcglobal.net>                                            California.

                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane               'dinwa@casinopauma.com'                                                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000681      ROS-PAUMA-0000681   2/12/2010   <kcochrane@rosettelaw.com>   <dinwa@casinopauma.com>                                                                   issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                              Withheld copy of draft document reflecting legal advice or attorney mental
                                                                                                                                                                              impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane               'dinwa@casinopauma.com'                                                                   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000682      ROS-PAUMA-0000685   2/12/2010   <kcochrane@rosettelaw.com>   <dinwa@casinopauma.com>                                                                   California.

                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane                                                                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000308      ROS-PAUMA-0000310   2/17/2010   <kcochrane@rosettelaw.com>   'Mary Hastings' <mhastings@rosettelaw.com>                                                issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane               'cwilliams@rosettelaw.com'                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000694      ROS-PAUMA-0000695   4/14/2010   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                                issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Kevin Cochrane               'cwilliams@rosettelaw.com'                                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000610      ROS-PAUMA-0000610   4/15/2010   <kcochrane@rosettelaw.com>   <cwilliams@rosettelaw.com>                                                                issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                  19

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                                                                                                                                                                                                                                                              P0068
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                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                                                      Withheld copy of minutes reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding legal representations and advice to Pauma regarding
                                                       Kevin Cochrane                'cwilliams@rosettelaw.com'                                                                       gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000611      ROS-PAUMA-0000618   4/15/2010   <kcochrane@rosettelaw.com>    <cwilliams@rosettelaw.com>                                                                       California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       twhite@pauma-nsn.gov                                                                                                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000776      ROS-PAUMA-0000777   3/24/2011   <twhite@pauma-nsn.gov>        Rob Rosette <rosette@rosettelaw.com>                                                             issues, compact negotiations, and litigation with the State of California.



                                                                                     bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                     marlaine Bojorquez <bojorquez31@gmail.com>;                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   rquisquis@pauma-nsn.gov <rquisquis@pauma-                                                        regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000836      ROS-PAUMA-0000838   3/24/2011   <rosette@rosettelaw.com>      nsn.gov>; Randal Majel <tocupawet@verizon.net>                                                   issues, compact negotiations, and litigation with the State of California.

                                                                                     Tobin White <TWhite@pauma-nsn.gov>; Priddy,
                                                                                     Jerry <jpriddy@casinopauma.com>; Kikumoto,                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   James <jkikumoto@casinopauma.com>; Mark                                                          regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000722      ROS-PAUMA-0000723   4/14/2011   <rosette@rosettelaw.com>      Radoff <mradoff@calindian.org>                   Flint Richardson <frichardson@rosettelaw.com>   issues, compact negotiations, and litigation with the State of California.
                                                       Gina Bocardo                                                                   Mitch Boone <mboone@rosettelaw.com>; Rob        Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0008049            ROS-0008051         4/25/2011   <gbocardo@rosettelaw.com>     Flint Richardson <frichardson@rosettelaw.com>    Rosette <rosette@rosettelaw.com>                regarding legal representations and advice to Pauma.

                                                       Gina Bocardo                                                                   Mitch Boone <mboone@rosettelaw.com>; Rob        Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0008052            ROS-0008055         4/25/2011   <gbocardo@rosettelaw.com>     Flint Richardson <frichardson@rosettelaw.com>    Rosette <rosette@rosettelaw.com>                impressions regarding legal representations and advice to Pauma.

                                                       Gina Bocardo                                                                   Mitch Boone <mboone@rosettelaw.com>; Rob        Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0008056            ROS-0008057         4/25/2011   <gbocardo@rosettelaw.com>     Flint Richardson <frichardson@rosettelaw.com>    Rosette <rosette@rosettelaw.com>                impressions regarding legal representations and advice to Pauma.

                                                                                                                                                                                      Withheld copy of document regarding legal representations and advice to
                                                       Gina Bocardo                                                                   Mitch Boone <mboone@rosettelaw.com>; Rob        Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000849      ROS-PAUMA-0000851   4/25/2011   <gbocardo@rosettelaw.com>     Flint Richardson <frichardson@rosettelaw.com>    Rosette <rosette@rosettelaw.com>                State of California.

                                                                                                                                                                                      Withheld copy of document regarding legal representations and advice to
                                                       Gina Bocardo                                                                   Mitch Boone <mboone@rosettelaw.com>; Rob        Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000852      ROS-PAUMA-0000853   4/25/2011   <gbocardo@rosettelaw.com>     Flint Richardson <frichardson@rosettelaw.com>    Rosette <rosette@rosettelaw.com>                State of California.

                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Saba Bazzazieh                                                                                                                 regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000757      ROS-PAUMA-0000758   7/9/2011    <sbazzazieh@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                             issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                 20

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                                                                                                                                                                                                                                                                      P0069
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                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                                                                                                                Withheld copy of presentation reflecting legal advice or attorney mental
                                                                                                                                                                                impressions regarding legal representations and advice to Pauma regarding
                                                       Saba Bazzazieh                                                                                                           gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000759      ROS-PAUMA-0000774   7/9/2011    <sbazzazieh@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                       California.

                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Richard Armstrong             Jacob Appelsmith                                                                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000781      ROS-PAUMA-0000782   7/27/2011   <armstrong@rosettelaw.com>    <Jacob.Appelsmith@GOV.CA.GOV>                Rob Rosette <rosette@rosettelaw.com>          issues, compact negotiations, and litigation with the State of California.
                                                                                     Richard Armstrong
                                                                                     <armstrong@rosettelaw.com>;                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   'Jacob.Appelsmith@GOV.CA.GOV'                                                              regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000887      ROS-PAUMA-0000888   7/27/2011   <rosette@rosettelaw.com>      <Jacob.Appelsmith@GOV.CA.GOV>                                                              issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                                                                Robert Gips <RGips@dwmlaw.com>; Flint         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000811      ROS-PAUMA-0000812   7/28/2011   <rosette@rosettelaw.com>      Aaron Pratt <APratt@dwmlaw.com>              Richardson <frichardson@rosettelaw.com>       issues, compact negotiations, and litigation with the State of California.

                                                                                     Jacob Appelsmith                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   <Jacob.Appelsmith@GOV.CA.GOV>; Richard                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000841      ROS-PAUMA-0000843   7/28/2011   <rosette@rosettelaw.com>      Armstrong <armstrong@rosettelaw.com>                                                       issues, compact negotiations, and litigation with the State of California.

                                                                                     Jacob Appelsmith                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   <Jacob.Appelsmith@GOV.CA.GOV>; Richard                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000889      ROS-PAUMA-0000891   7/28/2011   <rosette@rosettelaw.com>      Armstrong <armstrong@rosettelaw.com>                                                       issues, compact negotiations, and litigation with the State of California.


                                                                                     Robert Quisquis <rquisquis@pauma-nsn.gov>;
                                                                                     BENNAECALAC@aol.com
                                                                                     <BENNAECALAC@aol.com>; Marlaine Bojorquez
                                                                                     <mbojorquez@pauma-nsn.gov>; marlaine                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   Bojorquez <bojorquez31@gmail.com>; Randal    Tobin White <TWhite@pauma-nsn.gov>; Richard   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000778      ROS-PAUMA-0000778   7/29/2011   <rosette@rosettelaw.com>      Majel <tocupawet@verizon.net>                Armstrong <armstrong@rosettelaw.com>          issues, compact negotiations, and litigation with the State of California.

                                                                                     Jacob Appelsmith                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   <Jacob.Appelsmith@GOV.CA.GOV>; Richard                                                     regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000923      ROS-PAUMA-0000926   7/29/2011   <rosette@rosettelaw.com>      Armstrong <armstrong@rosettelaw.com>                                                       issues, compact negotiations, and litigation with the State of California.

                                                                                                                                Marlaine Bojorquez <mbojorquez@pauma-           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                   bennaecalac@aol.com <bennaecalac@aol.com>; nsn.gov>; Tobin White <twhite@pauma-nsn.gov>;   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000813      ROS-PAUMA-0000815   8/2/2011    <rosette@rosettelaw.com>      marlaine Bojorquez <bojorquez31@gmail.com> Robert Quis Quis <rquisquis@pauma-nsn.gov>      issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                21

                                                                                                                                                                                                                                                                 Ex 5
                                                                                                                                                                                                                                                                P0070
                                                  Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22944 Page 23 of
                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                FROM/AUTHOR                                  TO                            CC                                             PRIVILEGE DESCRIPTION


                                                                                      marlaine Bojorquez <bojorquez31@gmail.com>;
                                                                                      Marlaine Bojorquez <mbojorquez@pauma-
                                                                                      nsn.gov>; bennaecalac@aol.com
                                                                                      <bennaecalac@aol.com>; Robert Quisquis                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                    <rquisquis@pauma-nsn.gov>; Tobin White                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000854      ROS-PAUMA-0000855   8/2/2011    <rosette@rosettelaw.com>       <TWhite@pauma-nsn.gov>                                                   issues, compact negotiations, and litigation with the State of California.


                                                                                      marlaine Bojorquez <bojorquez31@gmail.com>;
                                                                                      Marlaine Bojorquez <mbojorquez@pauma-
                                                                                      nsn.gov>; bennaecalac@aol.com                                            Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                      <bennaecalac@aol.com>; Robert Quisquis                                   impressions regarding legal representations and advice to Pauma regarding
                                                       Rob Rosette                    <rquisquis@pauma-nsn.gov>; Tobin White                                   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000856      ROS-PAUMA-0000866   8/2/2011    <rosette@rosettelaw.com>       <TWhite@pauma-nsn.gov>                                                   California.


                                                                                      marlaine Bojorquez <bojorquez31@gmail.com>;
                                                                                      Marlaine Bojorquez <mbojorquez@pauma-
                                                                                      nsn.gov>; bennaecalac@aol.com                                            Withheld copy of presentation reflecting legal advice or attorney mental
                                                                                      <bennaecalac@aol.com>; Robert Quisquis                                   impressions regarding legal representations and advice to Pauma regarding
                                                       Rob Rosette                    <rquisquis@pauma-nsn.gov>; Tobin White                                   gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000867      ROS-PAUMA-0000882   8/2/2011    <rosette@rosettelaw.com>       <TWhite@pauma-nsn.gov>                                                   California.



                                                                                      Zeke Fletcher <zfletcher@rosettelaw.com>; Flint
                                                                                      Richardson <frichardson@rosettelaw.com>; Saba                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                    Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000883      ROS-PAUMA-0000886   8/2/2011    <rosette@rosettelaw.com>       Armstrong <armstrong@rosettelaw.com>                                     issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                    Jacob Appelsmith                                                         regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000892      ROS-PAUMA-0000893   8/2/2011    <rosette@rosettelaw.com>       <Jacob.Appelsmith@GOV.CA.GOV>                                            issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000927      ROS-PAUMA-0000928   8/11/2011                                                                                                           California.

                                                                                     Richard Armstrong                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Jacob Appelsmith              <armstrong@rosettelaw.com>; Rob Rosette                                   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000775      ROS-PAUMA-0000775   8/15/2011   <Jacob.Appelsmith@GOV.CA.GOV> <rosette@rosettelaw.com>                                                  issues, compact negotiations, and litigation with the State of California.




ATTORNEYS' EYES ONLY                                                                                                   22

                                                                                                                                                                                                                                                Ex 5
                                                                                                                                                                                                                                               P0071
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                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                               bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                                                               Robert Quis Quis <rquisquis@pauma-nsn.gov>;
                                                                                                                               marlaine Bojorquez <bojorquez31@gmail.com>;
                                                                                                                               Marlaine Bojorquez <mbojorquez@pauma-
                                                                                  Jacob Appelsmith                             nsn.gov>; toowish@verizon.net                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                <Jacob.Appelsmith@GOV.CA.GOV>; Richard       <toowish@verizon.net>; Randal Majel           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000839      ROS-PAUMA-0000840   8/15/2011   <rosette@rosettelaw.com>   Armstrong <armstrong@rosettelaw.com>         <tocupawet@verizon.net>                       issues, compact negotiations, and litigation with the State of California.

                                                                                  'caw@williamscochrane.com'                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Anna Pozdyn                <caw@williamscochrane.com>; Rob Rosette                                                    regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000779      ROS-PAUMA-0000779   8/16/2011   <Anna.Pozdyn@GOV.CA.GOV>   <rosette@rosettelaw.com>                                                                   issues, compact negotiations, and litigation with the State of California.

                                                                                  'caw@williamscochrane.com'                                                                 Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Anna Pozdyn                <caw@williamscochrane.com>; Rob Rosette                                                    regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000780      ROS-PAUMA-0000780   8/16/2011   <Anna.Pozdyn@GOV.CA.GOV>   <rosette@rosettelaw.com>                                                                   issues, compact negotiations, and litigation with the State of California.


                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                  Robert Quis Quis <rquisquis@pauma-nsn.gov>;
                                                                                  marlaine Bojorquez <bojorquez31@gmail.com>;
                                                                                  Marlaine Bojorquez <mbojorquez@pauma-
                                                                                  nsn.gov>; Randal Majel                       Saba Bazzazieh <sbazzazieh@rosettelaw.com>;   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                <tocupawet@verizon.net>; toowish@verizon.net Tobin White <TWhite@pauma-nsn.gov>; Richard   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000844      ROS-PAUMA-0000845   8/16/2011   <rosette@rosettelaw.com>   <toowish@verizon.net>                        Armstrong <armstrong@rosettelaw.com>          issues, compact negotiations, and litigation with the State of California.


                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                  Robert Quis Quis <rquisquis@pauma-nsn.gov>;
                                                                                  marlaine Bojorquez <bojorquez31@gmail.com>;
                                                                                  Marlaine Bojorquez <mbojorquez@pauma-
                                                                                  nsn.gov>; Randal Majel                       Saba Bazzazieh <sbazzazieh@rosettelaw.com>;   Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                <tocupawet@verizon.net>; toowish@verizon.net Tobin White <TWhite@pauma-nsn.gov>; Richard   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000846      ROS-PAUMA-0000846   8/16/2011   <rosette@rosettelaw.com>   <toowish@verizon.net>                        Armstrong <armstrong@rosettelaw.com>          issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                bennaecalac@aol.com <bennaecalac@aol.com>;                                                 regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000785      ROS-PAUMA-0000785   8/23/2011   <rosette@rosettelaw.com>   Robert Quis Quis <rquisquis@pauma-nsn.gov>                                                 issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                             Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                             impressions regarding legal representations and advice to Pauma regarding
                                                       Rob Rosette                bennaecalac@aol.com <bennaecalac@aol.com>;                                                 gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000786      ROS-PAUMA-0000796   8/23/2011   <rosette@rosettelaw.com>   Robert Quis Quis <rquisquis@pauma-nsn.gov>                                                 California.




ATTORNEYS' EYES ONLY                                                                                             23

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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                       impressions regarding legal representations and advice to Pauma regarding
                                                       Rob Rosette                bennaecalac@aol.com <bennaecalac@aol.com>;                                           gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000797      ROS-PAUMA-0000802   8/23/2011   <rosette@rosettelaw.com>   Robert Quis Quis <rquisquis@pauma-nsn.gov>                                           California.
                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                       impressions regarding legal representations and advice to Pauma regarding
                                                       Rob Rosette                bennaecalac@aol.com <bennaecalac@aol.com>;                                           gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000803      ROS-PAUMA-0000810   8/23/2011   <rosette@rosettelaw.com>   Robert Quis Quis <rquisquis@pauma-nsn.gov>                                           California.

                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                bennaecalac@aol.com <bennaecalac@aol.com>;                                           regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000894      ROS-PAUMA-0000894   8/23/2011   <rosette@rosettelaw.com>   Robert Quis Quis <rquisquis@pauma-nsn.gov>                                           issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                       impressions regarding legal representations and advice to Pauma regarding
                                                       Rob Rosette                bennaecalac@aol.com <bennaecalac@aol.com>;                                           gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000895      ROS-PAUMA-0000918   8/23/2011   <rosette@rosettelaw.com>   Robert Quis Quis <rquisquis@pauma-nsn.gov>                                           California.
                                                                                  Robert Quis Quis <rquisquis@pauma-nsn.gov>;
                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                  marlaine Bojorquez <bojorquez31@gmail.com>;                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                Marlaine Bojorquez <mbojorquez@pauma-                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000919      ROS-PAUMA-0000919   8/23/2011   <rosette@rosettelaw.com>   nsn.gov>                                                                             issues, compact negotiations, and litigation with the State of California.
                                                                                  Robert Quis Quis <rquisquis@pauma-nsn.gov>;
                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                  marlaine Bojorquez <bojorquez31@gmail.com>;                                          Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                Marlaine Bojorquez <mbojorquez@pauma-                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000920      ROS-PAUMA-0000920   8/23/2011   <rosette@rosettelaw.com>   nsn.gov>                                                                             issues, compact negotiations, and litigation with the State of California.
                                                                                  Robert Quis Quis <rquisquis@pauma-nsn.gov>;
                                                                                  bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                  marlaine Bojorquez <bojorquez31@gmail.com>;                                          Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                Marlaine Bojorquez <mbojorquez@pauma-                                                regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000921      ROS-PAUMA-0000922   8/23/2011   <rosette@rosettelaw.com>   nsn.gov>                                                                             issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       TEMET MAJEL                Flint <flint@wsedge.biz>; Michael Sebour                                             regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000835      ROS-PAUMA-0000835   9/2/2011    <temetm@msn.com>           <sebour@att.net>                              Rob Rosette <rosette@rosettelaw.com>   issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                                       Withheld copy of document reflecting legal advice or attorney mental
                                                                                                                                                                       impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                                       gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000929      ROS-PAUMA-0000932   9/12/2011                                                                                                                   California.




ATTORNEYS' EYES ONLY                                                                                                24

                                                                                                                                                                                                                                                         Ex 5
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                                                                                        99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                      Randall Majel <TOOWISH@VERIZON.NET>;
                                                                                      Marlaine Bojorquez <mbojorquez@pauma-
                                                                                      nsn.gov>; Bennae Calac <bcalac@pauma-                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Tobin White <TWhite@pauma-     nsn.gov>; Robert Quisquis <rquisquis@pauma-                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000720      ROS-PAUMA-0000720   9/13/2011   nsn.gov>                       nsn.gov>; Rob Rosette <rosette@rosettelaw.com>                                                   issues, compact negotiations, and litigation with the State of California.


                                                                                      Randall Majel <TOOWISH@VERIZON.NET>;
                                                                                      Marlaine Bojorquez <mbojorquez@pauma-
                                                                                      nsn.gov>; Bennae Calac <bcalac@pauma-                                                            Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Tobin White <TWhite@pauma-     nsn.gov>; Robert Quisquis <rquisquis@pauma-                                                      regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000721      ROS-PAUMA-0000721   9/13/2011   nsn.gov>                       nsn.gov>; Rob Rosette <rosette@rosettelaw.com>                                                   issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                    Jacob Appelsmith                                 Richard Armstrong <armstrong@rosettelaw.com>;   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000847      ROS-PAUMA-0000847   9/14/2011   <rosette@rosettelaw.com>       <Jacob.Appelsmith@GOV.CA.GOV>                    Saba Bazzazieh <sbazzazieh@rosettelaw.com>      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                       Rob Rosette                    Jacob Appelsmith                                 Richard Armstrong <armstrong@rosettelaw.com>;   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000848      ROS-PAUMA-0000848   9/14/2011   <rosette@rosettelaw.com>       <Jacob.Appelsmith@GOV.CA.GOV>                    Saba Bazzazieh <sbazzazieh@rosettelaw.com>      issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                       Jacob Appelsmith                                                                Richard Armstrong <armstrong@rosettelaw.com>;   regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000784      ROS-PAUMA-0000784   9/16/2011   <Jacob.Appelsmith@GOV.CA.GOV> Rob Rosette <rosette@rosettelaw.com>              Saba Bazzazieh <sbazzazieh@rosettelaw.com>      issues, compact negotiations, and litigation with the State of California.



                                                                                      bennaecalac@aol.com <bennaecalac@aol.com>;
                                                                                      Robert Quis Quis <rquisquis@pauma-nsn.gov>;                                                      Withheld copy of draft email reflecting legal advice or attorney mental
                                                                                      Tobin White <TWhite@pauma-nsn.gov>; marlaine                                                     impressions regarding legal representations and advice to Pauma regarding
                                                                                      Bojorquez <bojorquez31@gmail.com>; Marlaine                                                      gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000783      ROS-PAUMA-0000783   5/31/2015   Rob Rosette                    Bojorquez <mbojorquez@pauma-nsn.gov>         Saba Bazzazieh <sbazzazieh@rosettelaw.com>          California.

                                                                                      Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                      Karrie Wichtman <kwichtman@rosettelaw.com>;                                                      Withheld copy of email requesting legal advice from counsel regarding
                                                       Rob Rosette                    Nicole St. Germain                                                                               gaming compact negotiations, ratification, and/or potential litigation
ROS-0008790            ROS-0008790         6/19/2017   <rosette@rosettelaw.com>       <NStGermain@rosettelaw.com>                                                                      between Quechan and California.
                                                                                                                                                                                       Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                                                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0009139            ROS-0009139         6/21/2017   Luke Christian                                                                                                                  potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                  25

                                                                                                                                                                                                                                                                         Ex 5
                                                                                                                                                                                                                                                                        P0074
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                             Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                                             impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                                                                                                                             W&C’s false statements about continued representation, and/or potential
ROS-0009140            ROS-0009141       6/22/2017   Luke Christian                                                                                          litigation with W&C.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0009160            ROS-0009163       6/22/2017   Richard Verri                    Luke Christian; Robert Rosette; Saba Bazzazieh                         litigation between Quechan and California.
                                                                                                                                                             Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                             regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                                                                                                                             statements about continued representation, and/or potential litigation with
ROS-0009167            ROS-0009167       6/22/2017   Richard Verri                    Luke Christian; Robert Rosette; Saba Bazzazieh                         W&C.
                                                                                                                                                             Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                                             impressions regarding gaming compact negotiations, ratification, and/or
ROS-0009168            ROS-0009168       6/22/2017   Richard Verri                    Luke Christian; Robert Rosette; Saba Bazzazieh                         potential litigation between Quechan and California.

                                                                                                                                                             Withheld copy of draft document reflecting legal advice or attorney mental
                                                                                                                                                             impressions regarding gaming compact negotiations, ratification, and/or
ROS-0009169            ROS-0009169       6/22/2017   Richard Verri                    Luke Christian; Robert Rosette; Saba Bazzazieh                         potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                             regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                                                                                                                             statements about continued representation, and/or potential litigation with
ROS-0009170            ROS-0009171       6/22/2017   Richard Verri                    Luke Christian; Robert Rosette; Saba Bazzazieh                         W&C.
                                                     Quechan Executive Secretary                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0005596            ROS-0005597       6/22/2017   .com>                            Richard Verri <rverri@rosettelaw.com>                                  litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                      Robert Rosette <rosette@rosettelaw.com>; Saba                          regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Luke Christian                   Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                         statements about continued representation, and/or potential litigation with
ROS-0005608            ROS-0005612       6/22/2017   <lchristian@rosettelaw.com>      Verri <rverri@rosettelaw.com>                                          W&C.
                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                      Robert Rosette <rosette@rosettelaw.com>; Saba                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                   Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                         W&C’s false statements about continued representation, and/or potential
ROS-0005613            ROS-0005613       6/22/2017   <lchristian@rosettelaw.com>      Verri <rverri@rosettelaw.com>                                          litigation with W&C.
                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                      Robert Rosette <rosette@rosettelaw.com>; Saba                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                   Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                         W&C’s false statements about continued representation, and/or potential
ROS-0005614            ROS-0005615       6/22/2017   <lchristian@rosettelaw.com>      Verri <rverri@rosettelaw.com>                                          litigation with W&C.
                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                      Robert Rosette <rosette@rosettelaw.com>; Saba                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                   Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                         W&C’s false statements about continued representation, and/or potential
ROS-0005616            ROS-0005616       6/22/2017   <lchristian@rosettelaw.com>      Verri <rverri@rosettelaw.com>                                          litigation with W&C.




ATTORNEYS' EYES ONLY                                                                                                    26

                                                                                                                                                                                                                                               Ex 5
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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22949 Page 28 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Robert Rosette <rosette@rosettelaw.com>; Saba                                                     impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                                                    W&C’s false statements about continued representation, and/or potential
ROS-0005617            ROS-0005617       6/22/2017   <lchristian@rosettelaw.com>   Verri <rverri@rosettelaw.com>                                                                     litigation with W&C.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Saba Bazzazieh                Rosette <rosette@rosettelaw.com>; Richard Verri                                                   statements about continued representation, and/or potential litigation with
ROS-0006593            ROS-0006597       6/22/2017   <sbazzazieh@rosettelaw.com>   <RVerri@rosettelaw.com>                                                                           W&C.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            statements about continued representation, and/or potential litigation with
ROS-0007338            ROS-0007343       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             W&C.
                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            W&C’s false statements about continued representation, and/or potential
ROS-0007344            ROS-0007344       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             litigation with W&C.
                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            W&C’s false statements about continued representation, and/or potential
ROS-0007345            ROS-0007346       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             litigation with W&C.
                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            W&C’s false statements about continued representation, and/or potential
ROS-0007347            ROS-0007347       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             litigation with W&C.
                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            W&C’s false statements about continued representation, and/or potential
ROS-0007348            ROS-0007348       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             litigation with W&C.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                     regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Luke Christian                                                                  Rob Rosette <rosette@rosettelaw.com>; Richard   statements about continued representation, and/or potential litigation with
ROS-0007384            ROS-0007386       6/22/2017   <lchristian@rosettelaw.com>   Saba Bazzazieh <sbazzazieh@rosettelaw.com>        Verri <RVerri@rosettelaw.com>                   W&C.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            statements about continued representation, and/or potential litigation with
ROS-0007751            ROS-0007756       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             W&C.
                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rob                                                   impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rosette <rosette@rosettelaw.com>; Saba                                                            W&C’s false statements about continued representation, and/or potential
ROS-0007757            ROS-0007759       6/22/2017   <RVerri@rosettelaw.com>       Bazzazieh <sbazzazieh@rosettelaw.com>                                                             litigation with W&C.




ATTORNEYS' EYES ONLY                                                                                                27

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                                                                                                                                                                                                                                                                     P0076
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22950 Page 29 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                       regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Saba Bazzazieh                                                                 Rob Rosette <rosette@rosettelaw.com>; Richard      statements about continued representation, and/or potential litigation with
ROS-0007774            ROS-0007776       6/22/2017   <sbazzazieh@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>       Verri <RVerri@rosettelaw.com>                      W&C.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                   Rob Rosette <rosette@rosettelaw.com>; Saba                                                          regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Luke Christian                Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                                                      statements about continued representation, and/or potential litigation with
ROS-0007777            ROS-0007781       6/22/2017   <lchristian@rosettelaw.com>   Verri <RVerri@rosettelaw.com>                                                                       W&C.
                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Rob Rosette <rosette@rosettelaw.com>; Saba                                                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                                                      W&C’s false statements about continued representation, and/or potential
ROS-0007782            ROS-0007782       6/22/2017   <lchristian@rosettelaw.com>   Verri <RVerri@rosettelaw.com>                                                                       litigation with W&C.
                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Rob Rosette <rosette@rosettelaw.com>; Saba                                                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                                                      W&C’s false statements about continued representation, and/or potential
ROS-0007783            ROS-0007783       6/22/2017   <lchristian@rosettelaw.com>   Verri <RVerri@rosettelaw.com>                                                                       litigation with W&C.
                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Rob Rosette <rosette@rosettelaw.com>; Saba                                                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                                                      W&C’s false statements about continued representation, and/or potential
ROS-0007784            ROS-0007785       6/22/2017   <lchristian@rosettelaw.com>   Verri <RVerri@rosettelaw.com>                                                                       litigation with W&C.
                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                   Rob Rosette <rosette@rosettelaw.com>; Saba                                                          impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                Bazzazieh <sbazzazieh@rosettelaw.com>; Richard                                                      W&C’s false statements about continued representation, and/or potential
ROS-0007786            ROS-0007786       6/22/2017   <lchristian@rosettelaw.com>   Verri <RVerri@rosettelaw.com>                                                                       litigation with W&C.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0009154            ROS-0009155       6/23/2017   Luke Christian                Richard Verri                                                                                       litigation between Quechan and California.

                                                                                                                                                                                       Withheld copy of draft document reflecting legal advice or attorney mental
                                                                                                                                                                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0009156            ROS-0009156       6/23/2017   Luke Christian                Richard Verri                                                                                       potential litigation between Quechan and California.

                                                                                                                                    Rich Corti <rcorti@rosettelaw.com>; Kyle Schinella
                                                     Robert Rosette                                                                 <kschinella@rosettelaw.com>; Christian Cienfuegos Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0003222            ROS-0003225       6/23/2017   <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>          <ccienfuegos@rosettelaw.com>                       and/or potential litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0005581            ROS-0005581       6/23/2017   <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>       Richard Verri <rverri@rosettelaw.com>              litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                Quechan Executive Secretary                      Robert Rosette <rosette@rosettelaw.com>; Richard regarding gaming compact negotiations, ratification, and/or potential
ROS-0005582            ROS-0005583       6/23/2017   <lchristian@rosettelaw.com>   <executivesecretary@quechantribe.com>            Verri <rverri@rosettelaw.com>                    litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                28

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                                                                                                                                                                                                                                                                       P0077
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22951 Page 30 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES   DATE                 FROM/AUTHOR                                   TO                                              CC                                                    PRIVILEGE DESCRIPTION

                                                     Quechan Executive Secretary                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                               Luke Christian <lchristian@rosettelaw.com>; Robert regarding gaming compact negotiations, ratification, and/or potential
ROS-0005584            ROS-0005585       6/23/2017   .com>                            Richard Verri <rverri@rosettelaw.com>         Rosette <rosette@rosettelaw.com>                   litigation between Quechan and California.
                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                      Richard Verri <rverri@rosettelaw.com>; Luke                                                       regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Robert Rosette                   Christian <lchristian@rosettelaw.com>; Saba                                                       statements about continued representation, and/or potential litigation with
ROS-0005598            ROS-0005603       6/23/2017   <rosette@rosettelaw.com>         Bazzazieh <sbazzazieh@rosettelaw.com>                                                             W&C.
                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                        regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Robert Rosette                                                                 Richard Verri <rverri@rosettelaw.com>; Saba         statements about continued representation, and/or potential litigation with
ROS-0005604            ROS-0005607       6/23/2017   <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>    Bazzazieh <sbazzazieh@rosettelaw.com>               W&C.
                                                     Quechan Executive Secretary                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe Robert Rosette <rosette@rosettelaw.com>;                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0005627            ROS-0005627       6/23/2017   .com>                            Richard Verri <rverri@rosettelaw.com>                                                             litigation between Quechan and California.

                                                     Quechan Executive Secretary                                                                                                        Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe Robert Rosette <rosette@rosettelaw.com>;                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005628            ROS-0005629       6/23/2017   .com>                            Richard Verri <rverri@rosettelaw.com>                                                             potential litigation between Quechan and California.
                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0009177            ROS-0009196       6/23/2017   Robert Rosette                   Willie White <w.white@quechantribe.com>                                                           litigation between Quechan and California.
                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                        regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Luke Christian                                                                 Rob Rosette <rosette@rosettelaw.com>; Saba          statements about continued representation, and/or potential litigation with
ROS-0006370            ROS-0006373       6/23/2017   <lchristian@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>         Bazzazieh <sbazzazieh@rosettelaw.com>               W&C.
                                                                                                                                                                                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                        regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Luke Christian                   executivesecretary@quechantribe.com           Richard Verri <RVerri@rosettelaw.com>; Rob          statements about continued representation, and/or potential litigation with
ROS-0006374            ROS-0006374       6/23/2017   <lchristian@rosettelaw.com>      <executivesecretary@quechantribe.com>         Rosette <rosette@rosettelaw.com>                    W&C.
                                                                                                                                                                                        Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                        impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                   executivesecretary@quechantribe.com           Richard Verri <RVerri@rosettelaw.com>; Rob          W&C’s false statements about continued representation, and/or potential
ROS-0006375            ROS-0006375       6/23/2017   <lchristian@rosettelaw.com>      <executivesecretary@quechantribe.com>         Rosette <rosette@rosettelaw.com>                    litigation with W&C.
                                                                                                                                                                                        Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                        impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                   executivesecretary@quechantribe.com           Richard Verri <RVerri@rosettelaw.com>; Rob          W&C’s false statements about continued representation, and/or potential
ROS-0006376            ROS-0006376       6/23/2017   <lchristian@rosettelaw.com>      <executivesecretary@quechantribe.com>         Rosette <rosette@rosettelaw.com>                    litigation with W&C.
                                                                                                                                                                                        Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                        impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Luke Christian                   executivesecretary@quechantribe.com           Richard Verri <RVerri@rosettelaw.com>; Rob          W&C’s false statements about continued representation, and/or potential
ROS-0006377            ROS-0006379       6/23/2017   <lchristian@rosettelaw.com>      <executivesecretary@quechantribe.com>         Rosette <rosette@rosettelaw.com>                    litigation with W&C.




ATTORNEYS' EYES ONLY                                                                                                   29

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                                                                                                                                                                                                                                                                        P0078
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22952 Page 31 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                   Rob Rosette <rosette@rosettelaw.com>; Chris                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                Deschene <cdeschene@rosettelaw.com>; Richard Rich Corti <RCorti@rosettelaw.com>; Kyle Schinella regarding gaming compact negotiations, ratification, and/or potential
ROS-0006393            ROS-0006394       6/23/2017   <sbazzazieh@rosettelaw.com>   Verri <RVerri@rosettelaw.com>                <KSchinella@rosettelaw.com>                        litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0006406            ROS-0006406       6/23/2017   <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>              litigation between Quechan and California.

                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                                      impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006407            ROS-0006408       6/23/2017   <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>              potential litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                   Richard Verri <RVerri@rosettelaw.com>; Luke                                                        regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Rob Rosette                   Christian <lchristian@rosettelaw.com>; Saba                                                        statements about continued representation, and/or potential litigation with
ROS-0006830            ROS-0006835       6/23/2017   <rosette@rosettelaw.com>      Bazzazieh <sbazzazieh@rosettelaw.com>                                                              W&C.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                      regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Rob Rosette                                                                   Richard Verri <RVerri@rosettelaw.com>; Saba        statements about continued representation, and/or potential litigation with
ROS-0006836            ROS-0006839       6/23/2017   <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>      Bazzazieh <sbazzazieh@rosettelaw.com>              W&C.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                      regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Richard Verri                 Rob Rosette <rosette@rosettelaw.com>; Luke      Luke Christian <lchristian@rosettelaw.com>; Saba   statements about continued representation, and/or potential litigation with
ROS-0007349            ROS-0007352       6/23/2017   <RVerri@rosettelaw.com>       Christian <lchristian@rosettelaw.com>           Bazzazieh <sbazzazieh@rosettelaw.com>              W&C.
                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rob Rosette <rosette@rosettelaw.com>; Luke      Luke Christian <lchristian@rosettelaw.com>; Saba   W&C’s false statements about continued representation, and/or potential
ROS-0007353            ROS-0007353       6/23/2017   <RVerri@rosettelaw.com>       Christian <lchristian@rosettelaw.com>           Bazzazieh <sbazzazieh@rosettelaw.com>              litigation with W&C.
                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rob Rosette <rosette@rosettelaw.com>; Luke      Luke Christian <lchristian@rosettelaw.com>; Saba   W&C’s false statements about continued representation, and/or potential
ROS-0007354            ROS-0007354       6/23/2017   <RVerri@rosettelaw.com>       Christian <lchristian@rosettelaw.com>           Bazzazieh <sbazzazieh@rosettelaw.com>              litigation with W&C.
                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Rob Rosette <rosette@rosettelaw.com>; Luke      Luke Christian <lchristian@rosettelaw.com>; Saba   W&C’s false statements about continued representation, and/or potential
ROS-0007355            ROS-0007355       6/23/2017   <RVerri@rosettelaw.com>       Christian <lchristian@rosettelaw.com>           Bazzazieh <sbazzazieh@rosettelaw.com>              litigation with W&C.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Richard Verri                 Quechan Executive Secretary                     Luke Christian <lchristian@rosettelaw.com>; Rob    regarding gaming compact negotiations, ratification, and/or potential
ROS-0007382            ROS-0007382       6/23/2017   <RVerri@rosettelaw.com>       <executivesecretary@quechantribe.com>           Rosette <rosette@rosettelaw.com>                   litigation between Quechan and California.

                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                 Quechan Executive Secretary                     Luke Christian <lchristian@rosettelaw.com>; Rob    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007383            ROS-0007383       6/23/2017   <RVerri@rosettelaw.com>       <executivesecretary@quechantribe.com>           Rosette <rosette@rosettelaw.com>                   potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                30

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22953 Page 32 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES   DATE                 FROM/AUTHOR                                   TO                                                CC                                                   PRIVILEGE DESCRIPTION

                                                     Quechan Executive Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Richard                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0007760            ROS-0007760       6/23/2017   .com>                            Verri <RVerri@rosettelaw.com>                                                                      litigation between Quechan and California.

                                                     Quechan Executive Secretary                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Richard                                                      impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007761            ROS-0007762       6/23/2017   .com>                            Verri <RVerri@rosettelaw.com>                                                                      potential litigation between Quechan and California.

                                                                                                                                      Rich Corti <RCorti@rosettelaw.com>; Kyle Schinella
                                                     Rob Rosette                                                                      <KSchinella@rosettelaw.com>; Christian Cienfuegos Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0007836            ROS-0007839       6/23/2017   <rosette@rosettelaw.com>         C Zamora <czamora@rosettelaw.com>               <ccienfuegos@rosettelaw.com>                       and/or potential litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                         regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Rob Rosette                                                                                                                         statements about continued representation, and/or potential litigation with
ROS-0008019            ROS-0008021       6/23/2017   <rosette@rosettelaw.com>         Willie White <w.white@quechantribe.com>                                                            W&C.
                                                                                                                                                                                         Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                                                                         impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Rob Rosette                                                                                                                         W&C’s false statements about continued representation, and/or potential
ROS-0008022            ROS-0008024       6/23/2017   <rosette@rosettelaw.com>         Willie White <w.white@quechantribe.com>                                                            litigation with W&C.
                                                     Quechan Executive Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Rob                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008034            ROS-0008034       6/23/2017   .com>                            Rosette <rosette@rosettelaw.com>                                                                   litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                         regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Richard Verri                                                                    Luke Christian <lchristian@rosettelaw.com>; Saba   statements about continued representation, and/or potential litigation with
ROS-0008058            ROS-0008061       6/23/2017   <RVerri@rosettelaw.com>          Rob Rosette <rosette@rosettelaw.com>            Bazzazieh <sbazzazieh@rosettelaw.com>              W&C.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                   Quechan Executive Secretary                     Rob Rosette <rosette@rosettelaw.com>; Richard      regarding gaming compact negotiations, ratification, and/or potential
ROS-0008072            ROS-0008073       6/23/2017   <lchristian@rosettelaw.com>      <executivesecretary@quechantribe.com>           Verri <RVerri@rosettelaw.com>                      litigation between Quechan and California.
                                                                                                                                      Marrianne Galli <MGalli@rosettelaw.com>;           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                      Christian Cienfuegos                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0008632            ROS-0008632       6/23/2017   <rosette@rosettelaw.com>         Richard Verri <RVerri@rosettelaw.com>           <ccienfuegos@rosettelaw.com>                       litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                         regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Richard Verri                    Quechan Executive Secretary                     Luke Christian <lchristian@rosettelaw.com>; Rob    statements about continued representation, and/or potential litigation with
ROS-0008681            ROS-0008682       6/23/2017   <RVerri@rosettelaw.com>          <executivesecretary@quechantribe.com>           Rosette <rosette@rosettelaw.com>                   W&C.
                                                     Quechan Executive Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                 Luke Christian <lchristian@rosettelaw.com>; Rob    regarding gaming compact negotiations, ratification, and/or potential
ROS-0008437            ROS-0008438       6/23/2017   .com>                            Richard Verri <RVerri@rosettelaw.com>           Rosette <rosette@rosettelaw.com>                   litigation between Quechan and California.
                                                     Quechan Executive Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Rob                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008807            ROS-0008807       6/23/2017   .com>                            Rosette <rosette@rosettelaw.com>                                                                   litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                  31

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22954 Page 33 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Quechan Executive Secretary                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Rob                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008808            ROS-0008808       6/23/2017   .com>                            Rosette <rosette@rosettelaw.com>                                                                   potential litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                      Marrianne Galli <MGalli@rosettelaw.com>; Rob                                                       regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     C Zamora                         Rosette <rosette@rosettelaw.com>; Leigh Wink   Richard Verri <RVerri@rosettelaw.com>; Christian    statements about continued representation, and/or potential litigation with
ROS-0008683            ROS-0008685       6/23/2017   <czamora@rosettelaw.com>         <LWink@rosettelaw.com>                         Cienfuegos <ccienfuegos@rosettelaw.com>             W&C.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Richard Verri                                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008686            ROS-0008687       6/23/2017   <RVerri@rosettelaw.com>          Rob Rosette <rosette@rosettelaw.com>                                                               litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0008789            ROS-0008789       6/23/2017   <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>                                                         litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                   Quechan Executive Secretary                                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0005586            ROS-0005587       6/24/2017   <rosette@rosettelaw.com>         <executivesecretary@quechantribe.com>          Richard Verri <rverri@rosettelaw.com>               litigation between Quechan and California.

                                                                                                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette                   Quechan Executive Secretary                                                                        impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005588            ROS-0005593       6/24/2017   <rosette@rosettelaw.com>         <executivesecretary@quechantribe.com>          Richard Verri <rverri@rosettelaw.com>               potential litigation between Quechan and California.
                                                                                                                                     Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                     Wink <LWink@rosettelaw.com>; Christian              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Richard Verri                    Saba Bazzazieh <sbazzazieh@rosettelaw.com>;    Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       regarding gaming compact negotiations, ratification, and/or potential
ROS-0006187            ROS-0006187       6/24/2017   <RVerri@rosettelaw.com>          Rob Rosette <rosette@rosettelaw.com>           Corti <RCorti@rosettelaw.com>                       litigation between Quechan and California.
                                                                                                                                     Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                     Wink <LWink@rosettelaw.com>; Christian              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                    Saba Bazzazieh <sbazzazieh@rosettelaw.com>;    Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006188            ROS-0006194       6/24/2017   <RVerri@rosettelaw.com>          Rob Rosette <rosette@rosettelaw.com>           Corti <RCorti@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                     Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                     Wink <LWink@rosettelaw.com>; Christian              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                    Saba Bazzazieh <sbazzazieh@rosettelaw.com>;    Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006195            ROS-0006199       6/24/2017   <RVerri@rosettelaw.com>          Rob Rosette <rosette@rosettelaw.com>           Corti <RCorti@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                     Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                     Wink <LWink@rosettelaw.com>; Christian              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                    Saba Bazzazieh <sbazzazieh@rosettelaw.com>;    Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006200            ROS-0006201       6/24/2017   <RVerri@rosettelaw.com>          Rob Rosette <rosette@rosettelaw.com>           Corti <RCorti@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                      Quechan Executive Secretary                                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0007578            ROS-0007579       6/24/2017   <rosette@rosettelaw.com>         <executivesecretary@quechantribe.com>          Richard Verri <RVerri@rosettelaw.com>               litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                   32

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Rob Rosette                   Quechan Executive Secretary                                                                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007580            ROS-0007585       6/24/2017   <rosette@rosettelaw.com>      <executivesecretary@quechantribe.com>           Richard Verri <RVerri@rosettelaw.com>               potential litigation between Quechan and California.
                                                                                                                                   Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                   Wink <LWink@rosettelaw.com>; Christian              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Richard Verri                 Saba Bazzazieh <sbazzazieh@rosettelaw.com>;     Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008690            ROS-0008690       6/24/2017   <RVerri@rosettelaw.com>       Rob Rosette <rosette@rosettelaw.com>            Corti <RCorti@rosettelaw.com>                       litigation between Quechan and California.
                                                                                                                                   Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                   Wink <LWink@rosettelaw.com>; Christian              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                 Saba Bazzazieh <sbazzazieh@rosettelaw.com>;     Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008691            ROS-0008695       6/24/2017   <RVerri@rosettelaw.com>       Rob Rosette <rosette@rosettelaw.com>            Corti <RCorti@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                   Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                   Wink <LWink@rosettelaw.com>; Christian              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                 Saba Bazzazieh <sbazzazieh@rosettelaw.com>;     Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008696            ROS-0008697       6/24/2017   <RVerri@rosettelaw.com>       Rob Rosette <rosette@rosettelaw.com>            Corti <RCorti@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                   Luke Christian <lchristian@rosettelaw.com>; Leigh
                                                                                                                                   Wink <LWink@rosettelaw.com>; Christian              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Richard Verri                 Saba Bazzazieh <sbazzazieh@rosettelaw.com>;     Cienfuegos <ccienfuegos@rosettelaw.com>; Rich       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008698            ROS-0008704       6/24/2017   <RVerri@rosettelaw.com>       Rob Rosette <rosette@rosettelaw.com>            Corti <RCorti@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>; Luke
                                                                                                                                   Christian <lchristian@rosettelaw.com>; Leigh Wink
                                                                                                                                   <LWink@rosettelaw.com>; Christian Cienfuegos      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                   <ccienfuegos@rosettelaw.com>; Rich Corti          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008788            ROS-0008788       6/24/2017   <rosette@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>           <RCorti@rosettelaw.com>                           litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                       regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Robert Rosette                                                                                                                    statements about continued representation, and/or potential litigation with
ROS-0005594            ROS-0005595       6/27/2017   <rosette@rosettelaw.com>      Richard Verri <rverri@rosettelaw.com>                                                               W&C.
                                                                                   Leigh Wink <LWink@rosettelaw.com>; Richard
                                                                                   Verri <RVerri@rosettelaw.com>; Luke Christian
                                                                                   <lchristian@rosettelaw.com>; Rich Corti                                                             Withheld copy of email requesting legal advice from counsel regarding
                                                     Saba Bazzazieh                <RCorti@rosettelaw.com>; Christian Cienfuegos                                                       gaming compact negotiations, ratification, and/or potential litigation
ROS-0006390            ROS-0006392       6/27/2017   <sbazzazieh@rosettelaw.com>   <ccienfuegos@rosettelaw.com>                    Rob Rosette <rosette@rosettelaw.com>                between Quechan and California.


                                                                                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                   Karrie Wichtman <kwichtman@rosettelaw.com>;     Rich Corti <RCorti@rosettelaw.com>; Kyle Schinella
                                                                                   Nicole St. Germain                              <KSchinella@rosettelaw.com>; Marrianne Galli       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   <NStGermain@rosettelaw.com>; Chris Deschene     <MGalli@rosettelaw.com>; Christian Cienfuegos      regarding gaming compact negotiations, ratification, and/or potential
ROS-0006426            ROS-0006427       6/27/2017   <rosette@rosettelaw.com>      <cdeschene@rosettelaw.com>                      <ccienfuegos@rosettelaw.com>                       litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                33

                                                                                                                                                                                                                                                                        Ex 5
                                                                                                                                                                                                                                                                       P0082
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22956 Page 35 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                   Karrie Wichtman <kwichtman@rosettelaw.com>;     Rich Corti <RCorti@rosettelaw.com>; Kyle Schinella
                                                                                   Nicole St. Germain                              <KSchinella@rosettelaw.com>; Marrianne Galli       Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                   <NStGermain@rosettelaw.com>; Chris Deschene     <MGalli@rosettelaw.com>; Christian Cienfuegos      impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006428            ROS-0006435       6/27/2017   <rosette@rosettelaw.com>      <cdeschene@rosettelaw.com>                      <ccienfuegos@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of attachment requesting legal advice from counsel regarding
                                                     Richard Verri                                                                                                                    gaming compact negotiations, ratification, and/or potential litigation
ROS-0007358            ROS-0007365       6/27/2017   <RVerri@rosettelaw.com>       Rob Rosette <rosette@rosettelaw.com>                                                               between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                      regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Richard Verri                 Luke Christian <lchristian@rosettelaw.com>; Rob                                                    statements about continued representation, and/or potential litigation with
ROS-0008044            ROS-0008045       6/27/2017   <RVerri@rosettelaw.com>       Rosette <rosette@rosettelaw.com>                Leigh Wink <LWink@rosettelaw.com>                  W&C.
                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                                      impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Richard Verri                 Luke Christian <lchristian@rosettelaw.com>; Rob                                                    W&C’s false statements about continued representation, and/or potential
ROS-0008046            ROS-0008048       6/27/2017   <RVerri@rosettelaw.com>       Rosette <rosette@rosettelaw.com>                Leigh Wink <LWink@rosettelaw.com>                  litigation with W&C.
                                                                                   Richard Verri <RVerri@rosettelaw.com>; Luke
                                                                                   Christian <lchristian@rosettelaw.com>; Rich Corti
                                                                                   <RCorti@rosettelaw.com>; Leigh Wink                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                <LWink@rosettelaw.com>; Christian Cienfuegos                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008062            ROS-0008063       6/27/2017   <sbazzazieh@rosettelaw.com>   <ccienfuegos@rosettelaw.com>                      Rob Rosette <rosette@rosettelaw.com>             litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email requesting legal advice from counsel regarding
                                                     Rob Rosette                                                                                                                      gaming compact negotiations, ratification, and/or potential litigation
ROS-0008646            ROS-0008647       6/27/2017   <rosette@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>                                                              between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Richard Verri                                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0008112            ROS-0008113       6/27/2017   <RVerri@rosettelaw.com>       Rob Rosette <rosette@rosettelaw.com>                                                               litigation between Quechan and California.
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rich
                                                                                   Corti <RCorti@rosettelaw.com>; Leigh Wink                                                          Withheld copy of email requesting legal advice from counsel regarding
                                                     Richard Verri                 <LWink@rosettelaw.com>; Christian Cienfuegos Rob Rosette <rosette@rosettelaw.com>; Saba            gaming compact negotiations, ratification, and/or potential litigation
ROS-0008114            ROS-0008115       6/27/2017   <RVerri@rosettelaw.com>       <ccienfuegos@rosettelaw.com>                     Bazzazieh <sbazzazieh@rosettelaw.com>             between Quechan and California.
                                                                                   Luke Christian <lchristian@rosettelaw.com>; Rich
                                                                                   Corti <RCorti@rosettelaw.com>; Leigh Wink                                                          Withheld copy of attachment requesting legal advice from counsel regarding
                                                     Richard Verri                 <LWink@rosettelaw.com>; Christian Cienfuegos Rob Rosette <rosette@rosettelaw.com>; Saba            gaming compact negotiations, ratification, and/or potential litigation
ROS-0008116            ROS-0008123       6/27/2017   <RVerri@rosettelaw.com>       <ccienfuegos@rosettelaw.com>                     Bazzazieh <sbazzazieh@rosettelaw.com>             between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0008775            ROS-0008777       6/27/2017   <rosette@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>                                                              litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                34

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                                                                                                                                                                                                                                                                      P0083
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                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                         regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Robert Rosette                                                                                                      statements about continued representation, and/or potential litigation with
ROS-0003266            ROS-0003266       6/28/2017   <rosette@rosettelaw.com>     Cecilia Zamora <czamora@rosettelaw.com>                                                W&C.
                                                                                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                         impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Robert Rosette                                                                                                      W&C’s false statements about continued representation, and/or potential
ROS-0003267            ROS-0003269       6/28/2017   <rosette@rosettelaw.com>     Cecilia Zamora <czamora@rosettelaw.com>                                                litigation with W&C.
                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                     Rob Rosette <rosette@rosettelaw.com>; Nicole                                           regarding gaming compact negotiations, ratification, and/or potential
ROS-0005661            ROS-0005661       6/28/2017   <czamora@rosettelaw.com>     St. Germain <NStGermain@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                     Rob Rosette <rosette@rosettelaw.com>; Nicole                                           impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005662            ROS-0005666       6/28/2017   <czamora@rosettelaw.com>     St. Germain <NStGermain@rosettelaw.com>                                                potential litigation between Quechan and California.

                                                                                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                     Rob Rosette <rosette@rosettelaw.com>; Nicole                                           impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005667            ROS-0005668       6/28/2017   <czamora@rosettelaw.com>     St. Germain <NStGermain@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                         regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Rob Rosette                                                                                                         statements about continued representation, and/or potential litigation with
ROS-0007586            ROS-0007586       6/28/2017   <rosette@rosettelaw.com>     C Zamora <czamora@rosettelaw.com>                                                      W&C.
                                                                                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                         impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Rob Rosette                                                                                                         W&C’s false statements about continued representation, and/or potential
ROS-0007587            ROS-0007589       6/28/2017   <rosette@rosettelaw.com>     C Zamora <czamora@rosettelaw.com>                                                      litigation with W&C.

                                                                                                                                                                         Withheld copy of email requesting legal advice from counsel regarding
                                                     Willie White                                                                Quechan Executive Secretary             W&C’s refusal to transmit client file to Quechan, W&C’s false statements
ROS-0008662            ROS-0008662       6/28/2017   <w.white@quechantribe.com>   Rob Rosette <rosette@rosettelaw.com>           <executivesecretary@quechantribe.com>   about continued representation, and/or potential litigation with W&C.

                                                                                                                                                                         Withheld copy of attachment requesting legal advice from counsel regarding
                                                     Willie White                                                                Quechan Executive Secretary             W&C’s refusal to transmit client file to Quechan, W&C’s false statements
ROS-0008663            ROS-0008665       6/28/2017   <w.white@quechantribe.com>   Rob Rosette <rosette@rosettelaw.com>           <executivesecretary@quechantribe.com>   about continued representation, and/or potential litigation with W&C.
                                                                                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0002888            ROS-0002889       6/29/2017   <rosette@rosettelaw.com>     Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette                                                                                                      impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002890            ROS-0002891       6/29/2017   <rosette@rosettelaw.com>     Cecilia Zamora <czamora@rosettelaw.com>                                                potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              35

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                                                                                                                                                                                                                                                         P0084
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22958 Page 37 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Robert Rosette                                                                                                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002892            ROS-0002896       6/29/2017   <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>                                                         potential litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                Quechan Executive Secretary                        regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Robert Rosette                                                             <executivesecretary@quechantribe.com>; Cecilia     statements about continued representation, and/or potential litigation with
ROS-0005071            ROS-0005071       6/29/2017   <rosette@rosettelaw.com>      Willie White <w.white@quechantribe.com>      Zamora <czamora@rosettelaw.com>                    W&C.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0006183            ROS-0006183       6/29/2017   <rosette@rosettelaw.com>      Saba Bazzazieh <sbazzazieh@rosettelaw.com>                                                      litigation between Quechan and California.
                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                Quechan Executive Secretary                     regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Rob Rosette                                                                <executivesecretary@quechantribe.com>; C Zamora statements about continued representation, and/or potential litigation with
ROS-0008666            ROS-0008666       6/29/2017   <rosette@rosettelaw.com>      Willie White <w.white@quechantribe.com>      <czamora@rosettelaw.com>                        W&C.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0008751            ROS-0008752       6/29/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                               litigation between Quechan and California.

                                                                                                                                                                                   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                                   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008753            ROS-0008757       6/29/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                               potential litigation between Quechan and California.

                                                                                                                                                                                   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                                   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008758            ROS-0008759       6/29/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                               potential litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Willie White                                                               j.joaquin@quechantribe.com                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0008806            ROS-0008806       6/29/2017   <w.white@quechantribe.com>    Rob Rosette <rosette@rosettelaw.com>         <j.joaquin@quechantribe.com>                       litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0005085            ROS-0005086       6/30/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>                                                         litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0006184            ROS-0006185       6/30/2017   <sbazzazieh@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                            litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                               36

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22959 Page 38 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                w.white@quechantribe.com                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0007590            ROS-0007590       6/30/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>                   Rob Rosette <rosette@rosettelaw.com>   litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Saba Bazzazieh                w.white@quechantribe.com                                                            impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007591            ROS-0007595       6/30/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>                                                          potential litigation between Quechan and California.
                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0007771            ROS-0007772       6/30/2017   <czamora@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>                                                litigation between Quechan and California.
                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                       regarding W&C’s refusal to transmit client file to Quechan, W&C’s false
                                                     Rob Rosette                   Quechan Executive Secretary                                                         statements about continued representation, and/or potential litigation with
ROS-0008008            ROS-0008008       6/30/2017   <rosette@rosettelaw.com>      <executivesecretary@quechantribe.com>                                               W&C.
                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                                                                                                                                       impressions regarding W&C’s refusal to transmit client file to Quechan,
                                                     Rob Rosette                   Quechan Executive Secretary                                                         W&C’s false statements about continued representation, and/or potential
ROS-0008009            ROS-0008010       6/30/2017   <rosette@rosettelaw.com>      <executivesecretary@quechantribe.com>                                               litigation with W&C.
                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008781            ROS-0008782       6/30/2017   <rosette@rosettelaw.com>      Saba Bazzazieh <sbazzazieh@rosettelaw.com>                                          litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              37

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                                                                                                                                                                                                                                                       P0086
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22960 Page 39 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                     Rob Rosette                                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008783            ROS-0008784       6/30/2017   <rosette@rosettelaw.com>         Saba Bazzazieh <sbazzazieh@rosettelaw.com>                                                       litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0002506            ROS-0002508       7/5/2017    <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>    Cecilia Zamora <czamora@rosettelaw.com>            litigation between Quechan and California.

                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette                                                                                                                    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002509            ROS-0002661       7/5/2017    <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>    Cecilia Zamora <czamora@rosettelaw.com>            potential litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0002662            ROS-0002663       7/5/2017    <czamora@rosettelaw.com>         Robert Rosette <rosette@rosettelaw.com>                                                          litigation between Quechan and California.

                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                                                                                                                    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002664            ROS-0002816       7/5/2017    <czamora@rosettelaw.com>         Robert Rosette <rosette@rosettelaw.com>                                                          potential litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                 Robert Rosette <rosette@rosettelaw.com>; Cecilia   regarding gaming compact negotiations, ratification, and/or potential
ROS-0003982            ROS-0003984       7/5/2017    <lchristian@rosettelaw.com>      Richard Verri <rverri@rosettelaw.com>         Zamora <czamora@rosettelaw.com>                    litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                   Cecilia Zamora <czamora@rosettelaw.com>;                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0003985            ROS-0003986       7/5/2017    <lchristian@rosettelaw.com>      Richard Verri <rverri@rosettelaw.com>         Robert Rosette <rosette@rosettelaw.com>            litigation between Quechan and California.

                                                                                                                                                                                       Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                   Cecilia Zamora <czamora@rosettelaw.com>;                                                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003987            ROS-0003990       7/5/2017    <lchristian@rosettelaw.com>      Richard Verri <rverri@rosettelaw.com>         Robert Rosette <rosette@rosettelaw.com>            potential litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0003991            ROS-0003993       7/5/2017    <lchristian@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>       Cecilia Zamora <czamora@rosettelaw.com>            litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0003994            ROS-0003996       7/5/2017    <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>    Cecilia Zamora <czamora@rosettelaw.com>            litigation between Quechan and California.
                                                                                                                                                                                       Withheld copy of email requesting legal advice from counsel regarding
                                                     Cecilia Zamora                   Luke Christian <lchristian@rosettelaw.com>;                                                      gaming compact negotiations, ratification, and/or potential litigation
ROS-0004026            ROS-0004026       7/5/2017    <czamora@rosettelaw.com>         Richard Verri <rverri@rosettelaw.com>         Robert Rosette <rosette@rosettelaw.com>            between Quechan and California.
                                                     Quechan Executive Secretary                                                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe Robert Rosette <rosette@rosettelaw.com>;                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0005426            ROS-0005427       7/5/2017    .com>                            Richard Verri <rverri@rosettelaw.com>                                                            litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    38

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                                                                                                                                                                                                                                                                       P0087
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22961 Page 40 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Quechan Executive Secretary                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe Robert Rosette <rosette@rosettelaw.com>;                                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005428            ROS-0005580       7/5/2017    .com>                            Richard Verri <rverri@rosettelaw.com>                                                          potential litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email requesting legal advice from counsel regarding
                                                     Richard Verri                                                                                                                   gaming compact negotiations, ratification, and/or potential litigation
ROS-0005671            ROS-0005672       7/5/2017    <RVerri@rosettelaw.com>          Luke Christian <lchristian@rosettelaw.com>    Rob Rosette <rosette@rosettelaw.com>             between Quechan and California.
                                                                                                                                                                                     Withheld copy of attachment requesting legal advice from counsel regarding
                                                     Richard Verri                                                                                                                   gaming compact negotiations, ratification, and/or potential litigation
ROS-0005673            ROS-0005825       7/5/2017    <RVerri@rosettelaw.com>          Luke Christian <lchristian@rosettelaw.com>    Rob Rosette <rosette@rosettelaw.com>             between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                 Rob Rosette <rosette@rosettelaw.com>; C Zamora   regarding gaming compact negotiations, ratification, and/or potential
ROS-0005826            ROS-0005828       7/5/2017    <lchristian@rosettelaw.com>      Richard Verri <RVerri@rosettelaw.com>         <czamora@rosettelaw.com>                         litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0006674            ROS-0006676       7/5/2017    <rosette@rosettelaw.com>         Saba Bazzazieh <sbazzazieh@rosettelaw.com>                                                     litigation between Quechan and California.

                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                                     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006677            ROS-0006829       7/5/2017    <rosette@rosettelaw.com>         Saba Bazzazieh <sbazzazieh@rosettelaw.com>                                                     potential litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                   C Zamora <czamora@rosettelaw.com>; Richard                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0007376            ROS-0007377       7/5/2017    <lchristian@rosettelaw.com>      Verri <RVerri@rosettelaw.com>                 Rob Rosette <rosette@rosettelaw.com>             litigation between Quechan and California.

                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                   C Zamora <czamora@rosettelaw.com>; Richard                                                     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007378            ROS-0007381       7/5/2017    <lchristian@rosettelaw.com>      Verri <RVerri@rosettelaw.com>                 Rob Rosette <rosette@rosettelaw.com>             potential litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0007416            ROS-0007418       7/5/2017    <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>    C Zamora <czamora@rosettelaw.com>                litigation between Quechan and California.

                                                                                                                                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                                     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007419            ROS-0007571       7/5/2017    <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>    C Zamora <czamora@rosettelaw.com>                potential litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                         Luke Christian <lchristian@rosettelaw.com>;                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0007773            ROS-0007773       7/5/2017    <czamora@rosettelaw.com>         Richard Verri <RVerri@rosettelaw.com>         Rob Rosette <rosette@rosettelaw.com>             litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                                                                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0008069            ROS-0008071       7/5/2017    <sbazzazieh@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>                                                           litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    39

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22962 Page 41 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     C Zamora                                                                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0008124            ROS-0008125       7/5/2017    <czamora@rosettelaw.com>         Rob Rosette <rosette@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                                                                                                             impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008126            ROS-0008278       7/5/2017    <czamora@rosettelaw.com>         Rob Rosette <rosette@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008279            ROS-0008281       7/5/2017    <lchristian@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>            C Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                     Quechan Executive Secretary                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Richard                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008282            ROS-0008283       7/5/2017    .com>                            Verri <RVerri@rosettelaw.com>                                                       litigation between Quechan and California.

                                                     Quechan Executive Secretary                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe Rob Rosette <rosette@rosettelaw.com>; Richard                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008284            ROS-0008436       7/5/2017    .com>                            Verri <RVerri@rosettelaw.com>                                                       potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008767            ROS-0008769       7/5/2017    <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0003471            ROS-0003472       7/7/2017    <czamora@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>                                          litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                   Robert Rosette <rosette@rosettelaw.com>; Luke                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0003632            ROS-0003632       7/7/2017    <czamora@rosettelaw.com>         Christian <lchristian@rosettelaw.com>                                               litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                   Robert Rosette <rosette@rosettelaw.com>; Luke                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003633            ROS-0003785       7/7/2017    <czamora@rosettelaw.com>         Christian <lchristian@rosettelaw.com>                                               potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0003997            ROS-0004000       7/7/2017    <lchristian@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.

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                                                     Luke Christian                                                                                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004001            ROS-0004025       7/7/2017    <lchristian@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>                                             potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004254            ROS-0004255       7/7/2017    <lchristian@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                   40

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22963 Page 42 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Luke Christian                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004256            ROS-0004257       7/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                   potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0004258            ROS-0004259       7/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                   litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004260            ROS-0004413       7/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                   potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email requesting legal advice from counsel regarding
                                                     Luke Christian                                                                                          gaming compact negotiations, ratification, and/or potential litigation
ROS-0004414            ROS-0004416       7/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                   between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0004417            ROS-0004419       7/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                   litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004420            ROS-0004573       7/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                   potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0004574            ROS-0004577       7/7/2017    <czamora@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>                                litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      Rob Rosette <rosette@rosettelaw.com>; Luke                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0006438            ROS-0006438       7/7/2017    <czamora@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                     litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                      Rob Rosette <rosette@rosettelaw.com>; Luke                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006439            ROS-0006592       7/7/2017    <czamora@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                     potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                41

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22964 Page 43 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                w.white@quechantribe.com                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0008785            ROS-0008786       7/8/2017    <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>                    Rob Rosette <rosette@rosettelaw.com>   litigation between Quechan and California.

                                                     Rob Rosette                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>;                                          Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0006672            ROS-0006673       7/12/2017   <rosette@rosettelaw.com>      Jay Weiner <jdw9697@yahoo.com>                                                       and/or potential litigation between Quechan and California.




                                                                                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>; Rob
                                                                                   Rosette <rosette@rosettelaw.com>; Chris
                                                                                   Deschene <cdeschene@rosettelaw.com>; Jay
                                                                                   Weiner <jdw9697@yahoo.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                w.white@quechantribe.com                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0008670            ROS-0008670       7/12/2017   <rosette@rosettelaw.com>      <w.white@quechantribe.com>                                                           litigation between Quechan and California.

                                                     Robert Rosette                                                                                                     Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0004601            ROS-0004602       7/17/2017   <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>                                              and/or potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                               42

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Rob Rosette                                                                                                  gaming compact negotiations, ratification, and/or potential litigation
ROS-0006404            ROS-0006405       7/17/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                              between Quechan and California.
                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0003473            ROS-0003473       7/18/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>                                        litigation between Quechan and California.

                                                                                                                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                                                                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003474            ROS-0003626       7/18/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>                                        potential litigation between Quechan and California.
                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0005829            ROS-0005829       7/18/2017   <czamora@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>                                           litigation between Quechan and California.

                                                                                                                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                                                                                                     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005830            ROS-0005983       7/18/2017   <czamora@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>                                           potential litigation between Quechan and California.
                                                                                   Katelin Anderbery                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                <kanderbery@rosettelaw.com>; Rob Rosette                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0007390            ROS-0007391       7/18/2017   <sbazzazieh@rosettelaw.com>   <rosette@rosettelaw.com>                                                       litigation between Quechan and California.
                                                                                   Katelin Anderbery                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                <kanderbery@rosettelaw.com>; Rob Rosette                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008074            ROS-0008075       7/18/2017   <sbazzazieh@rosettelaw.com>   <rosette@rosettelaw.com>                                                       litigation between Quechan and California.
                                                                                                                                                                  Redaction copy of email reflecting legal advice or attorney mental
                                                                                   tribalsecretary@quechantribe.com                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008035            ROS-0008035       7/20/2017   Microsoft Outlook             <tribalsecretary@quechantribe.com>                                             potential litigation between Quechan and California.
                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   tribalsecretary@quechantribe.com.                                              regarding gaming compact negotiations, ratification, and/or potential
ROS-0008036            ROS-0008038       7/20/2017   <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com.>        Leigh Wink <LWink@rosettelaw.com>   litigation between Quechan and California.

                                                                                                                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                   tribalsecretary@quechantribe.com.                                              impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008039            ROS-0008043       7/20/2017   <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com.>        Leigh Wink <LWink@rosettelaw.com>   potential litigation between Quechan and California.
                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   tribalsecretary@quechantribe.com                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0008673            ROS-0008675       7/20/2017   <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com>         Leigh Wink <LWink@rosettelaw.com>   litigation between Quechan and California.

                                                                                                                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                   tribalsecretary@quechantribe.com                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008676            ROS-0008680       7/20/2017   <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com>         Leigh Wink <LWink@rosettelaw.com>   potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                               43

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>; Katelin Anderbery                                                   Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Rob Rosette                <kanderbery@rosettelaw.com>; Jonathon         Saba Bazzazieh <sbazzazieh@rosettelaw.com>; Jay   compact negotiations, ratification, and/or potential litigation between
ROS-0008976            ROS-0008977       7/20/2017   <rosette@rosettelaw.com>   Sanchez <JSanchez@rosettelaw.com>             Weiner <jweiner@rosettelaw.com>                   Quechan and California.


                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>; Katelin Anderbery                                                   Withheld copy of attachment providing legal advice from counsel regarding
                                                     Rob Rosette                <kanderbery@rosettelaw.com>; Jonathon         Saba Bazzazieh <sbazzazieh@rosettelaw.com>; Jay   gaming compact negotiations, ratification, and/or potential litigation
ROS-0008978            ROS-0008982       7/20/2017   <rosette@rosettelaw.com>   Sanchez <JSanchez@rosettelaw.com>             Weiner <jweiner@rosettelaw.com>                   between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                            44

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             tribalsecretary@quechantribe.com         Cecilia Zamora <czamora@rosettelaw.com>; Luke   regarding gaming compact negotiations, ratification, and/or potential
ROS-0003464            ROS-0003464       7/21/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>       Christian <lchristian@rosettelaw.com>           litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                tribalsecretary@quechantribe.com         C Zamora <czamora@rosettelaw.com>; Luke         regarding gaming compact negotiations, ratification, and/or potential
ROS-0008032            ROS-0008032       7/21/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>       Christian <lchristian@rosettelaw.com>           litigation between Quechan and California.
                                                                                                                                                                         Withheld copy of draft email reflecting legal advice or attorney mental
                                                                                tribalsecretary@quechantribe.com                                                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008973            ROS-0008975       7/21/2017   Rob Rosette                <tribalsecretary@quechantribe.com>       Leigh Wink <LWink@rosettelaw.com>               potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                            45

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                                                                                executivesecretary@quechantribe.com;
                                                                                vicepresident@quechantribe.com;
                                                                                l.white@quechantribe.com;
                                                                                j.joaquin@quechantribe.com;
                                                                                a.brown@quechantribe.com;
                                                                                m.hill@quechantribe.com;                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                w.white@quechantribe.com;                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0009147            ROS-0009147       7/23/2017   Robert Rosette             tribalsecretary@quechantribe.com         Cecilia Zamora; Luke Christian                  litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             tribalsecretary@quechantribe.com         Cecilia Zamora <czamora@rosettelaw.com>; Luke   regarding gaming compact negotiations, ratification, and/or potential
ROS-0002192            ROS-0002192       7/23/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>       Christian <lchristian@rosettelaw.com>           litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette             tribalsecretary@quechantribe.com         Cecilia Zamora <czamora@rosettelaw.com>; Luke   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002193            ROS-0002345       7/23/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>       Christian <lchristian@rosettelaw.com>           potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                           46

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                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>;                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   tribalsecretary@quechantribe.com          C Zamora <czamora@rosettelaw.com>; Luke      regarding gaming compact negotiations, ratification, and/or potential
ROS-0007596            ROS-0007596       7/23/2017   <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com>        Christian <lchristian@rosettelaw.com>        litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>;                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                   tribalsecretary@quechantribe.com          C Zamora <czamora@rosettelaw.com>; Luke      impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007597            ROS-0007750       7/23/2017   <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com>        Christian <lchristian@rosettelaw.com>        potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004677            ROS-0004679       7/28/2017   <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004680            ROS-0004683       7/28/2017   <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004684            ROS-0004684       7/28/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                               47

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                                                     Rob Rosette                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008770            ROS-0008772       7/28/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004671            ROS-0004672       7/31/2017   <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004673            ROS-0004674       7/31/2017   <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004675            ROS-0004676       7/31/2017   <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004685            ROS-0004686       7/31/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                                                                                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004687            ROS-0004688       7/31/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>   potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0006409            ROS-0006411       7/31/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                      litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006412            ROS-0006412       7/31/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                      potential litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006413            ROS-0006413       7/31/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                      potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008773            ROS-0008774       7/31/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                   executivesecretary@quechantribe.com;
                                                                                   vicepresident@quechantribe.com;
                                                                                   l.white@quechantribe.com;
                                                                                   j.joaquin@quechantribe.com;
                                                                                   a.brown@quechantribe.com;
                                                                                   m.hill@quechantribe.com;                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                   w.white@quechantribe.com;                                                              regarding gaming compact negotiations, ratification, and/or potential
ROS-0009148            ROS-0009148       8/1/2017    Robert Rosette                tribalsecretary@quechantribe.com          Cecilia Zamora; Luke Christian               litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                               48

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22971 Page 50 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             tribalsecretary@quechantribe.com              Cecilia Zamora <czamora@rosettelaw.com>; Luke   regarding gaming compact negotiations, ratification, and/or potential
ROS-0002346            ROS-0002346       8/2/2017    <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>            Christian <lchristian@rosettelaw.com>           litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                                   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette             tribalsecretary@quechantribe.com              Cecilia Zamora <czamora@rosettelaw.com>; Luke   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002347            ROS-0002347       8/2/2017    <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>            Christian <lchristian@rosettelaw.com>           potential litigation between Quechan and California.
                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                           regarding gaming compact negotiations, ratification, and/or potential
ROS-0002351            ROS-0002351       8/2/2017    <rosette@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>       Luke Christian <lchristian@rosettelaw.com>      litigation between Quechan and California.

                                                                                                                                                                              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette                                                                                                           impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002352            ROS-0002352       8/2/2017    <rosette@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>       Luke Christian <lchristian@rosettelaw.com>      potential litigation between Quechan and California.
                                                                                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             Luke Christian <lchristian@rosettelaw.com>;                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0002900            ROS-0002904       8/2/2017    <rosette@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                       litigation between Quechan and California.




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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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ROS-0002905            ROS-0003058       8/2/2017    <rosette@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                          potential litigation between Quechan and California.

                                                                                     executivesecretary@quechantribe.com
                                                                                     <executivesecretary@quechantribe.com>;
                                                                                     vicepresident@quechantribe.com
                                                                                     <vicepresident@quechantribe.com>;
                                                                                     l.white@quechantribe.com
                                                                                     <l.white@quechantribe.com>;
                                                                                     j.joaquin@quechantribe.com
                                                                                     <j.joaquin@quechantribe.com>;
                                                                                     a.brown@quechantribe.com
                                                                                     <a.brown@quechantribe.com>;
                                                                                     m.hill@quechantribe.com
                                                                                     <m.hill@quechantribe.com>;
                                                                                     w.white@quechantribe.com
                                                                                     <w.white@quechantribe.com>;                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                  tribalsecretary@quechantribe.com              Cecilia Zamora <czamora@rosettelaw.com>; Luke      regarding gaming compact negotiations, ratification, and/or potential
ROS-0004046            ROS-0004047       8/2/2017    <rosette@rosettelaw.com>        <tribalsecretary@quechantribe.com>            Christian <lchristian@rosettelaw.com>              litigation between Quechan and California.

                                                                                                                                   w.white@quechantribe.com
                                                                                                                                   <w.white@quechantribe.com>; Luke Christian
                                                                                                                                   <lchristian@rosettelaw.com>;
                                                                                                                                   l.white@quechantribe.com
                                                                                                                                   <l.white@quechantribe.com>;
                                                                                                                                   a.brown@quechantribe.com
                                                                                                                                   <a.brown@quechantribe.com>;
                                                                                                                                   tribalsecretary@quechantribe.com
                                                                                                                                   <tribalsecretary@quechantribe.com>;
                                                                                                                                   m.hill@quechantribe.com
                                                                                                                                   <m.hill@quechantribe.com>;
                                                                                                                                   vicepresident@quechantribe.com
                                                                                                                                   <vicepresident@quechantribe.com>; Cecilia Zamora
                                                     Quechan Executive Secretary                                                   <czamora@rosettelaw.com>;                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe rosette@rosettelaw.com                       j.joaquin@quechantribe.com                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004048            ROS-0004050       8/2/2017    .com>                            <rosette@rosettelaw.com>                     <j.joaquin@quechantribe.com>                     litigation between Quechan and California.




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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22973 Page 52 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                                                                w.white@quechantribe.com
                                                                                                                                <w.white@quechantribe.com>; Luke Christian
                                                                                                                                <lchristian@rosettelaw.com>;
                                                                                                                                l.white@quechantribe.com
                                                                                                                                <l.white@quechantribe.com>;
                                                                                                                                a.brown@quechantribe.com
                                                                                                                                <a.brown@quechantribe.com>;
                                                                                                                                tribalsecretary@quechantribe.com
                                                                                                                                <tribalsecretary@quechantribe.com>;
                                                                                                                                m.hill@quechantribe.com
                                                                                                                                <m.hill@quechantribe.com>;
                                                                                                                                vicepresident@quechantribe.com
                                                                                                                                <vicepresident@quechantribe.com>; Cecilia Zamora
                                                                                                                                <czamora@rosettelaw.com>;                        Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             Quechan Executive Secretary                     j.joaquin@quechantribe.com                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004051            ROS-0004053       8/2/2017    <rosette@rosettelaw.com>   <executivesecretary@quechantribe.com>           <j.joaquin@quechantribe.com>                     litigation between Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             Quechan Vice President Smith                    Luke Christian <lchristian@rosettelaw.com>; Cecilia regarding gaming compact negotiations, ratification, and/or potential
ROS-0004054            ROS-0004056       8/2/2017    <rosette@rosettelaw.com>   <vicepresident@quechantribe.com>                Zamora <czamora@rosettelaw.com>                     litigation between Quechan and California.

                                                                                                                                                                                    Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Robert Rosette             Quechan Vice President Smith                    Luke Christian <lchristian@rosettelaw.com>; Cecilia impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004057            ROS-0004057       8/2/2017    <rosette@rosettelaw.com>   <vicepresident@quechantribe.com>                Zamora <czamora@rosettelaw.com>                     potential litigation between Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora             Robert Rosette <rosette@rosettelaw.com>; Luke                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0005087            ROS-0005087       8/2/2017    <czamora@rosettelaw.com>   Christian <lchristian@rosettelaw.com>                                                               litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                tribalsecretary@quechantribe.com                C Zamora <czamora@rosettelaw.com>; Luke             regarding gaming compact negotiations, ratification, and/or potential
ROS-0006172            ROS-0006172       8/2/2017    <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>              Christian <lchristian@rosettelaw.com>               litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                            51

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22974 Page 53 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                                     Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                tribalsecretary@quechantribe.com                C Zamora <czamora@rosettelaw.com>; Luke         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006173            ROS-0006173       8/2/2017    <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>              Christian <lchristian@rosettelaw.com>           potential litigation between Quechan and California.
                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                Quechan Vice President Smith                    Luke Christian <lchristian@rosettelaw.com>; C   regarding gaming compact negotiations, ratification, and/or potential
ROS-0006174            ROS-0006176       8/2/2017    <rosette@rosettelaw.com>   <vicepresident@quechantribe.com>                Zamora <czamora@rosettelaw.com>                 litigation between Quechan and California.

                                                                                                                                                                                Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                Quechan Vice President Smith                    Luke Christian <lchristian@rosettelaw.com>; C   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006177            ROS-0006177       8/2/2017    <rosette@rosettelaw.com>   <vicepresident@quechantribe.com>                Zamora <czamora@rosettelaw.com>                 potential litigation between Quechan and California.
                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                Quechan Executive Secretary                                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0006178            ROS-0006181       8/2/2017    <rosette@rosettelaw.com>   <executivesecretary@quechantribe.com>                                                           litigation between Quechan and California.
                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                Luke Christian <lchristian@rosettelaw.com>; C                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0007167            ROS-0007171       8/2/2017    <rosette@rosettelaw.com>   Zamora <czamora@rosettelaw.com>                                                                 litigation between Quechan and California.

                                                                                                                                                                                Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                Luke Christian <lchristian@rosettelaw.com>; C                                                   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007172            ROS-0007325       8/2/2017    <rosette@rosettelaw.com>   Zamora <czamora@rosettelaw.com>                                                                 potential litigation between Quechan and California.
                                                                                                                                                                                Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0008014            ROS-0008014       8/2/2017    <rosette@rosettelaw.com>   C Zamora <czamora@rosettelaw.com>               Luke Christian <lchristian@rosettelaw.com>      litigation between Quechan and California.

                                                                                                                                                                                Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008015            ROS-0008015       8/2/2017    <rosette@rosettelaw.com>   C Zamora <czamora@rosettelaw.com>               Luke Christian <lchristian@rosettelaw.com>      potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              52

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                                                                                                                             w.white@quechantribe.com
                                                                                                                             <w.white@quechantribe.com>; Luke Christian
                                                                                                                             <lchristian@rosettelaw.com>;
                                                                                                                             l.white@quechantribe.com
                                                                                                                             <l.white@quechantribe.com>;
                                                                                                                             a.brown@quechantribe.com
                                                                                                                             <a.brown@quechantribe.com>;
                                                                                                                             tribalsecretary@quechantribe.com
                                                                                                                             <tribalsecretary@quechantribe.com>;
                                                                                                                             m.hill@quechantribe.com
                                                                                                                             <m.hill@quechantribe.com>;
                                                                                                                             vicepresident@quechantribe.com
                                                                                                                             <vicepresident@quechantribe.com>; C Zamora
                                                                                                                             <czamora@rosettelaw.com>;                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                Quechan Executive Secretary                  j.joaquin@quechantribe.com                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0008025            ROS-0008027       8/2/2017    <rosette@rosettelaw.com>   <executivesecretary@quechantribe.com>        <j.joaquin@quechantribe.com>                 litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                Quechan Vice President Smith                                                              regarding gaming compact negotiations, ratification, and/or potential
ROS-0008028            ROS-0008031       8/2/2017    <rosette@rosettelaw.com>   <vicepresident@quechantribe.com>                                                          litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                tribalsecretary@quechantribe.com             C Zamora <czamora@rosettelaw.com>; Luke      regarding gaming compact negotiations, ratification, and/or potential
ROS-0008657            ROS-0008658       8/2/2017    <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>           Christian <lchristian@rosettelaw.com>        litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008796            ROS-0008801       8/2/2017    <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008802            ROS-0008804       8/2/2017    <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>                                                potential litigation between Quechan and California.




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ROS-0002011            ROS-0002017       8/2/2017    Robert Rosette                     Luke Christian                                                                                      between Quechan and California.

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ROS-0008983            ROS-0009138       8/3/2017                                                                                                                                           potential litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                     Luke Christian <lchristian@rosettelaw.com>;                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0003274            ROS-0003281       8/3/2017    <rosette@rosettelaw.com>           Cecilia Zamora <czamora@rosettelaw.com>                                                             litigation between Quechan and California.
                                                                                                                                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     tribalsecretary@quechantribe.com                Luke Christian <lchristian@rosettelaw.com>; Robert regarding gaming compact negotiations, ratification, and/or potential
ROS-0003786            ROS-0003786       8/3/2017    <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>              Rosette <rosette@rosettelaw.com>                   litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004058            ROS-0004060       8/3/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                             litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004061            ROS-0004063       8/3/2017    <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                                  litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                     Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004711            ROS-0004712       8/3/2017    <rosette@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                               litigation between Quechan and California.
                                                                                                                                        tribalsecretary@quechantribe.com
                                                                                                                                        <tribalsecretary@quechantribe.com>; Luke            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     c.choate@quechantribe.com                       Christian <lchristian@rosettelaw.com>; Robert       regarding gaming compact negotiations, ratification, and/or potential
ROS-0005072            ROS-0005072       8/3/2017    <czamora@rosettelaw.com>           <c.choate@quechantribe.com>                     Rosette <rosette@rosettelaw.com>                    litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                        C Zamora <czamora@rosettelaw.com>; Luke                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0007576            ROS-0007577       8/3/2017    <rosette@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                               litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                        Luke Christian <lchristian@rosettelaw.com>; C                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008648            ROS-0008655       8/3/2017    <rosette@rosettelaw.com>           Zamora <czamora@rosettelaw.com>                                                                     litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0004700            ROS-0004701       8/4/2017    <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                             litigation between Quechan and California.

                                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                                                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004702            ROS-0004703       8/4/2017    <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                             potential litigation between Quechan and California.
                                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0004704            ROS-0004704       8/4/2017    <rosette@rosettelaw.com>           Cecilia Zamora <czamora@rosettelaw.com>                                                             litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                      54

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22977 Page 56 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                                                   Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Cecilia Zamora                                                                                                                compact negotiations, ratification, and/or potential litigation between
ROS-0005081            ROS-0005081       8/4/2017    <czamora@rosettelaw.com>       Robert Rosette <rosette@rosettelaw.com>                                                        Quechan and California.
                                                                                                                                                                                   Withheld copy of attachment providing legal advice from counsel regarding
                                                     Cecilia Zamora                                                                                                                gaming compact negotiations, ratification, and/or potential litigation
ROS-0005082            ROS-0005082       8/4/2017    <czamora@rosettelaw.com>       Robert Rosette <rosette@rosettelaw.com>                                                        between Quechan and California.
                                                                                    Marrianne Galli <MGalli@rosettelaw.com>; C
                                                                                    Zamora <czamora@rosettelaw.com>; Luke
                                                     Marrianne Galli                Christian <lchristian@rosettelaw.com>; Rob                                                     Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0006186            ROS-0006186       8/4/2017    <rosette@rosettelaw.com>       Rosette <rosette@rosettelaw.com>                                                               and/or potential litigation between Quechan and California.
                                                                                    Marrianne Galli <MGalli@rosettelaw.com>; C
                                                     Marrianne Galli                Zamora <czamora@rosettelaw.com>; Rob Rosette                                                   Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0008787            ROS-0008787       8/4/2017    <rosette@rosettelaw.com>       <rosette@rosettelaw.com>                                                                       and/or potential litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0008805            ROS-0008805       8/4/2017    <rosette@rosettelaw.com>       C Zamora <czamora@rosettelaw.com>                                                              litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0009149            ROS-0009153       8/7/2017    Luke Christian                 Robert Rosette; Cecilia Zamora                                                                 litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Brian Golding                                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004689            ROS-0004690       8/7/2017    <b.golding@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>         'Luke Christian' <lchristian@rosettelaw.com>   litigation between Quechan and California.

                                                                                                                                                                                   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Brian Golding                                                                                                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004691            ROS-0004691       8/7/2017    <b.golding@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>         'Luke Christian' <lchristian@rosettelaw.com>   potential litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Brian Golding                                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004692            ROS-0004693       8/7/2017    <b.golding@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>         'Luke Christian' <lchristian@rosettelaw.com>   litigation between Quechan and California.

                                                                                                                                                                                   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Brian Golding                                                                                                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004694            ROS-0004695       8/7/2017    <b.golding@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>         'Luke Christian' <lchristian@rosettelaw.com>   potential litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                 b.golding@quechantribe.com                                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0004696            ROS-0004697       8/7/2017    <czamora@rosettelaw.com>       <b.golding@quechantribe.com>                    Luke Christian <lchristian@rosettelaw.com>     litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0004698            ROS-0004698       8/7/2017    <czamora@rosettelaw.com>       Brian Golding <b.golding@quechantribe.com>      Luke Christian <lchristian@rosettelaw.com>     litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                 Robert Rosette <rosette@rosettelaw.com>; Luke                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0005088            ROS-0005089       8/7/2017    <czamora@rosettelaw.com>       Christian <lchristian@rosettelaw.com>                                                          litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                 55

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                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     C Zamora                      Rob Rosette <rosette@rosettelaw.com>; Luke                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0007787            ROS-0007788       8/7/2017    <czamora@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                  litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                Robert Rosette <rosette@rosettelaw.com>;                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0003292            ROS-0003294       8/8/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                Robert Rosette <rosette@rosettelaw.com>;                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003295            ROS-0003295       8/8/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                potential litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                Robert Rosette <rosette@rosettelaw.com>;                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003296            ROS-0003452       8/8/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                Cecilia Zamora <czamora@rosettelaw.com>;                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0004713            ROS-0004715       8/8/2017    <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                Cecilia Zamora <czamora@rosettelaw.com>;                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004716            ROS-0004872       8/8/2017    <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004873            ROS-0004875       8/8/2017    <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004876            ROS-0004878       8/8/2017    <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0006167            ROS-0006169       8/8/2017    <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>   C Zamora <czamora@rosettelaw.com>         litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                C Zamora <czamora@rosettelaw.com>; Rob                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0006202            ROS-0006204       8/8/2017    <lchristian@rosettelaw.com>   Rosette <rosette@rosettelaw.com>                                                       litigation between Quechan and California.

                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                C Zamora <czamora@rosettelaw.com>; Rob                                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006205            ROS-0006361       8/8/2017    <lchristian@rosettelaw.com>   Rosette <rosette@rosettelaw.com>                                                       potential litigation between Quechan and California.
                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008809            ROS-0008811       8/8/2017    <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>         C Zamora <czamora@rosettelaw.com>         litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                56

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                                                                                                                                                                                                                                                          P0105
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22979 Page 58 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Luke Christian                  Rob Rosette <rosette@rosettelaw.com>; C                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0008812            ROS-0008814       8/8/2017    <lchristian@rosettelaw.com>     Zamora <czamora@rosettelaw.com>                                         litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                  Rob Rosette <rosette@rosettelaw.com>; C                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008815            ROS-0008971       8/8/2017    <lchristian@rosettelaw.com>     Zamora <czamora@rosettelaw.com>                                         potential litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                  Rob Rosette <rosette@rosettelaw.com>; C                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008972            ROS-0008972       8/8/2017    <lchristian@rosettelaw.com>     Zamora <czamora@rosettelaw.com>                                         potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Cecilia Zamora                                                                                          compact negotiations, ratification, and/or potential litigation between
ROS-0005090            ROS-0005091       8/9/2017    <czamora@rosettelaw.com>        Robert Rosette <rosette@rosettelaw.com>                                 Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0006620            ROS-0006621       8/9/2017    <czamora@rosettelaw.com>        Rob Rosette <rosette@rosettelaw.com>                                    litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0009142            ROS-0009146       8/10/2017   Luke Christian                  Robert Rosette; Cecilia Zamora                                          litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                  Robert Rosette <rosette@rosettelaw.com>;                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0004879            ROS-0004882       8/10/2017   <lchristian@rosettelaw.com>     Cecilia Zamora <czamora@rosettelaw.com>                                 litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                  Robert Rosette <rosette@rosettelaw.com>;                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004883            ROS-0005040       8/10/2017   <lchristian@rosettelaw.com>     Cecilia Zamora <czamora@rosettelaw.com>                                 potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                  Rob Rosette <rosette@rosettelaw.com>; C                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0008439            ROS-0008442       8/10/2017   <lchristian@rosettelaw.com>     Zamora <czamora@rosettelaw.com>                                         litigation between Quechan and California.

                                                                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                  Rob Rosette <rosette@rosettelaw.com>; C                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008443            ROS-0008600       8/10/2017   <lchristian@rosettelaw.com>     Zamora <czamora@rosettelaw.com>                                         potential litigation between Quechan and California.
                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0002897            ROS-0002899       8/15/2017   <rosette@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                 litigation between Quechan and California.
                                                     Quechan Executive Secretary                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0004596            ROS-0004596       8/15/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                  57

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22980 Page 59 of
                                                                                      99
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                                                     <executivesecretary@quechantribe                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004597            ROS-0004598       8/15/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                         litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Quechan Executive Secretary                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0004599            ROS-0004600       8/15/2017   <czamora@rosettelaw.com>           <executivesecretary@quechantribe.com>                                         litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0007164            ROS-0007166       8/15/2017   <rosette@rosettelaw.com>           C Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0002817            ROS-0002817       8/16/2017   <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                       litigation between Quechan and California.

                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                                   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002818            ROS-0002875       8/16/2017   <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                       potential litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0002877            ROS-0002877       8/16/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                         litigation between Quechan and California.

                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002878            ROS-0002884       8/16/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                         potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                   lchristian@rosettelaw.com     regarding gaming compact negotiations, ratification, and/or potential
ROS-0003234            ROS-0003234       8/16/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>         <lchristian@rosettelaw.com>   litigation between Quechan and California.

                                                     Tribal Council Secretary                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co                                                   lchristian@rosettelaw.com     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003235            ROS-0003244       8/16/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>         <lchristian@rosettelaw.com>   potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                   lchristian@rosettelaw.com     regarding gaming compact negotiations, ratification, and/or potential
ROS-0003245            ROS-0003245       8/16/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>         <lchristian@rosettelaw.com>   litigation between Quechan and California.

                                                     Tribal Council Secretary                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co                                                   lchristian@rosettelaw.com     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003246            ROS-0003253       8/16/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>         <lchristian@rosettelaw.com>   potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                   lchristian@rosettelaw.com     regarding gaming compact negotiations, ratification, and/or potential
ROS-0003254            ROS-0003254       8/16/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>         <lchristian@rosettelaw.com>   litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    58

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22981 Page 60 of
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                                                     <tribalsecretary@quechantribe.co                                                   lchristian@rosettelaw.com     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003255            ROS-0003265       8/16/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>         <lchristian@rosettelaw.com>   potential litigation between Quechan and California.

                                                     Robert Rosette                                                                                                   Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0003270            ROS-0003273       8/16/2017   <rosette@rosettelaw.com>           Cecilia Zamora <czamora@rosettelaw.com>                                       and/or potential litigation between Quechan and California.
                                                     Quechan Tribal Secretary                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co   czamora@rosettelaw.com                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0003282            ROS-0003283       8/16/2017   m>                                 <czamora@rosettelaw.com>                                                      litigation between Quechan and California.

                                                     Quechan Tribal Secretary                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co   czamora@rosettelaw.com                                                        impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003284            ROS-0003291       8/16/2017   m>                                 <czamora@rosettelaw.com>                                                      potential litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0004085            ROS-0004086       8/16/2017   <czamora@rosettelaw.com>           Robert Rosette <rosette@rosettelaw.com>                                       litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                     Cecilia Zamora <czamora@rosettelaw.com>; Luke                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004237            ROS-0004238       8/16/2017   <rosette@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                         litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0005984            ROS-0005984       8/16/2017   <czamora@rosettelaw.com>           Rob Rosette <rosette@rosettelaw.com>                                          litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0006395            ROS-0006395       8/16/2017   <czamora@rosettelaw.com>           Rob Rosette <rosette@rosettelaw.com>                                          litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0006843            ROS-0006843       8/16/2017   <rosette@rosettelaw.com>           C Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                        C Zamora <czamora@rosettelaw.com>; Luke                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0007331            ROS-0007332       8/16/2017   <rosette@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                         litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                           Rob Rosette <rosette@rosettelaw.com>; Luke                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0007789            ROS-0007789       8/16/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                         litigation between Quechan and California.

                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                           Rob Rosette <rosette@rosettelaw.com>; Luke                                    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007790            ROS-0007796       8/16/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                         potential litigation between Quechan and California.
                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0008017            ROS-0008018       8/16/2017   <rosette@rosettelaw.com>           C Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    59

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22982 Page 61 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0008656            ROS-0008656       8/16/2017   <rosette@rosettelaw.com>           C Zamora <czamora@rosettelaw.com>                                                      litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0008601            ROS-0008602       8/16/2017   <czamora@rosettelaw.com>           Rob Rosette <rosette@rosettelaw.com>                                                   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0008747            ROS-0008750       8/16/2017   <rosette@rosettelaw.com>           C Zamora <czamora@rosettelaw.com>                                                      litigation between Quechan and California.

                                                     Quechan Record Retention                                                                                                  Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0002876            ROS-0002876       8/17/2017   <e.gomez@quechantribe.com>         Cecilia Zamora <czamora@rosettelaw.com>                                                and/or potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0003460            ROS-0003460       8/17/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Quechan Record Retention                                                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0004096            ROS-0004097       8/17/2017   <e.gomez@quechantribe.com>         Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                               Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Quechan Record Retention                                                                                                  impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004098            ROS-0004213       8/17/2017   <e.gomez@quechantribe.com>         Cecilia Zamora <czamora@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Quechan Record Retention                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0004214            ROS-0004216       8/17/2017   <czamora@rosettelaw.com>           <e.gomez@quechantribe.com>                                                             litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004587            ROS-0004590       8/17/2017   <czamora@rosettelaw.com>           Robert Rosette <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0005042            ROS-0005043       8/17/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0005059            ROS-0005060       8/17/2017   <rosette@rosettelaw.com>           Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.
                                                                                                                                  lchristian@rosettelaw.com
                                                     Tribal Council Secretary                                                     <lchristian@rosettelaw.com>;                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co   czamora@rosettelaw.com                    tribalsecretary@quechantribe.com             regarding gaming compact negotiations, ratification, and/or potential
ROS-0005092            ROS-0005092       8/17/2017   m>                                 <czamora@rosettelaw.com>                  <tribalsecretary@quechantribe.com>           litigation between Quechan and California.
                                                                                                                                  lchristian@rosettelaw.com
                                                     Tribal Council Secretary                                                     <lchristian@rosettelaw.com>;                 Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co   czamora@rosettelaw.com                    tribalsecretary@quechantribe.com             impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005093            ROS-0005245       8/17/2017   m>                                 <czamora@rosettelaw.com>                  <tribalsecretary@quechantribe.com>           potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    60

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                                                                                                                                                                                                                                                               P0109
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22983 Page 62 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     C Zamora                                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0007392            ROS-0007395       8/17/2017   <czamora@rosettelaw.com>           Rob Rosette <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>          litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0003228            ROS-0003229       8/18/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                       litigation between Quechan and California.

                                                     Tribal Council Secretary                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co                                                                                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003230            ROS-0003231       8/18/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                       potential litigation between Quechan and California.

                                                     Tribal Council Secretary                                                                                                         Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co                                                                                                 impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003232            ROS-0003233       8/18/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                       potential litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0004027            ROS-0004027       8/18/2017   <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                       litigation between Quechan and California.

                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                                                   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004028            ROS-0004030       8/18/2017   <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                       potential litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                  Luke Christian <lchristian@rosettelaw.com>; Robert regarding gaming compact negotiations, ratification, and/or potential
ROS-0004699            ROS-0004699       8/18/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>        Rosette <rosette@rosettelaw.com>                   litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0005061            ROS-0005062       8/18/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                       litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0005063            ROS-0005064       8/18/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                            litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0005065            ROS-0005067       8/18/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                            litigation between Quechan and California.

                                                                                                                                                                                      Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                      impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005068            ROS-0005070       8/18/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                            potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co   czamora@rosettelaw.com                                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0005077            ROS-0005077       8/18/2017   m>                                 <czamora@rosettelaw.com>                                                                      litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    61

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                                                                                                                                                                                                                                                                      P0110
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22984 Page 63 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Tribal Council Secretary                                                                                                             Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <tribalsecretary@quechantribe.co   czamora@rosettelaw.com                                                                            impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005078            ROS-0005080       8/18/2017   m>                                 <czamora@rosettelaw.com>                                                                          potential litigation between Quechan and California.
                                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0005414            ROS-0005414       8/18/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                                litigation between Quechan and California.
                                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                           Tribal Council Secretary                        Luke Christian <lchristian@rosettelaw.com>; Rob   regarding gaming compact negotiations, ratification, and/or potential
ROS-0007400            ROS-0007401       8/18/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>              Rosette <rosette@rosettelaw.com>                  litigation between Quechan and California.
                                                                                                                                                                                          Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Luke Christian                                                                                                                       compact negotiations, ratification, and/or potential litigation between
ROS-0003789            ROS-0003791       8/20/2017   <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                           Quechan and California.
                                                                                                                                                                                          Withheld copy of attachment providing legal advice from counsel regarding
                                                     Luke Christian                                                                                                                       gaming compact negotiations, ratification, and/or potential litigation
ROS-0003792            ROS-0003979       8/20/2017   <lchristian@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                           between Quechan and California.
                                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0005246            ROS-0005246       8/20/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                             litigation between Quechan and California.

                                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                                     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005247            ROS-0005253       8/20/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                             potential litigation between Quechan and California.

                                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                                     impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005254            ROS-0005413       8/20/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                             potential litigation between Quechan and California.
                                                                                                                                                                                          Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                           Rob Rosette <rosette@rosettelaw.com>; Luke                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0005985            ROS-0005985       8/20/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                             litigation between Quechan and California.

                                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                           Rob Rosette <rosette@rosettelaw.com>; Luke                                                        impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005986            ROS-0006145       8/20/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                             potential litigation between Quechan and California.

                                                                                                                                                                                          Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                           Rob Rosette <rosette@rosettelaw.com>; Luke                                                        impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006146            ROS-0006152       8/20/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                                             potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    62

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22985 Page 64 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident!@quechantribe.com
                                                                                   <vicepresident!@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>;                                                                        Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Luke Christian                tribalsecretary@quechantribe.com                Robert Rosette <rosette@rosettelaw.com>; Cecilia   compact negotiations, ratification, and/or potential litigation between
ROS-0002350            ROS-0002350       8/21/2017   <lchristian@rosettelaw.com>   <tribalsecretary@quechantribe.com>              Zamora <czamora@rosettelaw.com>                    Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0003470            ROS-0003470       8/21/2017   <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>         Cecilia Zamora <czamora@rosettelaw.com>            litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0005044            ROS-0005045       8/21/2017   <rosette@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                              litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0005046            ROS-0005047       8/21/2017   <rosette@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                              litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                Cecilia Zamora <czamora@rosettelaw.com>; Luke                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0005048            ROS-0005050       8/21/2017   <rosette@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                              litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email requesting legal advice from counsel regarding
                                                     Luke Christian                                                                                                                   gaming compact negotiations, ratification, and/or potential litigation
ROS-0005051            ROS-0005052       8/21/2017   <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>         Cecilia Zamora <czamora@rosettelaw.com>            between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0005053            ROS-0005055       8/21/2017   <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>            litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0005056            ROS-0005058       8/21/2017   <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>         Cecilia Zamora <czamora@rosettelaw.com>            litigation between Quechan and California.
                                                                                                                                                                                      Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   C Zamora <czamora@rosettelaw.com>; Luke                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0006170            ROS-0006171       8/21/2017   <rosette@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                              litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                63

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22986 Page 65 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident!@quechantribe.com
                                                                                   <vicepresident!@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>;                                                                      Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Luke Christian                tribalsecretary@quechantribe.com                Rob Rosette <rosette@rosettelaw.com>; C Zamora   compact negotiations, ratification, and/or potential litigation between
ROS-0006182            ROS-0006182       8/21/2017   <lchristian@rosettelaw.com>   <tribalsecretary@quechantribe.com>              <czamora@rosettelaw.com>                         Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0006362            ROS-0006364       8/21/2017   <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>            C Zamora <czamora@rosettelaw.com>                litigation between Quechan and California.

                                                     Luke Christian                                                                                                                 Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0006369            ROS-0006369       8/21/2017   <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                             and/or potential litigation between Quechan and California.
                                                                                                                                                                                    Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Luke Christian                president@quechantribe.com                      Rob Rosette <rosette@rosettelaw.com>; C Zamora   compact negotiations, ratification, and/or potential litigation between
ROS-0006396            ROS-0006396       8/21/2017   <lchristian@rosettelaw.com>   <president@quechantribe.com>                    <czamora@rosettelaw.com>                         Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   Luke Christian <lchristian@rosettelaw.com>; C                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0006844            ROS-0006846       8/21/2017   <rosette@rosettelaw.com>      Zamora <czamora@rosettelaw.com>                                                                  litigation between Quechan and California.

                                                     Luke Christian                                                                                                                 Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0007396            ROS-0007399       8/21/2017   <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                             and/or potential litigation between Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   C Zamora <czamora@rosettelaw.com>; Luke                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0007840            ROS-0007841       8/21/2017   <rosette@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                            litigation between Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                   C Zamora <czamora@rosettelaw.com>; Luke                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0007842            ROS-0007844       8/21/2017   <rosette@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                            litigation between Quechan and California.
                                                                                                                                                                                    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0008083            ROS-0008084       8/21/2017   <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>            C Zamora <czamora@rosettelaw.com>                litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                 64

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Rob Rosette                                                                                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0008633            ROS-0008635       8/21/2017   <rosette@rosettelaw.com>        Luke Christian <lchristian@rosettelaw.com>   C Zamora <czamora@rosettelaw.com>                  litigation between Quechan and California.

                                                     Rob Rosette                                                                                                                     Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0008636            ROS-0008636       8/21/2017   <rosette@rosettelaw.com>        Luke Christian <lchristian@rosettelaw.com>                                                      and/or potential litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                  Rob Rosette <rosette@rosettelaw.com>; C                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0008667            ROS-0008669       8/21/2017   <lchristian@rosettelaw.com>     Zamora <czamora@rosettelaw.com>                                                                 litigation between Quechan and California.
                                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0008671            ROS-0008672       8/21/2017   <lchristian@rosettelaw.com>     Rob Rosette <rosette@rosettelaw.com>         C Zamora <czamora@rosettelaw.com>                  litigation between Quechan and California.

                                                                                     Quechan Executive Secretary
                                                                                     <executivesecretary@quechantribe.com>;
                                                                                     vicepresident@quechantribe.com
                                                                                     <vicepresident@quechantribe.com>;
                                                                                     l.white@quechantribe.com
                                                                                     <l.white@quechantribe.com>;
                                                                                     j.joaquin@quechantribe.com
                                                                                     <j.joaquin@quechantribe.com>;
                                                                                     a.brown@quechantribe.com
                                                                                     <a.brown@quechantribe.com>;
                                                                                     m.hill@quechantribe.com
                                                                                     <m.hill@quechantribe.com>;
                                                                                     w.white@quechantribe.com
                                                                                     <w.white@quechantribe.com>;
                                                                                     tribalsecretary@quechantribe.com
                                                                                     <tribalsecretary@quechantribe.com>;                                                             Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Luke Christian                  president@quechantribe.com                   Robert Rosette <rosette@rosettelaw.com>; Cecilia   compact negotiations, ratification, and/or potential litigation between
ROS-0002356            ROS-0002357       8/23/2017   <lchristian@rosettelaw.com>     <president@quechantribe.com>                 Zamora <czamora@rosettelaw.com>                    Quechan and California.
                                                     Quechan Executive Secretary                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0004217            ROS-0004220       8/23/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                        litigation between Quechan and California.




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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22988 Page 67 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;
                                                     Rob Rosette                tribalsecretary@quechantribe.com         Brett Stavin <BStavin@rosettelaw.com>; Saba   Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0007333            ROS-0007333       8/23/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>       Bazzazieh <sbazzazieh@rosettelaw.com>         regarding W&C’s lawsuit against Quechan and Rosette.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;
                                                     Rob Rosette                tribalsecretary@quechantribe.com         Brett Stavin <BStavin@rosettelaw.com>; Saba   Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0007334            ROS-0007335       8/23/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>       Bazzazieh <sbazzazieh@rosettelaw.com>         impressions regarding W&C’s lawsuit against Quechan and Rosette.




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                                                                                                                                                                                                                                                       P0115
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                                                                                     <executivesecretary@quechantribe.com>;
                                                                                     vicepresident@quechantribe.com
                                                                                     <vicepresident@quechantribe.com>;
                                                                                     l.white@quechantribe.com
                                                                                     <l.white@quechantribe.com>;
                                                                                     j.joaquin@quechantribe.com
                                                                                     <j.joaquin@quechantribe.com>;
                                                                                     a.brown@quechantribe.com
                                                                                     <a.brown@quechantribe.com>;
                                                                                     m.hill@quechantribe.com
                                                                                     <m.hill@quechantribe.com>;
                                                                                     w.white@quechantribe.com
                                                                                     <w.white@quechantribe.com>;
                                                                                     tribalsecretary@quechantribe.com
                                                                                     <tribalsecretary@quechantribe.com>;                                                         Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Luke Christian                  president@quechantribe.com                 Rob Rosette <rosette@rosettelaw.com>; C Zamora   compact negotiations, ratification, and/or potential litigation between
ROS-0008779            ROS-0008780       8/23/2017   <lchristian@rosettelaw.com>     <president@quechantribe.com>               <czamora@rosettelaw.com>                         Quechan and California.
                                                                                                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                  Quechan Executive Secretary                Tribal Council Secretary                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0002187            ROS-0002187       8/24/2017   <czamora@rosettelaw.com>        <executivesecretary@quechantribe.com>      <tribalsecretary@quechantribe.com>               litigation between Quechan and California.

                                                                                                                                                                                 Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                  Quechan Executive Secretary                Tribal Council Secretary                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002188            ROS-0002190       8/24/2017   <czamora@rosettelaw.com>        <executivesecretary@quechantribe.com>      <tribalsecretary@quechantribe.com>               potential litigation between Quechan and California.
                                                     Robert Rosette                                                                                                              Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0003059            ROS-0003064       8/24/2017   <rosette@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>    Luke Christian <lchristian@rosettelaw.com>       regarding W&C’s lawsuit against Quechan and Rosette.

                                                     Robert Rosette                                                                                                              Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0003065            ROS-0003221       8/24/2017   <rosette@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>    Luke Christian <lchristian@rosettelaw.com>       impressions regarding W&C’s lawsuit against Quechan and Rosette.
                                                     Quechan Executive Secretary                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004038            ROS-0004038       8/24/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                    litigation between Quechan and California.
                                                     Quechan Executive Secretary                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004039            ROS-0004040       8/24/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                    litigation between Quechan and California.
                                                                                                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                  Quechan Executive Secretary                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004041            ROS-0004042       8/24/2017   <czamora@rosettelaw.com>        <executivesecretary@quechantribe.com>                                                       litigation between Quechan and California.
                                                     Quechan Executive Secretary                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004221            ROS-0004224       8/24/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                    litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                 67

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                     Quechan Executive Secretary                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0004225            ROS-0004228       8/24/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                  litigation between Quechan and California.

                                                     Quechan Executive Secretary                                                                                               Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004229            ROS-0004232       8/24/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                  potential litigation between Quechan and California.

                                                     Quechan Executive Secretary                                                                                               Withheld copy of attachment reflecting legal advice or attorney mental
                                                     <executivesecretary@quechantribe                                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0004233            ROS-0004236       8/24/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                                  potential litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004603            ROS-0004609       8/24/2017   <rosette@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004633            ROS-0004639       8/24/2017   <czamora@rosettelaw.com>        Robert Rosette <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004640            ROS-0004646       8/24/2017   <czamora@rosettelaw.com>        Robert Rosette <rosette@rosettelaw.com>      Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0006613            ROS-0006619       8/24/2017   <czamora@rosettelaw.com>        Rob Rosette <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0007845            ROS-0007850       8/24/2017   <rosette@rosettelaw.com>        C Zamora <czamora@rosettelaw.com>            Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.

                                                                                                                                                                               Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007851            ROS-0008007       8/24/2017   <rosette@rosettelaw.com>        C Zamora <czamora@rosettelaw.com>            Luke Christian <lchristian@rosettelaw.com>   potential litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                        Rob Rosette <rosette@rosettelaw.com>; Luke                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0008076            ROS-0008082       8/24/2017   <czamora@rosettelaw.com>        Christian <lchristian@rosettelaw.com>                                                     litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0008085            ROS-0008091       8/24/2017   <czamora@rosettelaw.com>        Rob Rosette <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0008760            ROS-0008766       8/24/2017   <rosette@rosettelaw.com>        C Zamora <czamora@rosettelaw.com>                                                         litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                  Quechan Executive Secretary                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0002183            ROS-0002183       8/25/2017   <czamora@rosettelaw.com>        <executivesecretary@quechantribe.com>                                                     litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                 68

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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ROS-0002184            ROS-0002186       8/25/2017   <czamora@rosettelaw.com>        <executivesecretary@quechantribe.com>                                                  potential litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                  Tribal Council Secretary                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0004043            ROS-0004045       8/25/2017   <czamora@rosettelaw.com>        <tribalsecretary@quechantribe.com>                                                     litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0004578            ROS-0004586       8/25/2017   <rosette@rosettelaw.com>        Cecilia Zamora <czamora@rosettelaw.com>                                                litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0005073            ROS-0005073       8/25/2017   <czamora@rosettelaw.com>        Robert Rosette <rosette@rosettelaw.com>                                                litigation between Quechan and California.

                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                                                                                                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0005074            ROS-0005076       8/25/2017   <czamora@rosettelaw.com>        Robert Rosette <rosette@rosettelaw.com>                                                potential litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0006397            ROS-0006397       8/25/2017   <czamora@rosettelaw.com>        Rob Rosette <rosette@rosettelaw.com>                                                   litigation between Quechan and California.

                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                                                                                                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006398            ROS-0006400       8/25/2017   <czamora@rosettelaw.com>        Rob Rosette <rosette@rosettelaw.com>                                                   potential litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0006414            ROS-0006423       8/25/2017   <rosette@rosettelaw.com>        C Zamora <czamora@rosettelaw.com>                                                      litigation between Quechan and California.
                                                     Quechan Executive Secretary                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <executivesecretary@quechantribe                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004031            ROS-0004032       8/26/2017   .com>                            Cecilia Zamora <czamora@rosettelaw.com>                                               litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                  Quechan Executive Secretary                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004033            ROS-0004034       8/26/2017   <czamora@rosettelaw.com>        <executivesecretary@quechantribe.com>                                                  litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0004610            ROS-0004616       8/27/2017   <lchristian@rosettelaw.com>     Robert Rosette <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0006847            ROS-0006853       8/27/2017   <rosette@rosettelaw.com>        Luke Christian <lchristian@rosettelaw.com>                                             litigation between Quechan and California.




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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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ROS-0006854            ROS-0007000       8/27/2017   <rosette@rosettelaw.com>           Luke Christian <lchristian@rosettelaw.com>                                          potential litigation between Quechan and California.

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                                                     Rob Rosette                                                                                                            impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007001            ROS-0007001       8/27/2017   <rosette@rosettelaw.com>           Luke Christian <lchristian@rosettelaw.com>                                          potential litigation between Quechan and California.

                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                            impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007002            ROS-0007162       8/27/2017   <rosette@rosettelaw.com>           Luke Christian <lchristian@rosettelaw.com>                                          potential litigation between Quechan and California.

                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Rob Rosette                                                                                                            impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007163            ROS-0007163       8/27/2017   <rosette@rosettelaw.com>           Luke Christian <lchristian@rosettelaw.com>                                          potential litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0008092            ROS-0008098       8/27/2017   <lchristian@rosettelaw.com>        Rob Rosette <rosette@rosettelaw.com>            C Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Quechan Executive Secretary                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0002191            ROS-0002191       8/28/2017   <czamora@rosettelaw.com>           <executivesecretary@quechantribe.com>                                               litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Quechan Executive Secretary                                                         regarding gaming compact negotiations, ratification, and/or potential
ROS-0002358            ROS-0002358       8/28/2017   <czamora@rosettelaw.com>           <executivesecretary@quechantribe.com>                                               litigation between Quechan and California.

                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     Quechan Executive Secretary                                                         impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002359            ROS-0002505       8/28/2017   <czamora@rosettelaw.com>           <executivesecretary@quechantribe.com>                                               potential litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0003627            ROS-0003627       8/28/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                               litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0003628            ROS-0003628       8/28/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                               litigation between Quechan and California.

                                                                                                                                                                            Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     Robert Rosette <rosette@rosettelaw.com>; Luke                                       impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003629            ROS-0003631       8/28/2017   <czamora@rosettelaw.com>           Christian <lchristian@rosettelaw.com>                                               potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0003787            ROS-0003787       8/28/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                     70

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22993 Page 72 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                     Cecilia Zamora                Tribal Council Secretary                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0003788            ROS-0003788       8/28/2017   <czamora@rosettelaw.com>      <tribalsecretary@quechantribe.com>                                                          litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                Quechan Executive Secretary                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004035            ROS-0004037       8/28/2017   <czamora@rosettelaw.com>      <executivesecretary@quechantribe.com>                                                       litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004617            ROS-0004623       8/28/2017   <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>           Cecilia Zamora <czamora@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                Luke Christian <lchristian@rosettelaw.com>;                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004647            ROS-0004653       8/28/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>                                                     litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                Luke Christian <lchristian@rosettelaw.com>;                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004654            ROS-0004661       8/28/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>                                                     litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      Rob Rosette <rosette@rosettelaw.com>; Luke                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0006153            ROS-0006153       8/28/2017   <czamora@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                       litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0006598            ROS-0006604       8/28/2017   <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>              C Zamora <czamora@rosettelaw.com>         litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      Luke Christian <lchristian@rosettelaw.com>; Rob                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0006605            ROS-0006612       8/28/2017   <czamora@rosettelaw.com>      Rosette <rosette@rosettelaw.com>                                                            litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      Luke Christian <lchristian@rosettelaw.com>; Rob                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0007402            ROS-0007409       8/28/2017   <czamora@rosettelaw.com>      Rosette <rosette@rosettelaw.com>                                                            litigation between Quechan and California.
                                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      Rob Rosette <rosette@rosettelaw.com>; Luke                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0008705            ROS-0008705       8/28/2017   <czamora@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                       litigation between Quechan and California.

                                                                                                                                                                               Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                      Rob Rosette <rosette@rosettelaw.com>; Luke                                                  impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008706            ROS-0008708       8/28/2017   <czamora@rosettelaw.com>      Christian <lchristian@rosettelaw.com>                                                       potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                 71

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22994 Page 73 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>; Tribal Council
                                                                                   Secretary <tribalsecretary@quechantribe.com>;
                                                                                   Quechan Executive Secretary
                                                                                   <executivesecretary@quechantribe.com>;                                                          Withheld copy of email providing legal advice from counsel regarding gaming
                                                     Cecilia Zamora                president@quechantribe.com                      Robert Rosette <rosette@rosettelaw.com>; Luke   compact negotiations, ratification, and/or potential litigation between
ROS-0002353            ROS-0002353       8/29/2017   <czamora@rosettelaw.com>      <president@quechantribe.com>                    Christian <lchristian@rosettelaw.com>           Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                Cecilia Zamora <czamora@rosettelaw.com>;                                                        regarding gaming compact negotiations, ratification, and/or potential
ROS-0004595            ROS-0004595       8/29/2017   <lchristian@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>                                                         litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0004624            ROS-0004632       8/29/2017   <rosette@rosettelaw.com>      Cecilia Zamora <czamora@rosettelaw.com>                                                         litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0004662            ROS-0004670       8/29/2017   <czamora@rosettelaw.com>      Robert Rosette <rosette@rosettelaw.com>                                                         litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0006154            ROS-0006155       8/29/2017   <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                            litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0006622            ROS-0006630       8/29/2017   <czamora@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>                                                            litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                C Zamora <czamora@rosettelaw.com>; Rob                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0007410            ROS-0007410       8/29/2017   <lchristian@rosettelaw.com>   Rosette <rosette@rosettelaw.com>                                                                litigation between Quechan and California.
                                                                                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0008637            ROS-0008645       8/29/2017   <rosette@rosettelaw.com>      C Zamora <czamora@rosettelaw.com>                                                               litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                72

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>; Tribal Council
                                                                                Secretary <tribalsecretary@quechantribe.com>;
                                                                                Quechan Executive Secretary
                                                                                <executivesecretary@quechantribe.com>;                                                       Withheld copy of email providing legal advice from counsel regarding gaming
                                                     C Zamora                   president@quechantribe.com                      Rob Rosette <rosette@rosettelaw.com>; Luke   compact negotiations, ratification, and/or potential litigation between
ROS-0008659            ROS-0008659       8/29/2017   <czamora@rosettelaw.com>   <president@quechantribe.com>                    Christian <lchristian@rosettelaw.com>        Quechan and California.
                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                   Rob Rosette <rosette@rosettelaw.com>; Luke                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0008709            ROS-0008709       8/29/2017   <czamora@rosettelaw.com>   Christian <lchristian@rosettelaw.com>                                                        litigation between Quechan and California.
                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental
                                                                                                                                                                             impressions regarding gaming compact negotiations, ratification, and/or
ROS-0009157            ROS-0009157       8/31/2017   Luke Christian             Cecilia Zamora                                  Nicole St. Germain                           potential litigation between Quechan and California.



                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>; Tribal Council
                                                                                Secretary <tribalsecretary@quechantribe.com>;
                                                                                Quechan Executive Secretary
                                                                                <executivesecretary@quechantribe.com>;                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora             president@quechantribe.com                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0002354            ROS-0002354       8/31/2017   <czamora@rosettelaw.com>   <president@quechantribe.com>                    Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                             73

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>; Tribal Council
                                                                                Secretary <tribalsecretary@quechantribe.com>;
                                                                                Quechan Executive Secretary
                                                                                <executivesecretary@quechantribe.com>;                                                              Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora             president@quechantribe.com                                                                          impressions regarding gaming compact negotiations, ratification, and/or
ROS-0002355            ROS-0002355       8/31/2017   <czamora@rosettelaw.com>   <president@quechantribe.com>                    Luke Christian <lchristian@rosettelaw.com>          potential litigation between Quechan and California.

                                                                                executivesecretary@quechantribe.com
                                                                                <executivesecretary@quechantribe.com>;
                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>;                     Luke Christian <lchristian@rosettelaw.com>; Cecilia Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Robert Rosette             tribalsecretary@quechantribe.com                Zamora <czamora@rosettelaw.com>; Phil Simons        regarding gaming compact negotiations, ratification, and/or potential
ROS-0003226            ROS-0003227       8/31/2017   <rosette@rosettelaw.com>   <tribalsecretary@quechantribe.com>              <PSimons@playqcr.com>                               litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                             74

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                                                                                        executivesecretary@quechantribe.com
                                                                                        <executivesecretary@quechantribe.com>;
                                                                                        vicepresident@quechantribe.com
                                                                                        <vicepresident@quechantribe.com>;
                                                                                        l.white@quechantribe.com
                                                                                        <l.white@quechantribe.com>;
                                                                                        j.joaquin@quechantribe.com
                                                                                        <j.joaquin@quechantribe.com>;
                                                                                        a.brown@quechantribe.com
                                                                                        <a.brown@quechantribe.com>;
                                                                                        m.hill@quechantribe.com
                                                                                        <m.hill@quechantribe.com>;
                                                                                        w.white@quechantribe.com
                                                                                        <w.white@quechantribe.com>;               Luke Christian <lchristian@rosettelaw.com>; C   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Rob Rosette                        tribalsecretary@quechantribe.com          Zamora <czamora@rosettelaw.com>; Phil Simons    regarding gaming compact negotiations, ratification, and/or potential
ROS-0008660            ROS-0008661       8/31/2017   <rosette@rosettelaw.com>           <tribalsecretary@quechantribe.com>        <PSimons@playqcr.com>                           litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0004091            ROS-0004092       9/1/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0004093            ROS-0004093       9/1/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   litigation between Quechan and California.
                                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                  regarding gaming compact negotiations, ratification, and/or potential
ROS-0004094            ROS-0004095       9/1/2017    <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                        litigation between Quechan and California.
                                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Quechan Councilman Joaquin                                                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0007799            ROS-0007800       9/1/2017    <j.joaquin@quechantribe.com>       Rob Rosette <rosette@rosettelaw.com>                                                      litigation between Quechan and California.
                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004239            ROS-0004240       9/5/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   regarding legal representations and advice to Quechan.
                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004241            ROS-0004242       9/5/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   regarding legal representations and advice to Quechan.
                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004243            ROS-0004243       9/5/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   regarding legal representations and advice to Quechan.
                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004244            ROS-0004245       9/5/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   regarding legal representations and advice to Quechan.
                                                     Cecilia Zamora                     Tribal Council Secretary                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004246            ROS-0004246       9/5/2017    <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                        regarding legal representations and advice to Quechan.




ATTORNEYS' EYES ONLY                                                                                                    75

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.22998 Page 77 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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ROS-0004247            ROS-0004248       9/5/2017    <czamora@rosettelaw.com>   <tribalsecretary@quechantribe.com>                                                                 regarding legal representations and advice to Quechan.
                                                     Cecilia Zamora             Tribal Council Secretary                                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004249            ROS-0004250       9/5/2017    <czamora@rosettelaw.com>   <tribalsecretary@quechantribe.com>                                                                 regarding legal representations and advice to Quechan.



                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>;
                                                                                j.joaquin@quechantribe.com
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>;
                                                                                w.white@quechantribe.com
                                                                                <w.white@quechantribe.com>; Tribal Council
                                                                                Secretary <tribalsecretary@quechantribe.com>;
                                                                                Quechan Executive Secretary
                                                                                <executivesecretary@quechantribe.com>;                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora             president@quechantribe.com                         Robert Rosette <rosette@rosettelaw.com>; Luke   regarding gaming compact negotiations, ratification, and/or potential
ROS-0005084            ROS-0005084       9/5/2017    <czamora@rosettelaw.com>   <president@quechantribe.com>                       Christian <lchristian@rosettelaw.com>           litigation between Quechan and California.

                                                     Rob Rosette                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0006424            ROS-0006425       9/5/2017    <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>                                                         regarding Rosette clients or potential clients other than Quechan and Pauma.

                                                     Rob Rosette                                                                                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0006840            ROS-0006842       9/5/2017    <rosette@rosettelaw.com>   Luke Christian <lchristian@rosettelaw.com>                                                         regarding Rosette clients or potential clients other than Quechan and Pauma.

                                                     Rob Rosette                Luke Christian <lchristian@rosettelaw.com>; Phil                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0007572            ROS-0007575       9/5/2017    <rosette@rosettelaw.com>   Simons <PSimons@playqcr.com>                                                                       regarding Rosette clients or potential clients other than Quechan and Pauma.




ATTORNEYS' EYES ONLY                                                                                              76

                                                                                                                                                                                                                                                                    Ex 5
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>; Tribal Council
                                                                                   Secretary <tribalsecretary@quechantribe.com>;
                                                                                   Quechan Executive Secretary
                                                                                   <executivesecretary@quechantribe.com>;                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      president@quechantribe.com                      Rob Rosette <rosette@rosettelaw.com>; Luke        regarding gaming compact negotiations, ratification, and/or potential
ROS-0007803            ROS-0007803       9/5/2017    <czamora@rosettelaw.com>      <president@quechantribe.com>                    Christian <lchristian@rosettelaw.com>             litigation between Quechan and California.

                                                     Luke Christian                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0007804            ROS-0007806       9/5/2017    <lchristian@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>                                                              regarding Rosette clients or potential clients other than Quechan and Pauma.

                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;                     Robert Rosette <rosette@rosettelaw.com>; Tribal
                                                                                   m.hill@quechantribe.com                         Council Secretary
                                                                                   <m.hill@quechantribe.com>;                      <tribalsecretary@quechantribe.com>; Quechan       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                w.white@quechantribe.com                        Executive Secretary                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0003461            ROS-0003461       9/6/2017    <czamora@rosettelaw.com>      <w.white@quechantribe.com>                      <executivesecretary@quechantribe.com>             litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                77

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;               Robert Rosette <rosette@rosettelaw.com>; Tribal
                                                                                   m.hill@quechantribe.com                   Council Secretary
                                                                                   <m.hill@quechantribe.com>;                <tribalsecretary@quechantribe.com>; Quechan       Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                w.white@quechantribe.com                  Executive Secretary                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003462            ROS-0003463       9/6/2017    <czamora@rosettelaw.com>      <w.white@quechantribe.com>                <executivesecretary@quechantribe.com>             potential litigation between Quechan and California.

                                                     Luke Christian                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0004591            ROS-0004592       9/6/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                     regarding Rosette clients or potential clients other than Quechan and Pauma.
                                                                                                                                                                               Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Luke Christian                                                                                                            impressions regarding Rosette clients or potential clients other than Quechan
ROS-0004593            ROS-0004594       9/6/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                     and Pauma.

                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;               Rob Rosette <rosette@rosettelaw.com>; Tribal
                                                                                   m.hill@quechantribe.com                   Council Secretary
                                                                                   <m.hill@quechantribe.com>;                <tribalsecretary@quechantribe.com>; Quechan       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                      w.white@quechantribe.com                  Executive Secretary                               regarding gaming compact negotiations, ratification, and/or potential
ROS-0006634            ROS-0006634       9/6/2017    <czamora@rosettelaw.com>      <w.white@quechantribe.com>                <executivesecretary@quechantribe.com>             litigation between Quechan and California.

                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;               Rob Rosette <rosette@rosettelaw.com>; Tribal
                                                                                   m.hill@quechantribe.com                   Council Secretary
                                                                                   <m.hill@quechantribe.com>;                <tribalsecretary@quechantribe.com>; Quechan       Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                      w.white@quechantribe.com                  Executive Secretary                               impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006635            ROS-0006636       9/6/2017    <czamora@rosettelaw.com>      <w.white@quechantribe.com>                <executivesecretary@quechantribe.com>             potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              78

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>;
                                                     Robert Rosette                tribalsecretary@quechantribe.com          Cecilia Zamora <czamora@rosettelaw.com>; Luke   Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0003467            ROS-0003467       9/7/2017    <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com>        Christian <lchristian@rosettelaw.com>           and/or potential litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>;
                                                                                   w.white@quechantribe.com
                                                                                   <w.white@quechantribe.com>;
                                                     Robert Rosette                tribalsecretary@quechantribe.com          Cecilia Zamora <czamora@rosettelaw.com>; Luke   Withheld copy of attachment regarding gaming compact negotiations,
ROS-0003468            ROS-0003469       9/7/2017    <rosette@rosettelaw.com>      <tribalsecretary@quechantribe.com>        Christian <lchristian@rosettelaw.com>           ratification, and/or potential litigation between Quechan and California.
                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0004080            ROS-0004081       9/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                   litigation between Quechan and California.
                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Luke Christian                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0004082            ROS-0004082       9/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                   litigation between Quechan and California.
                                                                                                                                                                             Withheld copy of email requesting legal advice from counsel regarding
                                                     Luke Christian                                                                                                          gaming compact negotiations, ratification, and/or potential litigation
ROS-0004083            ROS-0004084       9/7/2017    <lchristian@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                                   between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              79

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                        executivesecretary@quechantribe.com
                                                                                        <executivesecretary@quechantribe.com>;
                                                                                        vicepresident@quechantribe.com
                                                                                        <vicepresident@quechantribe.com>;
                                                                                        l.white@quechantribe.com
                                                                                        <l.white@quechantribe.com>;
                                                                                        j.joaquin@quechantribe.com
                                                                                        <j.joaquin@quechantribe.com>;
                                                                                        a.brown@quechantribe.com
                                                                                        <a.brown@quechantribe.com>;
                                                                                        m.hill@quechantribe.com
                                                                                        <m.hill@quechantribe.com>;
                                                                                        w.white@quechantribe.com
                                                                                        <w.white@quechantribe.com>;
                                                     Rob Rosette                        tribalsecretary@quechantribe.com          C Zamora <czamora@rosettelaw.com>; Luke   Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0008011            ROS-0008011       9/7/2017    <rosette@rosettelaw.com>           <tribalsecretary@quechantribe.com>        Christian <lchristian@rosettelaw.com>     and/or potential litigation between Quechan and California.

                                                                                        executivesecretary@quechantribe.com
                                                                                        <executivesecretary@quechantribe.com>;
                                                                                        vicepresident@quechantribe.com
                                                                                        <vicepresident@quechantribe.com>;
                                                                                        l.white@quechantribe.com
                                                                                        <l.white@quechantribe.com>;
                                                                                        j.joaquin@quechantribe.com
                                                                                        <j.joaquin@quechantribe.com>;
                                                                                        a.brown@quechantribe.com
                                                                                        <a.brown@quechantribe.com>;
                                                                                        m.hill@quechantribe.com
                                                                                        <m.hill@quechantribe.com>;
                                                                                        w.white@quechantribe.com
                                                                                        <w.white@quechantribe.com>;
                                                     Rob Rosette                        tribalsecretary@quechantribe.com          C Zamora <czamora@rosettelaw.com>; Luke   Withheld copy of attachment regarding gaming compact negotiations,
ROS-0008012            ROS-0008013       9/7/2017    <rosette@rosettelaw.com>           <tribalsecretary@quechantribe.com>        Christian <lchristian@rosettelaw.com>     ratification, and/or potential litigation between Quechan and California.
                                                     Tribal Council Secretary                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     <tribalsecretary@quechantribe.co                                                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004087            ROS-0004088       9/8/2017    m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.
                                                                                                                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     Tribal Council Secretary                                                            regarding gaming compact negotiations, ratification, and/or potential
ROS-0004089            ROS-0004090       9/8/2017    <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                  litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    80

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                                                                                        vicepresident@quechantribe.com
                                                                                        <vicepresident@quechantribe.com>;
                                                                                        l.white@quechantribe.com
                                                                                        <l.white@quechantribe.com>;
                                                                                        j.joaquin@quechantribe.com
                                                                                        <j.joaquin@quechantribe.com>;
                                                                                        a.brown@quechantribe.com                  Tribal Council Secretary
                                                                                        <a.brown@quechantribe.com>;               <tribalsecretary@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                   executivesecretary@quechantribe.com             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     <m.hill@quechantribe.com>; Willie White   <executivesecretary@quechantribe.com>; Robert   regarding gaming compact negotiations, ratification, and/or potential
ROS-0003465            ROS-0003466       9/9/2017    <czamora@rosettelaw.com>           <w.white@quechantribe.com>                Rosette <rosette@rosettelaw.com>                litigation between Quechan and California.
                                                                                                                                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Quechan Councilman Joaquin         czamora@rosettelaw.com                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0004251            ROS-0004253       9/9/2017    <j.joaquin@quechantribe.com>       <czamora@rosettelaw.com>                                                                  litigation between Quechan and California.

                                                                                        vicepresident@quechantribe.com
                                                                                        <vicepresident@quechantribe.com>;
                                                                                        l.white@quechantribe.com
                                                                                        <l.white@quechantribe.com>;
                                                                                        j.joaquin@quechantribe.com
                                                                                        <j.joaquin@quechantribe.com>;
                                                                                        a.brown@quechantribe.com                  Tribal Council Secretary
                                                                                        <a.brown@quechantribe.com>;               <tribalsecretary@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                   executivesecretary@quechantribe.com             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                           <m.hill@quechantribe.com>; Willie White   <executivesecretary@quechantribe.com>; Rob      regarding gaming compact negotiations, ratification, and/or potential
ROS-0007801            ROS-0007802       9/9/2017    <czamora@rosettelaw.com>           <w.white@quechantribe.com>                Rosette <rosette@rosettelaw.com>                litigation between Quechan and California.

                                                     Cecilia Zamora                     Tribal Council Secretary                  Saba Bazzazieh <sbazzazieh@rosettelaw.com>;     Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0002348            ROS-0002349       9/11/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>        Marrianne Galli <mgalli@rosettelaw.com>         and/or potential litigation between Quechan and California.
                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                             Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0004064            ROS-0004065       9/11/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   and/or potential litigation between Quechan and California.
                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                             Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0004066            ROS-0004068       9/11/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                   and/or potential litigation between Quechan and California.

                                                     Cecilia Zamora                     Tribal Council Secretary                  Marrianne Galli <mgalli@rosettelaw.com>; Saba   Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0004069            ROS-0004071       9/11/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>        Bazzazieh <sbazzazieh@rosettelaw.com>           and/or potential litigation between Quechan and California.

                                                     Cecilia Zamora                     Tribal Council Secretary                                                                  Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0004072            ROS-0004074       9/11/2017   <czamora@rosettelaw.com>           <tribalsecretary@quechantribe.com>                                                        and/or potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    81

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                                                     Tribal Council Secretary
                                                     <tribalsecretary@quechantribe.co                                                                                            Withheld copy of email regarding gaming compact negotiations, ratification,
ROS-0005041            ROS-0005041       9/11/2017   m>                                 Cecilia Zamora <czamora@rosettelaw.com>                                                  and/or potential litigation between Quechan and California.

                                                                                        Willie White <w.white@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                     <m.hill@quechantribe.com>; Tribal Council                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0003453            ROS-0003454       9/12/2017   <czamora@rosettelaw.com>           Secretary <tribalsecretary@quechantribe.com>   Robert Rosette <rosette@rosettelaw.com>   litigation between Quechan and California.

                                                                                        Willie White <w.white@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     <m.hill@quechantribe.com>; Tribal Council                                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003455            ROS-0003455       9/12/2017   <czamora@rosettelaw.com>           Secretary <tribalsecretary@quechantribe.com>   Robert Rosette <rosette@rosettelaw.com>   potential litigation between Quechan and California.

                                                                                        Willie White <w.white@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Cecilia Zamora                     <m.hill@quechantribe.com>; Tribal Council                                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0003456            ROS-0003456       9/12/2017   <czamora@rosettelaw.com>           Secretary <tribalsecretary@quechantribe.com>   Robert Rosette <rosette@rosettelaw.com>   potential litigation between Quechan and California.

                                                                                        Willie White <w.white@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                                                                  Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                           <m.hill@quechantribe.com>; Tribal Council                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0008099            ROS-0008100       9/12/2017   <czamora@rosettelaw.com>           Secretary <tribalsecretary@quechantribe.com>   Rob Rosette <rosette@rosettelaw.com>      litigation between Quechan and California.

                                                                                        Willie White <w.white@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                           <m.hill@quechantribe.com>; Tribal Council                                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008101            ROS-0008101       9/12/2017   <czamora@rosettelaw.com>           Secretary <tribalsecretary@quechantribe.com>   Rob Rosette <rosette@rosettelaw.com>      potential litigation between Quechan and California.

                                                                                        Willie White <w.white@quechantribe.com>;
                                                                                        m.hill@quechantribe.com                                                                  Withheld copy of attachment reflecting legal advice or attorney mental
                                                     C Zamora                           <m.hill@quechantribe.com>; Tribal Council                                                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008102            ROS-0008102       9/12/2017   <czamora@rosettelaw.com>           Secretary <tribalsecretary@quechantribe.com>   Rob Rosette <rosette@rosettelaw.com>      potential litigation between Quechan and California.
                                                                                                                                                                                 Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Quechan Councilman Joaquin         czamora@rosettelaw.com                                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0004707            ROS-0004708       9/15/2017   <j.joaquin@quechantribe.com>       <czamora@rosettelaw.com>                                                                 litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                    82

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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES   DATE                FROM/AUTHOR                                TO                                         CC                                                 PRIVILEGE DESCRIPTION

                                                                                                                            Jordan Joaquin <j.joaquin@quechantribe.com>;
                                                                                                                            Loraine White <l.white@quechantribe.com>;
                                                                                                                            vicepresident@quechantribe.com
                                                                                                                            <vicepresident@quechantribe.com>;
                                                                                                                            a.brown@quechantribe.com
                                                                                                                            <a.brown@quechantribe.com>; Tribal Council
                                                                                                                            Secretary <tribalsecretary@quechantribe.com>;
                                                                                                                            executivesecretary@quechantribe.com
                                                                                                                            <executivesecretary@quechantribe.com>;
                                                                                                                            m.hill@quechantribe.com                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Quechan Councilman W.White                                             <m.hill@quechantribe.com>; Robert Rosette       regarding gaming compact negotiations, ratification, and/or potential
ROS-0004709            ROS-0004710       9/15/2017   <w.white@quechantribe.com>   Cecilia Zamora <czamora@rosettelaw.com>   <rosette@rosettelaw.com>                        litigation between Quechan and California.

                                                                                  vicepresident@quechantribe.com
                                                                                  <vicepresident@quechantribe.com>;
                                                                                  l.white@quechantribe.com
                                                                                  <l.white@quechantribe.com>; Quechan
                                                                                  Councilman Joaquin
                                                                                  <j.joaquin@quechantribe.com>;
                                                                                  a.brown@quechantribe.com                  Tribal Council Secretary
                                                                                  <a.brown@quechantribe.com>;               <tribalsecretary@quechantribe.com>;
                                                                                  m.hill@quechantribe.com                   executivesecretary@quechantribe.com             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora               <m.hill@quechantribe.com>; Willie White   <executivesecretary@quechantribe.com>; Robert   regarding gaming compact negotiations, ratification, and/or potential
ROS-0005083            ROS-0005083       9/15/2017   <czamora@rosettelaw.com>     <w.white@quechantribe.com>                Rosette <rosette@rosettelaw.com>                litigation between Quechan and California.

                                                                                  vicepresident@quechantribe.com
                                                                                  <vicepresident@quechantribe.com>;
                                                                                  l.white@quechantribe.com
                                                                                  <l.white@quechantribe.com>; Quechan
                                                                                  Councilman Joaquin
                                                                                  <j.joaquin@quechantribe.com>;
                                                                                  a.brown@quechantribe.com                  Tribal Council Secretary
                                                                                  <a.brown@quechantribe.com>;               <tribalsecretary@quechantribe.com>;
                                                                                  m.hill@quechantribe.com                   executivesecretary@quechantribe.com             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                     <m.hill@quechantribe.com>; Willie White   <executivesecretary@quechantribe.com>; Rob      regarding gaming compact negotiations, ratification, and/or potential
ROS-0006403            ROS-0006403       9/15/2017   <czamora@rosettelaw.com>     <w.white@quechantribe.com>                Rosette <rosette@rosettelaw.com>                litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              83

                                                                                                                                                                                                                                                             Ex 5
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                                                            Jordan Joaquin <j.joaquin@quechantribe.com>;
                                                                                                                            Loraine White <l.white@quechantribe.com>;
                                                                                                                            vicepresident@quechantribe.com
                                                                                                                            <vicepresident@quechantribe.com>;
                                                                                                                            a.brown@quechantribe.com
                                                                                                                            <a.brown@quechantribe.com>; Tribal Council
                                                                                                                            Secretary <tribalsecretary@quechantribe.com>;
                                                                                                                            executivesecretary@quechantribe.com
                                                                                                                            <executivesecretary@quechantribe.com>;
                                                                                                                            m.hill@quechantribe.com                         Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Quechan Councilman W.White                                             <m.hill@quechantribe.com>; Rob Rosette          regarding gaming compact negotiations, ratification, and/or potential
ROS-0008710            ROS-0008711       9/15/2017   <w.white@quechantribe.com>   C Zamora <czamora@rosettelaw.com>         <rosette@rosettelaw.com>                        litigation between Quechan and California.

                                                                                  vicepresident@quechantribe.com
                                                                                  <vicepresident@quechantribe.com>;
                                                                                  l.white@quechantribe.com
                                                                                  <l.white@quechantribe.com>; Quechan
                                                                                  Councilman Joaquin
                                                                                  <j.joaquin@quechantribe.com>;
                                                                                  a.brown@quechantribe.com                  Tribal Council Secretary
                                                                                  <a.brown@quechantribe.com>;               <tribalsecretary@quechantribe.com>;
                                                                                  m.hill@quechantribe.com                   executivesecretary@quechantribe.com             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora               <m.hill@quechantribe.com>; Willie White   <executivesecretary@quechantribe.com>; Robert   regarding gaming compact negotiations, ratification, and/or potential
ROS-0004705            ROS-0004706       9/18/2017   <czamora@rosettelaw.com>     <w.white@quechantribe.com>                Rosette <rosette@rosettelaw.com>                litigation between Quechan and California.

                                                                                  vicepresident@quechantribe.com
                                                                                  <vicepresident@quechantribe.com>;
                                                                                  l.white@quechantribe.com
                                                                                  <l.white@quechantribe.com>; Quechan
                                                                                  Councilman Joaquin
                                                                                  <j.joaquin@quechantribe.com>;
                                                                                  a.brown@quechantribe.com                  Tribal Council Secretary
                                                                                  <a.brown@quechantribe.com>;               <tribalsecretary@quechantribe.com>;
                                                                                  m.hill@quechantribe.com                   executivesecretary@quechantribe.com             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                     <m.hill@quechantribe.com>; Willie White   <executivesecretary@quechantribe.com>; Rob      regarding gaming compact negotiations, ratification, and/or potential
ROS-0006401            ROS-0006402       9/18/2017   <czamora@rosettelaw.com>     <w.white@quechantribe.com>                Rosette <rosette@rosettelaw.com>                litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              84

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                                                                                                                                                                                                                                                            P0133
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23007 Page 86 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES   DATE                FROM/AUTHOR                                TO                                        CC                                                PRIVILEGE DESCRIPTION


                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                 'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;              <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                  Executive Secretary
                                                                                   <m.hill@quechantribe.com>;               <executivesecretary@quechantribe.com>; Rob    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                w.white@quechantribe.com                 Rosette <rosette@rosettelaw.com>; C Zamora    regarding gaming compact negotiations, ratification, and/or potential
ROS-0007833            ROS-0007834       9/27/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                      litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                 'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;              <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                  Executive Secretary
                                                                                   <m.hill@quechantribe.com>;               <executivesecretary@quechantribe.com>; Rob    Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Saba Bazzazieh                w.white@quechantribe.com                 Rosette <rosette@rosettelaw.com>; C Zamora    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007835            ROS-0007835       9/27/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                      potential litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                 'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;              <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                  Executive Secretary
                                                                                   <m.hill@quechantribe.com>;               <executivesecretary@quechantribe.com>; Rob    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                w.white@quechantribe.com                 Rosette <rosette@rosettelaw.com>; C Zamora    regarding gaming compact negotiations, ratification, and/or potential
ROS-0006156            ROS-0006158       9/28/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                      litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              85

                                                                                                                                                                                                                                                           Ex 5
                                                                                                                                                                                                                                                          P0134
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23008 Page 87 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                      'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;                   <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                       Executive Secretary
                                                                                   <m.hill@quechantribe.com>;                    <executivesecretary@quechantribe.com>; Rob        Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Saba Bazzazieh                w.white@quechantribe.com                      Rosette <rosette@rosettelaw.com>; C Zamora        impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006159            ROS-0006166       9/28/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>                    <czamora@rosettelaw.com>                          potential litigation between Quechan and California.


                                                                                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                      'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;                   <tribalsecretary@quechantribe.com>; Rob Rosette   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Willie White                  m.hill@quechantribe.com                       <rosette@rosettelaw.com>; C Zamora                regarding gaming compact negotiations, ratification, and/or potential
ROS-0006637            ROS-0006640       9/29/2017   <w.white@quechantribe.com>    <m.hill@quechantribe.com>                     <czamora@rosettelaw.com>                          litigation between Quechan and California.


                                                                                   Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                      'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;                   <tribalsecretary@quechantribe.com>; Rob Rosette   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Willie White                  m.hill@quechantribe.com                       <rosette@rosettelaw.com>; C Zamora                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0006641            ROS-0006648       9/29/2017   <w.white@quechantribe.com>    <m.hill@quechantribe.com>                     <czamora@rosettelaw.com>                          potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                               86

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23009 Page 88 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES   DATE                FROM/AUTHOR                                TO                                        CC                                                PRIVILEGE DESCRIPTION


                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                 'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;              <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                  Executive Secretary
                                                                                   <m.hill@quechantribe.com>;               <executivesecretary@quechantribe.com>; Rob    Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Saba Bazzazieh                w.white@quechantribe.com                 Rosette <rosette@rosettelaw.com>; C Zamora    regarding gaming compact negotiations, ratification, and/or potential
ROS-0008605            ROS-0008608       9/29/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                      litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                 'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;              <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                  Executive Secretary
                                                                                   <m.hill@quechantribe.com>;               <executivesecretary@quechantribe.com>; Rob    Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Saba Bazzazieh                w.white@quechantribe.com                 Rosette <rosette@rosettelaw.com>; C Zamora    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008609            ROS-0008616       9/29/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                      potential litigation between Quechan and California.

                                                                                   executivesecretary@quechantribe.com
                                                                                   <executivesecretary@quechantribe.com>;
                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>;
                                                                                   j.joaquin@quechantribe.com
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com                 'Quechan Tribal Secretary'
                                                                                   <a.brown@quechantribe.com>;              <tribalsecretary@quechantribe.com>; Quechan
                                                                                   m.hill@quechantribe.com                  Executive Secretary
                                                                                   <m.hill@quechantribe.com>;               <executivesecretary@quechantribe.com>; Rob    Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Saba Bazzazieh                w.white@quechantribe.com                 Rosette <rosette@rosettelaw.com>; C Zamora    impressions regarding gaming compact negotiations, ratification, and/or
ROS-0008617            ROS-0008619       9/29/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                      potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              87

                                                                                                                                                                                                                                                           Ex 5
                                                                                                                                                                                                                                                          P0136
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23010 Page 89 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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   BEGINNING BATES           END BATES   DATE                FROM/AUTHOR                               TO                                              CC                                                   PRIVILEGE DESCRIPTION


                                                     Richard Verri                Saba Bazzazieh <sbazzazieh@rosettelaw.com>;   Leigh Wink <LWink@rosettelaw.com>; Rich Corti     Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0008620            ROS-0008624       9/29/2017   <RVerri@rosettelaw.com>      Rob Rosette <rosette@rosettelaw.com>          <RCorti@rosettelaw.com>                           regarding Rosette clients or potential clients other than Quechan and Pauma.


                                                                                  Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                  executivesecretary@quechantribe.com
                                                                                  <executivesecretary@quechantribe.com>;
                                                                                  vicepresident@quechantribe.com
                                                                                  <vicepresident@quechantribe.com>;
                                                                                  l.white@quechantribe.com
                                                                                  <l.white@quechantribe.com>;
                                                                                  j.joaquin@quechantribe.com
                                                                                  <j.joaquin@quechantribe.com>;
                                                                                  a.brown@quechantribe.com                      'Quechan Tribal Secretary'
                                                                                  <a.brown@quechantribe.com>;                   <tribalsecretary@quechantribe.com>; Rob Rosette   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Willie White                 m.hill@quechantribe.com                       <rosette@rosettelaw.com>; C Zamora                regarding gaming compact negotiations, ratification, and/or potential
ROS-0007807            ROS-0007810       9/30/2017   <w.white@quechantribe.com>   <m.hill@quechantribe.com>                     <czamora@rosettelaw.com>                          litigation between Quechan and California.


                                                                                  Saba Bazzazieh <sbazzazieh@rosettelaw.com>;
                                                                                  executivesecretary@quechantribe.com
                                                                                  <executivesecretary@quechantribe.com>;
                                                                                  vicepresident@quechantribe.com
                                                                                  <vicepresident@quechantribe.com>;
                                                                                  l.white@quechantribe.com
                                                                                  <l.white@quechantribe.com>;
                                                                                  j.joaquin@quechantribe.com
                                                                                  <j.joaquin@quechantribe.com>;
                                                                                  a.brown@quechantribe.com                      'Quechan Tribal Secretary'
                                                                                  <a.brown@quechantribe.com>;                   <tribalsecretary@quechantribe.com>; Rob Rosette   Withheld copy of attachment reflecting legal advice or attorney mental
                                                     Willie White                 m.hill@quechantribe.com                       <rosette@rosettelaw.com>; C Zamora                impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007811            ROS-0007818       9/30/2017   <w.white@quechantribe.com>   <m.hill@quechantribe.com>                     <czamora@rosettelaw.com>                          potential litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                              88

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                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23011 Page 90 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
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   BEGINNING BATES           END BATES   DATE                FROM/AUTHOR                             TO                                                CC                                              PRIVILEGE DESCRIPTION


                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>; Quechan
                                                                                Councilman Joaquin
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>; Willie White
                                                                                <w.white@quechantribe.com>; Quechan
                                                                                Executive Secretary
                                                                                <executivesecretary@quechantribe.com>; Tribal
                                                                                Council Secretary                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora             <tribalsecretary@quechantribe.com>; Robert                                                   regarding gaming compact negotiations, ratification, and/or potential
ROS-0003457            ROS-0003459       10/3/2017   <czamora@rosettelaw.com>   Rosette <rosette@rosettelaw.com>                                                             litigation between Quechan and California.

                                                                                vicepresident@quechantribe.com
                                                                                <vicepresident@quechantribe.com>;
                                                                                l.white@quechantribe.com
                                                                                <l.white@quechantribe.com>; Quechan
                                                                                Councilman Joaquin
                                                                                <j.joaquin@quechantribe.com>;
                                                                                a.brown@quechantribe.com
                                                                                <a.brown@quechantribe.com>;
                                                                                m.hill@quechantribe.com
                                                                                <m.hill@quechantribe.com>; Willie White
                                                                                <w.white@quechantribe.com>; Quechan
                                                                                Executive Secretary
                                                                                <executivesecretary@quechantribe.com>; Tribal
                                                                                Council Secretary                                                                            Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                <tribalsecretary@quechantribe.com>; Rob                                                      regarding gaming compact negotiations, ratification, and/or potential
ROS-0008712            ROS-0008714       10/3/2017   C Zamora <CZAMORA>         Rosette <rosette@rosettelaw.com>                                                             litigation between Quechan and California.
                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     Cecilia Zamora                                                                                                          regarding gaming compact negotiations, ratification, and/or potential
ROS-0002885            ROS-0002887       10/4/2017   <czamora@rosettelaw.com>   Robert Rosette <rosette@rosettelaw.com>         Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.
                                                                                                                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                     C Zamora                                                                                                                regarding gaming compact negotiations, ratification, and/or potential
ROS-0008103            ROS-0008105       10/4/2017   <czamora@rosettelaw.com>   Rob Rosette <rosette@rosettelaw.com>            Luke Christian <lchristian@rosettelaw.com>   litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                            89

                                                                                                                                                                                                                                                              Ex 5
                                                                                                                                                                                                                                                             P0138
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23012 Page 91 of
                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES           END BATES   DATE                 FROM/AUTHOR                                  TO                                      CC                                                 PRIVILEGE DESCRIPTION


                                                                                    executivesecretary@quechantribe.com
                                                                                    <executivesecretary@quechantribe.com>;
                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>;
                                                                                    j.joaquin@quechantribe.com
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com                  Rob Rosette <rosette@rosettelaw.com>;
                                                                                    <m.hill@quechantribe.com>;               tribalsecretary@quechantribe.com               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      Saba Bazzazieh                w.white@quechantribe.com                 <tribalsecretary@quechantribe.com>; C Zamora   regarding gaming compact negotiations, ratification, and/or potential
ROS-0007819            ROS-0007819       10/9/2017    <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                       litigation between Quechan and California.

                                                                                    executivesecretary@quechantribe.com
                                                                                    <executivesecretary@quechantribe.com>;
                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>;
                                                                                    j.joaquin@quechantribe.com
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com                  Rob Rosette <rosette@rosettelaw.com>;
                                                                                    <m.hill@quechantribe.com>;               tribalsecretary@quechantribe.com               Withheld copy of attachment reflecting legal advice or attorney mental
                                                      Saba Bazzazieh                w.white@quechantribe.com                 <tribalsecretary@quechantribe.com>; C Zamora   impressions regarding gaming compact negotiations, ratification, and/or
ROS-0007820            ROS-0007832       10/9/2017    <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <czamora@rosettelaw.com>                       potential litigation between Quechan and California.
                                                                                    Fox, Benjamin J. (LA Litigation)
                                                      Saba Bazzazieh                <Bfox@mofo.com>; Rob Rosette             Acker, Eric M. <EAcker@mofo.com>; McDowell,    Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0008106            ROS-0008111       10/11/2017   <sbazzazieh@rosettelaw.com>   <rosette@rosettelaw.com>                 David F. <DMcDowell@mofo.com>                  regarding W&C’s lawsuit against Quechan and Rosette.




ATTORNEYS' EYES ONLY                                                                                                   90

                                                                                                                                                                                                                                                             Ex 5
                                                                                                                                                                                                                                                            P0139
                                                Case 3:17-cv-01436-RBM-DEB Document 328-8 Filed 09/17/20 PageID.23013 Page 92 of
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                    executivesecretary@quechantribe.com
                                                                                    <executivesecretary@quechantribe.com>;
                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>;
                                                                                    j.joaquin@quechantribe.com
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com
                                                                                    <m.hill@quechantribe.com>;               Rob Rosette <rosette@rosettelaw.com>;
                                                      Saba Bazzazieh                w.white@quechantribe.com                 tribalsecretary@quechantribe.com        Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0008715            ROS-0008715       10/11/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <tribalsecretary@quechantribe.com>      regarding W&C’s lawsuit against Quechan and Rosette.

                                                                                    executivesecretary@quechantribe.com
                                                                                    <executivesecretary@quechantribe.com>;
                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>;
                                                                                    j.joaquin@quechantribe.com
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com
                                                                                    <m.hill@quechantribe.com>;               Rob Rosette <rosette@rosettelaw.com>;
                                                      Saba Bazzazieh                w.white@quechantribe.com                 tribalsecretary@quechantribe.com        Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0008716            ROS-0008720       10/11/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <tribalsecretary@quechantribe.com>      impressions regarding W&C’s lawsuit against Quechan and Rosette.

                                                                                    executivesecretary@quechantribe.com
                                                                                    <executivesecretary@quechantribe.com>;
                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>;
                                                                                    j.joaquin@quechantribe.com
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com
                                                                                    <m.hill@quechantribe.com>;               Rob Rosette <rosette@rosettelaw.com>;
                                                      Saba Bazzazieh                w.white@quechantribe.com                 tribalsecretary@quechantribe.com        Withheld copy of attachment reflecting legal advice or attorney mental
ROS-0008721            ROS-0008740       10/11/2017   <sbazzazieh@rosettelaw.com>   <w.white@quechantribe.com>               <tribalsecretary@quechantribe.com>      impressions regarding W&C’s lawsuit against Quechan and Rosette.




ATTORNEYS' EYES ONLY                                                                                               91

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                                                                                                                                                                                                                                                     P0140
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                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>; Quechan
                                                                                    Councilman Joaquin
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com
                                                                                    <m.hill@quechantribe.com>; Willie White
                                                                                    <w.white@quechantribe.com>; Quechan
                                                                                    Executive Secretary
                                                                                    <executivesecretary@quechantribe.com>; Tribal
                                                                                    Council Secretary                                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      C Zamora                      <tribalsecretary@quechantribe.com>; Rob                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008741            ROS-0008744       10/12/2017   <czamora@rosettelaw.com>      Rosette <rosette@rosettelaw.com>                                                              litigation between Quechan and California.
                                                                                    Fox, Benjamin J. (LA Litigation)
                                                      Saba Bazzazieh                <Bfox@mofo.com>; Rob Rosette                    Acker, Eric M. <EAcker@mofo.com>; McDowell,   Withheld copy of email reflecting legal advice or attorney mental impressions
ROS-0008625            ROS-0008631       10/23/2017   <sbazzazieh@rosettelaw.com>   <rosette@rosettelaw.com>                        David F. <DMcDowell@mofo.com>                 regarding W&C’s lawsuit against Quechan and Rosette.

                                                                                    Quechan Executive Secretary
                                                                                    <executivesecretary@quechantribe.com>;
                                                                                    vicepresident@quechantribe.com
                                                                                    <vicepresident@quechantribe.com>;
                                                                                    l.white@quechantribe.com
                                                                                    <l.white@quechantribe.com>; Quechan
                                                                                    Councilman Joaquin
                                                                                    <j.joaquin@quechantribe.com>;
                                                                                    a.brown@quechantribe.com
                                                                                    <a.brown@quechantribe.com>;
                                                                                    m.hill@quechantribe.com                                                                       Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      C Zamora                      <m.hill@quechantribe.com>; Willie White                                                       regarding gaming compact negotiations, ratification, and/or potential
ROS-0008745            ROS-0008746       10/23/2017   <czamora@rosettelaw.com>      <w.white@quechantribe.com>                      Rob Rosette <rosette@rosettelaw.com>          litigation between Quechan and California.


                                                                                    Jonathon Sanchez <JSanchez@rosettelaw.com>;
                                                                                    executivesecretary@quechantribe.com
                                                                                    <executivesecretary@quechantribe.com>; Phil                                                   Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      Jonathon Sanchez              Simons <PSimons@playqcr.com>; Rob Rosette                                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0008033            ROS-0008033       10/30/2017   <rosette@rosettelaw.com>      <rosette@rosettelaw.com>                                                                      litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                                   92

                                                                                                                                                                                                                                                                   Ex 5
                                                                                                                                                                                                                                                                  P0141
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                                                                                      99
                                                                                          ROSETTE DEFENDANTS' PRIVILEGE LOG
                                             WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                 Quechan Executive Secretary
                                                                                 <executivesecretary@quechantribe.com>;
                                                                                 vicepresident@quechantribe.com
                                                                                 <vicepresident@quechantribe.com>;
                                                                                 l.white@quechantribe.com
                                                                                 <l.white@quechantribe.com>; Quechan
                                                                                 Councilman Joaquin
                                                                                 <j.joaquin@quechantribe.com>;
                                                                                 a.brown@quechantribe.com
                                                                                 <a.brown@quechantribe.com>;
                                                                                 m.hill@quechantribe.com                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      Cecilia Zamora             <m.hill@quechantribe.com>; Willie White                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0003980            ROS-0003981       11/13/2017   <czamora@rosettelaw.com>   <w.white@quechantribe.com>                Robert Rosette <rosette@rosettelaw.com>   litigation between Quechan and California.

                                                                                 Quechan Executive Secretary
                                                                                 <executivesecretary@quechantribe.com>;
                                                                                 vicepresident@quechantribe.com
                                                                                 <vicepresident@quechantribe.com>;
                                                                                 l.white@quechantribe.com
                                                                                 <l.white@quechantribe.com>; Quechan
                                                                                 Councilman Joaquin
                                                                                 <j.joaquin@quechantribe.com>;
                                                                                 a.brown@quechantribe.com
                                                                                 <a.brown@quechantribe.com>;
                                                                                 m.hill@quechantribe.com                                                             Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      C Zamora                   <m.hill@quechantribe.com>; Willie White                                             regarding gaming compact negotiations, ratification, and/or potential
ROS-0007336            ROS-0007337       11/13/2017   <czamora@rosettelaw.com>   <w.white@quechantribe.com>                Rob Rosette <rosette@rosettelaw.com>      litigation between Quechan and California.
                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      Robert Rosette                                                                                                 regarding gaming compact negotiations, ratification, and/or potential
ROS-0004075            ROS-0004079       11/20/2017   <rosette@rosettelaw.com>   Cecilia Zamora <czamora@rosettelaw.com>                                             litigation between Quechan and California.
                                                                                                                                                                     Withheld copy of email reflecting legal advice or attorney mental impressions
                                                      Rob Rosette                                                                                                    regarding gaming compact negotiations, ratification, and/or potential
ROS-0007326            ROS-0007330       11/20/2017   <rosette@rosettelaw.com>   C Zamora <czamora@rosettelaw.com>                                                   litigation between Quechan and California.




ATTORNEYS' EYES ONLY                                                                                             93

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                                                                                                                                                                                                                                                     P0142
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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                   vicepresident@quechantribe.com
                                                                                   <vicepresident@quechantribe.com>;
                                                                                   l.white@quechantribe.com
                                                                                   <l.white@quechantribe.com>; Quechan
                                                                                   Councilman Joaquin
                                                                                   <j.joaquin@quechantribe.com>;
                                                                                   a.brown@quechantribe.com
                                                                                   <a.brown@quechantribe.com>;
                                                                                   m.hill@quechantribe.com
                                                                                   <m.hill@quechantribe.com>; Willie White
                                                                                   <w.white@quechantribe.com>; Quechan
                                                                                   Executive Secretary
                                                                                   <executivesecretary@quechantribe.com>; Tribal
                                                                                   Council Secretary                                                           Withheld copy of email reflecting legal advice or attorney mental impressions
                                                        C Zamora                   <tribalsecretary@quechantribe.com>; Rob                                     regarding gaming compact negotiations, ratification, and/or potential
ROS-0007411            ROS-0007415         11/20/2017   <czamora@rosettelaw.com>   Rosette <rosette@rosettelaw.com>                                            litigation between Quechan and California.
                                                                                                                                                               Withheld copy of scan of hardcopy chart reflecting legal advice or attorney
                                                                                                                                                               mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                               regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000002      ROS-PAUMA-0000003   6/27/2008    Rosette & Associates                                                                                   of California.

                                                                                                                                                               Withheld copy of email reflecting legal advice or attorney mental impressions
                                                                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000004      ROS-PAUMA-0000005   7/6/2008     Rob Rosette                Christian Palacios                                                          issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy chart reflecting legal advice or attorney
                                                                                                                                                               mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                               regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000006      ROS-PAUMA-0000007   2009         Rosette & Associates                                                                                   of California.

                                                                                                                                                               Withheld copy of fax reflecting legal advice or attorney mental impressions
                                                                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000008      ROS-PAUMA-0000015   8/20/2009    Robert Lyttle              Rob Rosette                                                                 issues, compact negotiations, and litigation with the State of California.

                                                                                                                                                               Withheld copy of fax reflecting legal advice or attorney mental impressions
                                                                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000016      ROS-PAUMA-0000019   11/10/2009   Al Dinwiddie               Cheryl Williams                                                             issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of draft letter reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000022      ROS-PAUMA-0000022   3/2009       Rob Rosette                Al Dinwiddie                                                                California.




ATTORNEYS' EYES ONLY                                                                                               94

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                                                                                          99
                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


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                                                                                                                                                               Withheld copy of draft scan of hardcopy letter reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000023      ROS-PAUMA-0000025   5/2009       Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of memorandum reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000026      ROS-PAUMA-0000036   1/19/2011    Rosette & Associates      Pauma Tribal Council                                                         California.
                                                                                                                                                               Withheld copy of scan of hardcopy presentation reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000047      ROS-PAUMA-0000073   4/1/2009     Rosette & Associates      Pauma General Council                                                        State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy presentation reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000074      ROS-PAUMA-0000082   1/13/2009    Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy presentation reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000083      ROS-PAUMA-0000094   4/5/2009     Rosette & Associates      Pauma General Council                                                        State of California.

                                                                                                                                                               Withheld copy of letter reflecting legal advice or attorney mental impressions
                                                                                                                                                               regarding legal representations and advice to Pauma regarding gaming
ROS-PAUMA-0000126      ROS-PAUMA-0000129   11/3/2009    Rosette & Associates      Chairman Chris Devers                                                        issues, compact negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of business plan reflecting legal advice or attorney mental
                                                                                                                                                               impressions regarding legal representations and advice to Pauma regarding
                                                                                                                                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000130      ROS-PAUMA-0000140   11/4/2009    Rosette & Associates      Chairman Chris Devers                                                        California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000149      ROS-PAUMA-0000149   12-Nov       Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten notes reflecting legal advice
                                                                                                                                                               or attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000150      ROS-PAUMA-0000150                Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy meeting notes reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000151      ROS-PAUMA-0000152   8/4/2009     Rosette & Associates                                                                                   State of California.




ATTORNEYS' EYES ONLY                                                                                           95

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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                  FROM/AUTHOR                            TO                                CC                                             PRIVILEGE DESCRIPTION

                                                                                                                                                               Withheld copy of scan of hardcopy meeting notes reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000153      ROS-PAUMA-0000154   8/4/2009     Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy talking points reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000155      ROS-PAUMA-0000155   5/17/2009    Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000156      ROS-PAUMA-0000157   11-Jan       Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000158      ROS-PAUMA-0000158   9/14/2009    Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000159      ROS-PAUMA-0000159   2-Sep        Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000160      ROS-PAUMA-0000160   7/1/2009     Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy outline reflecting legal advice or attorney
                                                                                                                                                               mental impressions regarding legal representations and advice to Pauma
                                                                                                                                                               regarding gaming issues, compact negotiations, and litigation with the State
ROS-PAUMA-0000161      ROS-PAUMA-0000163   4/2009       Rosette & Associates                                                                                   of California.
                                                                                                                                                               Withheld copy of scan of hardcopy memorandum with handwritten notes
                                                                                                                                                               reflecting legal advice or attorney mental impressions regarding legal
                                                        Verrin Kewenvoyouma and Saba                                                                           representations and advice to Pauma regarding gaming issues, compact
ROS-PAUMA-0000164      ROS-PAUMA-0000166   1/12/2009    Bazzazieh                      Robert Rosette                                                          negotiations, and litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten notes reflecting legal advice
                                                                                                                                                               or attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000167      ROS-PAUMA-0000167   12/12/2008   Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten notes reflecting legal advice
                                                                                                                                                               or attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000168      ROS-PAUMA-0000168   9/10/2008    Rosette & Associates                                                                                   State of California.




ATTORNEYS' EYES ONLY                                                                                         96

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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                  FROM/AUTHOR                       TO                                     CC                                             PRIVILEGE DESCRIPTION

                                                                                                                                                               Withheld copy of scan of hardcopy memorandum reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000169      ROS-PAUMA-0000172                Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000173      ROS-PAUMA-0000173   3/26/2009    Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000174      ROS-PAUMA-0000175   3/19/2009    Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy handwritten attorney notes reflecting
                                                                                                                                                               legal advice or attorney mental impressions regarding legal representations
                                                                                                                                                               and advice to Pauma regarding gaming issues, compact negotiations, and
ROS-PAUMA-0000176      ROS-PAUMA-0000177   1/27/2009    Rosette & Associates                                                                                   litigation with the State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy talking points reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000182      ROS-PAUMA-0000183   Sept. 2009   Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy talking points reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000184      ROS-PAUMA-0000185   Sept. 2009   Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of scan of hardcopy talking points reflecting legal advice or
                                                                                                                                                               attorney mental impressions regarding legal representations and advice to
                                                                                                                                                               Pauma regarding gaming issues, compact negotiations, and litigation with the
ROS-PAUMA-0000186      ROS-PAUMA-0000187   Sept. 2009   Rosette & Associates                                                                                   State of California.
                                                                                                                                                               Withheld copy of invoice reflecting legal advice or attorney mental
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                                                                                                                                                               gaming issues, compact negotiations, and litigation with the State of
ROS-PAUMA-0000933      ROS-PAUMA-0000952   5/10/2010    Rosette & Associates      Pauma Tribe                                                                  California.
                                                                                                                                                               Withheld copy of invoice reflecting legal advice or attorney mental
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ROS-PAUMA-0000963      ROS-PAUMA-0000975   12/2/2009    Rosette & Associates      Pauma Tribe                                                                  California.
                                                                                                                                                               Withheld copy of invoice reflecting legal advice or attorney mental
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ROS-PAUMA-0000976      ROS-PAUMA-0000989   4/2/2010     Rosette & Associates      Pauma Tribe                                                                  California.




ATTORNEYS' EYES ONLY                                                                                        97

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                                                                                            ROSETTE DEFENDANTS' PRIVILEGE LOG
                                               WILLIAMS AND COCHRANE, LLP, ET AL., V. QUECHAN TRIBE OF THE FORT YUMA INDIAN RESERVATION, ET AL. Case No.: 17cv1436-GPC (MSB)


   BEGINNING BATES          END BATES      DATE                    FROM/AUTHOR                     TO                                     CC                                            PRIVILEGE DESCRIPTION

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ROS-PAUMA-0000990      ROS-PAUMA-0001009   5/10/2010      Rosette & Associates    Pauma Tribe                                                                  California.
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ROS-PAUMA-0001010      ROS-PAUMA-0001024   6/9/2010       Rosette & Associates    Pauma Tribe                                                                  California.
                                                                                                                                                               Withheld copy of invoice reflecting legal advice or attorney mental
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ROS-PAUMA-0001025      ROS-PAUMA-0001048   10/8/2009      Rosette & Associates    Pauma Tribe                                                                  California.
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ROS-PAUMA-0001049      ROS-PAUMA-0001064   3/5/2010       Rosette & Associates    Pauma Tribe                                                                  California.
                                                                                                                                                               Withheld copy of invoices reflecting legal advice or attorney mental
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ROS-PAUMA-0001065      ROS-PAUMA-0001218   8/6/09-2/2/10 Rosette & Associates     Pauma Tribe                                                                  California.
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ROS-PAUMA-0001219      ROS-PAUMA-0001348   10/5/10-1/9/12 Rosette & Associates    Pauma Tribe                                                                  California.
                                                                                                                                                               Withheld copy of invoices reflecting legal advice or attorney mental
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ROS-PAUMA-0001349      ROS-PAUMA-0001563   1/5/10-9/7/10 Rosette & Associates     Pauma Tribe                                                                  California.




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